EXHIBIT 3




            AW0075
Endorsement No:                    21
This endorsement, effective:       Septembers , 2017
                                   (at 12:01 A .M. standard time at the address of the Named Insured as
                                   shown in Item 1 . of the Declarations)
forms a part of Policy No:         0309- 1873
Issued to:                         24 Hour Holdings I Corp.
by:                                Allied World National Assurance Company


                                    AMENDATORY ENDORSEMENT


It is hereby agreed that the following changes are made to the policy:

1.      Item 5 . Insured Locations of the Declarations is deleted in its entirety and replaced with the
        following:

        Item 5 . Insured Locations:

       1265 Laurel Tree Lane                          Carlsbad               CA      92008
       140A Alamo Plaza                               Alamo                  CA      94507
       18305 Brookhurst Drive                         Fountain Valley        CA      92708
       SEC of Windmill Ave & Antonio Pkwy             Ladera Ranch           CA      92694
       820 State Street                               Santa Barbara          CA      93101
                                         -
       Crenshaw Blvd. & Century Fwy (1 105 )          Hawthorne              CA      90250
       6348 College Grove Way                         San Diego              CA      92115
       1600 Azusa Drive , Space 300                   City of Industry       CA      91748
       324 Horton Plaza , Space No. 25                San Diego              CA      92101
       3605 Avocado Blvd .                            La Mesa                CA      91941
       406 Crosby Street                              Altadena               CA      91001
       3600 West Orangewood                            Orange                CA      92868
       SE Corner of Lemon and Durst Streets           Anaheim                CA      92801
       909-919 Garnet Avenue                          San Diego              CA      92109
       SWC Silverado Ranch Blvd & Md Pkwy             Las Vegas              NV      89123
       1640 Camino Del Rio N, Ste 315                 San Diego              CA      92108
       1415- 1417 Second St .                         Santa Monica           CA      90401
       Imperial Hwy and Carmenita                     Santa Fe Springs       CA      90670
       15301 Ventura Boulevard, Space U-3             Sherman Oaks           CA      91403
       320 Third Avenue                               Chula Vista            CA      91910
       26741 Rancho Pkwy.                             Lake Forest            CA      92630
       5035 W. Tropicana                              Las Vegas              NV      89103
       Hillsborough Dr. & Beach Blvd.                 La Mirada              CA      90638
       589 Anton Boulevard                            Costa Mesa             CA      32626
       4480 Charleston Blvd., Las Vegas               Las Vegas              NV      89104
       Hwy 76 & Frazee Road                           Oceanside              CA      92057
       1530 W. West Covina Parkway                    West Covina            CA      91790
       870 Amena Court                                Chula Vista            CA      91910
       32451 St. of the Golden Lantern , Ste 1A       Laguna Niguel          CA      92677
       Sunset/DeLongpre                               Los Angeles            CA      90027
       2595 Thousand Oaks Blvd                        Thousand Oaks          CA      91362
       3965 5th Avenue, Suites 100-160                San Diego              CA      92103
       9550 Miramar Road                              San Diego              CA      92126
       400 La Terraza Blvd                            Escondido              CA      92025
       1605- 1617 Pacific Coast Highway               Hermosa Beach          CA      90254
       1490 E. Daily                                  Camarillo              CA      93011
       2106 W. Craig Road, Suite # 2                  North Las Vegas        NV      89032
       7450 University Avenue                         La Mesa                CA      91041
       1660 Broadway, Suite 18-22                     Chula Vista            CA      91011

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                                                                                                002
                                                                                                Dan Larson
                                                                                             AW0076
                                                                                                04.28.22
                                                                                                  AWPLL000033
      3675 Midway Dr., A 1                       San Diego            CA   92110
      9906 Mission Gorge Rd                      Santee               CA   92071
      5858 Warner Ave                           Huntington Beach      CA   92649
      5885 Rancho Mission Rd                    San Diego             CA   9210
      4501 Katella Avenue, Building 4           Cypress               CA   90630
      240 Brand Blvd                            Glendale              CA   91203
      455 Santa Fe Drive                        Encinitas             CA   92024
      4302 Gosford Road                         Bakersfield           CA   93313
      1335 West Avenue P                        Palmdale              CA   93551
      3699 Wilshire Blvd . 3rd floor #110       Los Angeles           CA   90010
      9911 W. Pico Blvd., #B-16 & Floor A       Los Angeles           CA   90035
      1600 Adams Avenue                         Costa Mesa            CA   92626
      10125 Whitwood Drive                      Whittier              CA   90603
      25252 McIntyre                            Laguna Hills          CA   92653
      3521 E, Chapman                           Orange                CA   92869
      3633 Rosedale Highway                     Bakersfield           CA   93308
      2685 Pacific Coast Hwy                    Torrance              CA   90505
      8105 Sheridan Boulevard                   Westminster           CO   80003
      27131 Calle Arroyo #1701                  San Juan Capistrano   CA   92675
      8350 Van Nuys Blvd                        Panorama City         CA   91402
      15315 Culver Dr. #165                     Irvine                CA   92604
      2556 Wigwam Parkway                       Henderson             NV   89014
      100 Oceangate Ave suite P20               Long Beach            CA   90802
      9561 Chapman Avenue                       Garden Grove          CA   92841
      23166 Los Alisos Blvd, #140               Mission Viejo         CA   92691
      27141 Aliso Creek Rd, #100                Aliso Viejo           CA   92656
      NWC State College & Birch St.             Brea                  CA   92621
      17170 Bernardo Center Dr.                 San Diego             CA   92128
      1500 Rosecrans Ave #100                   Manhattan Beach       CA   90266
      685 West Foothill Boulevard               Upland                CA   91786
      2893 North Green Valley Pkwy              Henderson             NV   89014
      7680 Girard Ave                           La Jolla              CA   92037
      16200 Bear Valley, Suite # L-1            Victorville           CA   92392
      18645 Via Princessa                       Santa Clarita         CA   91351
      715 E. Huntington Dr.                     Monrovia              CA   91016
      22331 El Paseo                            Santa Margarita       CA   92688
      465 North Halstead St. #102               Pasadena              CA   91107
      975 Lomas Santa Fe Drive , Suite A-C      Solana Beach          CA   92075
      1352 Madera Rd.                           Simi Valley           CA   93065
      5601 Grossmont Center Dr.                 La Mesa               CA   91942
      525 Colorado Boulevard                    Pasadena              CA   91101
      4200 Chino Hills Parkway                  Chino Hills           CA   91709
      Val Vista Drive & Elliot Road             Gilbert               AZ   85234
      2929 31st Street                          Santa Monica          CA   90405
      8612 Santa Monica Blvd                    West Hollywood        CA   90069
      555 West 19th ST.                         Costa Mesa            CA   92627
      3030 Bellflower Blvd .                    Long Beach            CA   90808
      18007 Von Karman Avenue                   Irvine                CA   92612
      10025 Carmel Mountain Road                San Diego             CA   92127
      945 Dominguez Avenue                      Carson                CA   90746
      300 South Festival Lane                   Anaheim Hills         CA   92808
      8697 Irvine Center Drive                  Irvine                CA   92618
      11787 Foothill Boulevard                  Rancho Cucamonga      CA   91730
      275 Teller Street . #100                  Corona                CA   92879
      10616 Research Blvd.                      Austin                TX   78759
      2145 Baseline Road                        Tempe                 AZ   85283
      3233 E. Camel Back Road                   Phoenix               AZ   85018
      13220 N. Scottsdale Road                  Scottsdale            AZ   85254
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                                                                                   AW0077
                                                                                     AWPLL000034
      7300 West Greens Road                       Willow Brook       TX   77064
      14111 Southwest Parkway                     Sugarland          TX   77478
      10707 Westheimer Rd .                      Houston             TX   77042
      601 S. Rainbow Blvd.                       Las Vegas           NV   89128
      3600 Emporium Circle                       Mesquite            TX   75150
      4600 West Park Blvd.                       Plano               TX   75093
      1375 East Campbell Rd                      Richardson          TX   75081
      1131 W. Arbrook Blvd.                      Arlington           TX   76015
      2100 Plaza Parkway                         Bedford             TX   76021
      9800 West Atlantic Blvd.                   Coral Springs       FL   33071
      700 Pine Island Rd                         Plantation          FL   33324
      5001 Overton Ridge Blvd.                   Fort Worth          TX   76132
      400 N. Brand Blvd ., Ste. 120              Glendale            CA   91203
      Spring Gate Ln & Town Ctr Drive            Las Vegas           NV   89134
      2920 Aborn Square Road                     San Jose            CA   95121
      771 Jackson Street                         Hayward             CA   94544
      35630 Fremont Boulevard                    Fremont             CA   94536
      567 Floresta Boulevard                     San Leandro         CA   94578
      3951 Alemany Boulevard                     San Francisco       CA   94132
      3435 S. Inca Street                        Englewood           CO   80110
      7635 West 88tr Avenue                      Arvada              CO   80005
      720 S. Colorado Boulevard                  Denver              CO   80246
      360 South Teller Street                    Lakewood            CO   80226
      10001 Grant Street                         Thornton            CO   80229
      1450 South Abilene Street                  Aurora              CO   80012
      99 U.S . Highway 22                         Springfield        NJ   07081
      140 Central Avenue                          Clark              NJ   07066
      189 US Highway 46                           Saddle Brook       NJ   07663
      918 Bergen Avenue                           Jersey City        NJ   07306
      245-24 Horace Harding Expressway            Little Neck        NY   11362
      15926 Jamaica Avenue                        Jamaica            NY   11432
      2032 Coney Island Avenue                   Brooklyn            NY   11223
      8002 Kew Gardens Road                      Kew Gardens         NY   11415
      2503 Grand Concourse                       Bronx               NY   10468
      2163 Tilden Avenue                         Brooklyn            NY   11226
      1921 86tr Street                           Brooklyn            NY   11214
      298 West 231st Street                      Bronx               NY   10463
      1720 Sheepshead Bay Road                   Brooklyn            NY   11235
      1675 Sunrise Hwy                           Bay Shore           NY   11706
      589 Tuckahoe Road                          Yonkers             NY   10710
      12260 Gulf Freeway # A - 5 & #A -15        Houston             TX   77070
      15542 Highway 529 (Spencer Road)           Houston             TX   77095
      5721 Westheimer Road                       Houston             TX   77057
      9336 Westview                              Houston             TX   77055
      7622 Campbell Rd                           Dallas              TX   75248
      2770 East Trinity Mills                    Carrollton          TX   75006
      1550 S. Mason Road                         Katy                TX   77450
      724 W. Main St , Suite 190A/alley Square    Lewisville         TX   75067
      3650 Austin Bluff Parkway. #197             Colorado Springs   CO   80918
      12039 W. Alameda Parkway, #Z-3             Lakewood            CO   80228
      6044 South Kipling Parkway                 Littleton           CO   80127
             -
      11420 1 10 East Freeway                    Jacinto City        TX   77029
      6425 San Felipe                            Houston             TX   77057
      10301 South 1300 East                      Sandy City          UT   84094
      4650 W 120th Ave . & Sheridan              Broomfield          CO   80020
      5100 Beltline Rd, #600                     Addison             TX   75240
      S 1100 E & Ashton Avenue                   Salt Lake City      UT   84106
      2407 West Airport Freeway                  Irving              TX   75062
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                                                                                  AW0078
                                                                                    AWPLL000035
      1892 Southgate Ctr                         Colorado Springs   CO     80906
      18541 Kuykendahl Road                      Houston            TX     77379
      7068 FM 1960 East                          Humble             TX     77346
      S. Meridian Blvd at Oswego St.             Englewood          CO     80112
      4120 E. Alameda                            Glendale           CO     80246
      7400 E. Hampden Ave.                       Denver             CO     80231
      146 West Parkwood                          Friendswood        TX     77546
      Portion of Lot IR -Bray Central 1 Add.     Allen              TX     75013
      NEC E Dad Clark Dr . & S. Broadway         Highlands Ranch    CO     80126
      21602 State Highway 249                    Houston            TX     77070
      700 N. Harwood                             Dallas             TX     75201
      Six Pines Road                             Woodlands          TX     77380
      11100 Central Expressway                   Dallas             TX     75243
      Meyerland Plaza Ctr . Space #8650E         Houston            TX     77096
      5706 E. Mockingbird Lane                   Dallas             TX     75206
      1000 E. 41st St., #850                     Austin             TX     78751
      1208- S N. IH-35                           Round Rock         TX     78681
      3301 E. Bell Road                          Phoenix            AZ     85032
      13802 Research Blvd.                       Austin             TX     78750
      18707 & 18737 E. Hampden Avenue            Aurora             CO     80013
      2401 Rio Grande Blvd                       Euless             TX     76039
      4112 FM 762                                Rosenberg          TX     77471
      Bingle Shopping Center                     Houston            TX     77055
      Warren Parkway & Preston Road              Frisco             TX     75034
      188 106th Ave NE, 5th Floor                Bellevue           WA     98004
      10115 Gravelly Lake Drive SW, Suite 2      Lakewood           WA     98499
      20202 Ballinger Way, NE, Space A-10        Seattle            WA     98155
      2130 South 314th Street                    Federal Way        WA     98003
      2500 SW Barton                             Seattle            WA     98126
      800 S.E. Tech Center Drive                 Vancouver          WA     98684
      1220 Howell Street                         Seattle            WA     98101
      1407 SW Fourth Avenue                      Portland           OR     97201
      11100 SW Murray Schools PI.                Beaverton          OR     97007
      18930 29th Avenue West                     Lynwood            WA     98036
      9946 SE Washington, Space E-1              Portland           OR     97216
      4546 SE McLoughlin Blvd                    Portland           OR     97216
      815 Auburn Way                             Auburn             WA     98002
      5400 South & Redwoord                      Salt Lake City     Utah   84118
      9th Street Marketplace                     Murray City        Utah   84121
      515 South 700 East                         Salt Lake City     Utah   84102
      45 Montgomery Street/111Sutter Street      San Francisco      CA     94104
      3813 Center View Drive                     West Jordan        UT     84084
      512 S Chambers RD                          Aurora             CO     80017
      6839 South Vine Street                     Centennial         WA     80122
      5712 East lake Sammamish Parkway           Issaquah           WA     98209
      18006 120th Ave                            Bothel             WA     98011
      17200 Brookhurst St                        Fountain Valley    CA     92708
      2520 Somersville Road                      Antioch            CA     94509
      1049 Broadway St                           Redwood City       CA     94063
      555 Oceana Blvd.                           Pacifica           CA     94044
      2480 Whipple Road                          Hayward            CA     94544
      La Cienega & Slauson Ave.                  Los Angeles        CA     90056
      17941 SWMcEwan Road                        Tigard             OR     97224
      7320 170th Ave NE                          Redmond            WA     98052
      4500 Auto Mall Parkway                     Fremont            CA     94538
              -      -      -
      Store #A 225, A 103, A 226                 Richmond           CA     94806
      1000 Kamehameha Highway                    Pearl City         HI     96782
      6223 Santa Teresa Blvd                     San Jose           CA     95119
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                                                                                   AW0079
                                                                                     AWPLL000036
      7905 Walerga Road                          Antelope         CA   95843
      304 Bayfair                                San Leandro      CA   94578
      1200 Van Ness Ave                          San Francisco    CA   94109
      520 S. El Camino Real                      San Mateo        CA   94402
      Leigh/Hillsdale Avenue                     San Jose         CA   95124
      375A North Capitol Ave                     San Jose         CA   95133
      150 E. Fremont Ave                         Sunnyvale        CA   94087
      373 Gelled Blvd                            Daly City        CA   94015
      101 Larkspur Landing Cr.                   Larkspur         CA   94939
      3550 Industrial Dr.                        Santa Rosa       CA   95403
      Sunvalley, Store # E-118C & Store #E-203   Concord          CA   94520
      4500 Norris Canyon Road                    San Ramon        CA   94538
      550 Showers Dr „ #7D, 4D , 3D , 8D         Mountain View    CA   94040
      3839 E. Castro Valley                      Castro Valley    CA   94552
      4300 Sonoma Blvd #408                      Vallejo          CA   94589
      2033 N. Main Street                        Walnut Creek     CA   94596
      1201 Soquel Ave                            Santa Cruz       CA   95062
      303 Second Street                          San Francisco    CA   94107
      350 Bay Street                             San Francisco    CA   94133
      100 California Street                      San Francisco    CA   94111
      Auburn Boulevard and Van Maren Lane        Citrus Heights   CA   95621
      9574 Micron Ave                            Sacramento       CA   95827
      2050 Webster Street                        Oakland          CA   94612
      850 Tennent Station                        Morgan Hill      CA   95037
      1090 Nodh Main Street                      Manteca          CA   95336
      24727 Amador St .                          Hayward          CA   94544
      1595 Sky Mountain Dr.                      Reno             NV   89503
      1850 Ocean Avenue                          San Francisco    CA   94112
      1680 Kapiolani Blvd.                       Honolulu         HI   96814
      39300 Paseo Padre Parkway                  Fremont          CA   94538
      1531 ParkmoreAve                           San Jose         CA   95128
      1645 Bryant Street                         San Francisco    CA   94103
      5234 Newpark Mall Road                     Newark           CA   94560
      2145 Market Street                         San Francisco    CA   94114
      95221 Kipapa Drive                         Mililani         HI   96789
      6155 Neil Road                             Reno             NV   89511
      8785 Center Parkway                        Sacramento       CA   95823
      4100 S. Parker Road                        Aurora           CO   80014
      1000 Bishop Building, Suite 101            Honolulu         HI   96813
      3137 West Benjamin Holt Drive              Stockton         CA   95219
      150 Hana Highway, #108                     Kahului, Maui    HI   96732
      45- 480 Kanoehe Bay Drive , C-21           Kaneohe          HI   96744
      7600 Greenhaven Drive , Suite 15           Sacramento       CA   95831
      Hall Blvd . & Watson Avenue                Beavedon         OR   97005
      1210 NW Johnson                            Podland          OR   97209
      Fulton & Hurley , Sacramento               Sacramento       CA   95825
      Rampad Way and Academy Blvd                Denver           CO   80230
      441 Lancaster Drive NE                     Salem            OR   97301
      6095 SE Tulatin Valley HWY                 Hillsboro        OR   97123
      6 Petaluma Blvd., Nodh                     Petaluma         CA   94954
      2072 Addison Street                        Berkeley         CA   94704
      336 N Sunrise Blvd.                        Roseville        CA   95661
      7120 Kalanianaole Hwy                      Honolulu         HI   96825
      1211 E. Arquez                             Sunnyvale        CA   94086
      1650 Industrial Road                       San Carlos       CA   94070
      1020 7th Street                            Sacramento       CA   95814
      301 Jacklin Road                           Milpitas         CA   95035
      200 Harker Place                           Annapolis        MD   21401
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                                                                               AW0080
                                                                                 AWPLL000037
      260 East Route 4                        Pa ramus               NJ   7652
      2982 Grand Avenue                       Coconut Grove          FL   33133
      8333 Pines Boulevard                    Pembroke Pines         FL   33024
      8400 Mills Drive                        Miami                  FL   33183
      6846 Forest Hilld Blvd                  Greenacres             FL   33413
      20851 Dixie Drive Highway               Miami                  FL   33189
      11645 Red Road                          Miramar                FL   33025
      1775 North Congress Ave                 Boynton Beach          FL   33426
      9919 West Oakland Park Blvd             Sunrise                FL   33351
      15 West Crystal Lake Drive              Orlando                FL   32806
      4270 Aloma Avenue, Suite 164            Winter Park            FL   32792
      850 W Osceola Parkway                    Kissimmee             FL   34741
      150 Triangle Plaza                      Ramsey                 NJ   7446
      150 Sylvan Avenue                       Englewood Cliffs       NJ   07632
      133 Route 23                            Wayne                  NJ   07470
      405 East Interstate 30                  Rockwall               TX   75087
      5901 Golden Triangle                    Keller                 TX   76548
      459 State Route 17                      Hasbrouck              NJ   07604
      400 East Fordham RD                     Bronx                  NY   10010
      19770 Saums Road                        Houston                TX   77084
      NWC FM 518 & Miller Ranch Rd            Pearland               TX   77584
      1401 Town Center                        Pflugerville           TX   78681
      2599 Dunstan Rd                         Houston                TX   77005
      5270 West Grand Parkway                 Richmond               TX   77406
      159000 E Brianwood Circle               Aurora                 CO   80013
      2650 Belleview Ave                      Littleton              CO   80120
      213 North Highway 67                    Cedar Hill             TX   75104
      2208 E Harmony Road                     Ft Colins              CO   80528
      2900 Iris Ave                           Boulder                CO   80528
      1719 Spring Green Blvd                  Katy                   TX   77494
      Western Oaks Retail Ctr                 Austin                 TX   78745
      19770 Saums Road                        Houston                TX   77084
      213 North Highway 67                    Cedar Hill             TX   75104
      6601 Northeast Loop 820                 North Richland Hills   TX   76180
      SWC Parmer Lane and I- 35               Austin                 TX   78727
      25632 Northwest Freeway                  Cypress               TX   77429
      NEC Woodlands Pkwy & Kukendahl          The Woodlands          TX   77382
      Marketplace & Olympus Blvd              Irving                 TX   75063
      Old Denton Road                         Ft Worth               TX   76137
      5946 Fairmont Parkway                   Pasadena               TX   77505
      4425 FM 1960 West                       Houston                TX   77014
      1101 N Walnut Creek Dr                  Mansfield              TX   76063
      2765 Gulf Freeway                       League City            TX   77573
      2700 E Eldorado Parkway                 Little Elm             TX   75068
      3501Garth Road                          Baytown                TX   77521
      321 Louisiana Street                    Houston                TX   77006
      12555 Westheimer                        Houston                TX   77077
      SE Corner Hwy 360 & Camp Wisdom         Grand Prairie          TX   75050
      3800 24th Street                        San Francisco          CA   94114
      1773 Solano Ave                         Berkeley               CA   94704
      136 Crosby                              New York               NY   10010
      Town Square                             New York               NY   10010
      153 East 53rd street                    New York               NY   10010
      5205 Fashion Drive                      Nanuet                 NY   10954
      750 West Sunrise Hwy, Ste 100 Green     Valley Stream          NY   11581
      5114 Arden Way                          Carmichael             CA   95608
      3950 Alameda Avenue                     Oakland                CA   94601
      1519 Gateway Blvd                       Fairfield              CA   94533
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                                                                                  AW0081
                                                                                    AWPLL000038
      979 Broadway                             Millbrae            CA   95670
      6061 Florin RD                           Sacramento          CA   95823
      2244 Sunrise Blvd                        Rancho Cordova      CA   95620
      Bel Air Village Phase II                 Elk Grove           CA   95624
      1006 Riley St                            Folsom              CA   95630
      2306 Almaden RD Suite 140                San Jose            CA   95125
      1610 Crane CT                            San Jose            CA   95112
      351Rheem BLVD                             Morage             CA   94556
      93 Bovert RD                              San Mateo          CA   94402
      2535 California St                        Mountain View      CA   94040
      6345 Commerce Blvd.                      Rohnert             CA   94928
      9450 Ruby Lockhart Blvd                  Lanham              MD   20706
      1500 Cornerside Blvd                     Vienna              VA   22182
      1000 East Broad Street                   Falls Church        VA   22042
      12300 Price Club Plaza                   Fairfax             VA   22033
      4770 Willow Road                         Pleasanton          CA   94558
      110 Avenida La Pata                      San Clement         CA   92673
      6830 E County Line RD                    Highland Ranch      CO   80130
      1265 Waterhouse Ave                      Beverton            OR   97006
      7887 Center Avenue                       Huntington Beach    CA   92647
      1085 South Arizona Avenue                Chandler            AZ   95248
      27520 Ynez Road                          Temecula            CA   92591
      Buena Park Mall                          Buena Park          CA   92802
      97 S Val Vista Drive                     Glendale            AZ   85308
      1919 N Power Rd                          Mesa                AZ   85207
      321 W. Katella                           Anaheim             CA   92702
      SWC Rose St & Valley Pkwy                Escondido           CA   92677
      21560 Valley Blvd                         City Of industry   CA   91789
      10046 N Metro Parkway                     Phoenix            AZ   85051
      27921 La Paz                              Laguna Niguel      CA   92618
      31 Fortune Drive                         Irvine              CA   92618
      6731 Westminster Blvd                    Westminster         CA   92683
      19350 Nordhoff St Unit D                 North ridge         CA   91324
      500 N Atlantic Blvd Suite A -102-1       Monterey Park       CA   91754
      324 Sycamore Ave                         Vista               CA   92083
      11844 Wth Street                         Mesa                AZ   85051
      5651 Centennial Center Blvd              Las Vegas           NV   89107
      18825 Bear Valley Rd                     Apple Valley        CA   92308
      4345 Imperial Ave                        San Diego           CA   92113
      230 E Via Rancho Parkway, Suite 210      Escondido           CA   92025
      8810 Apollo Way                           Downey             CA   90242
      1220 West Avenue K                       Lancaster           CA   93534
      198 West Main Street                     El Cajon            CA   92020
      4866 State Highway 121                   Lewisville          TX   75056
      5070 Richmond Ave                        Houston             TX   77056
      1903 Empire Ave.                         Burbank             CA   91504
      13752 Jamboree Rd .                      Irvine              CA   92602
      2800 North Main Street                   Walnut Creek        CA   94597
      507 NE Northgate Way                     Seattle             WA   98125
      762 Sunnyvale Saratoga Road               Sunnyvale          CA   94087
      4425 La Jolla Village Drive              San Diego           CA   92122
      5300 Lankershim Blvd.                    North Hollywood     CA   91601
      4821 Del Amo Blvd                        Lakewood            CA   90712
      1870 Harbor Blvd                         Costa Mesa          CA   92627
      7715 Balboa Avenue                       San Diego           CA   92111
      12354 Limonite Avenue                    Eastvale            CA   91752
      2501 El Camino Real                      Carlsbad            CA
      2650 Kittyhawk Road                      Livermore           CA   94551
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                                                                                AW0082
                                                                                  AWPLL000039
      4848 Valley View Ave                   Yorba Linda         CA   92886
      12155 Central Ave                      Chino               CA   91710
      2800 North Main Street, Unit 3100      Santa Ana           CA   92705
      9750 Central Avenue                    Montclair           CA   91763
      4240 Redondo Beach                     Torrance            CA   90504
      2350 Tapo Street                       Simi Valley         CA   93063
      Fallbrook Mall Bldg 008                West Hills          CA   91307
      505 South Flower St . , Level B        Los Angeles         CA   90007
      First & Santa Clara                    Arcadia             CA   91006
      15310 Summit Ave                       Fontana             CA   92336
      Valley Center Dr/Gladstone             Glendora            CA   91740
      Murrieta Hot Springs Rd                Murrieta            CA   92563
      100 City Parkway                       Las Vegas           NV   89106
      110 Towne Center Dr                    Compton             CA   90220
      1422 Azuza Ave                         West Covina         CA   91791
      1651 Victoria Ave.                     Oxnard              CA   93035
      2580 S. Archibald ave                  Ontario             CA   91761
      42900 Jackson St                       Indio               CA   92203
      2102 North Tustin Street                Orange             CA   92865
      17204 Slover Avenue                    Fontana             CA   92337
      12660 Day Street                       Moreno Valley       CA   92553
      27621 San Bernardino                   Redlands            CA   92374
      3409 Via Montebello                    Carlsbad            CA   92009
      400 Town Center Drive                  Oxnard              CA   93036
      6220 N Topanga Canyon Blvd Ste 2410    Woodland Hills      CA   91367
      2200 Eastridge Loop                    San Jose            CA   95122
      17970 Studebaker Rd Plaza 183          Cerritos            CA   90703
      9051 Atlanta Avenue                    Huntington Beach    CA   92646
      897 Harriman Place                     San Bernardino      CA   92408
      2770 South Colorado Blvd               Denver              CO   80222
      4110 B NE 4th Street                   Renton              WA   98059
      8720 SE Sunnybrook Road                Clackamas           OR   97015
      4204 NE Halsey Street                  Portland            OR   97213
      4600 West 38th                         Denver              CO   80212
      The Promenade at Capital Mall          Olympia             WA   98502
      2913 NE 72 nd                           Vancouver          WA   98661
      7720 N. Academy Blvd                    Colorado Springs   CO   80920
      13019 NE Fourth Plain Rd               Vancouver           WA   98682
      12922 SE Kent KangleyRd                Kent                WA   98030
      11014 19th Ave SE                      Everett             WA   98208
      91-5431 Kapolei Parkway, Suite 1700     Kapolei            HI   96707
      23750 Alessandro Blvd                  Moreno Valley       CA   92553
      641 S. Rancho Sante Fe Rd .            San Marcos          CA   92078
      5045 River Road N                      Keizer              OR   97303
      400 NW Eastman Pkwy                    Gresham             OR   97030
      15575 SW Sequoia Pkwy , 100             Tigard             OR   97224
      8235 SW Apple Way                      Portland            OR   97225
      1017 Bay Area Blvd.                    Houston             TX   77058
      301 N Nolan Drive                      Southlake           TX   76092
      2800 North Main St, Unit 3100          Santa Ana           CA   92705
      5745 New Abbey Lane                    Castle Rock         CO   80108
      1541 NE 181st Avenue                   Portland            OR   97230
      6000 Newpark Mall                      Newark              CA   94560
      18730 Amar Road                        Walnut              CA   91789
      465 W Arlington Street                 Gladstone           OR   97027
      130 E. Imperial Highway                Fullerton           CA   92835
      1400 W Edinger Avenue                  Santa Ana           CA   92704
      111 South 38th Street                  Tacoma              WA   98418
2H Manu D                           Page 8 of 9


                                                                              AW0083
                                                                                AWPLL000040
All other terms and conditions of this policy remain unchanged.




By:
                   Joseph Cellura

Title:             President, North American Casualty Division

Date:              November 8, 2017




2H Manu D                                  Page 9 of 9


                                                                  AW0084
                                                                    AWPLL000041
Endorsement No:                    22
This endorsement, effective:       Septembers , 2017
                                   (at 12:01 A .M. standard time at the address of the Named Insured as
                                   shown in Item 1 . of the Declarations)
forms a part of Policy No:         0309- 1873
Issued to:                         24 Hour Holdings I Corp.
by:                                Allied World National Assurance Company


                             DELETION AND REPLACEMENT ENDORSEMENT

It is hereby agreed that effective on the first day of the policy period , Endorsement #20, entitled
“Addition of Scheduled Locations, Retroactive Date , Coverages , Limits and Deductibles ” and bearing
form number 2H Manu C, is deleted in its entirety and replaced with the following :


      ADDITION OF SCHEDULED LOCATIONS . RETROACTIVE DATE, COVERAGES. LIMITS AND
                                   DEDUCTIBLES

1. It is hereby agreed that each location set forth below is included in Item 5 . of the Declarations as an
   insured location , subject to all of the terms and conditions of the policy , and subject to the following
   changes to Item 7., Retroactive Date of the Declarations:

                       Item 5: Insured Locations:                             Item 7. Retroactive Date
 498 S Boulder Hwy                     Henderson               NV    89015    01 /13/2017
 5959 W Century Blvd                   Los Angeles             CA    90045    02/03/2017
 18200 Yorba Linda Blvd                Yorba Linda             CA    92886    09 /03/2016
 23750 Alessandro Blvd                 Moreno Valley           CA    92553    10/31 /2015
 295 E Caroline St, Ste A              San Bernardino          CA    92408    12/23/2015
 700 E Redlands Blvd A 11- A12         Redlands                CA    92373    06/30/2015
 4255 Campus Dr #A-150                 Irvine                  CA    92612    09 /30/2016
 2605 South Eastern                    Las Vegas               NV    89109    12/09 /2016
 600 Newport Center Dr.                Newport Beach           CA    92660    08 /14/2015
 303 Third Street                      Huntington Beach        CA    92648    12/16/2016
 641 S Rancho Sante Fe Rd              San Marcos              CA    92069    10/14/2016
 2121 W. Danforth Rd .                 Edmond                  OK    73003    06/15/2016
 647 SW 19th Street                    Moore                   OK    73160    06/15 /2016
 14651 Sprague St.                     Omaha                   NE    68116    06/15 /2016
 8966 West Bowles Ave                  Littleton               CO    80123    09 /30/2015
 193 Chambers Bridge Rd                Brick                   NJ    08723    11 /18 /2016
 7528 Queen ’s Boulevard               Elmhurst                NY    11373    02/10/2017
 298 West 231st Street                 Bronx                   NY    10463    Divestiture date
 2100 Bartow Avenue                    Bronx                   NY    10475    09 /30/2016
 350 US Highway 46                     Wayne                   NJ    07470    09 /30/2016
 2718 North 118th Circle               Omaha                   NE    68164    06/15 /2016
 1805 Hwy 121                          Bedford                 TX    76022    06/30/2015
 14885 W. Clayton Road                 Chesterfield            MO    63017    06/15 /2016
 215 Arnold Crossroads                 Arnold                  MO    63010    06/15 /2016
 10920 FM 1960 West                    Houston                 TX    77070    07/17/2015
 2121 N. 550 West                      Provo                   UT    84604    12/04/2015
 84th & Giles Rd.                      Papillion               NE    68138    06/15 /2016
 3935 S. 147th St.                     Omaha                   NE    68144    06/15 /2016
 Bolger Square Shopping Center         Independence            MO    64055    06/15 /2016
 1095 Regency Parkway                  St . Charles            MO    63303    06/15 /2016
 12075 Metcalf                         Overland Park           KS    66213    06/15 /2016
 7420 Metcalf Avenue                   Overland Park           KS    66204    06/15 /2016
 229 Queen Anne Avenue North           Seattle                 WA    98109    09 /11/2015
 8600 Ward Pkwy                        Kansas City             MO    64114    06/15 /2016
 11311 W. 64th St., Shawnee, KS        Shawnee                 KS    66203    06/15/2016
2H Manu E                                   Page 1 of 3


                                                                                                 AW0085
                                                                                                      AWPLL000042
Endorsement No:                     23
This endorsement, effective:        September 3 . 2017
                                    (at 12:01 A.M. standard time at the address of the Named Insured as
                                    shown in Item 1 . of the Declarations)
forms a part of Policy No:          0309- 1873
Issued to:                          24 Hour Holdings I Corp.
by:                                 Allied World National Assurance Company


                             STRATEGIC RESPONSE COVERAGE EXTENSION


I. It is agreed that Section I. INSURING AGREEMENTS is amended by adding the following :

   STRATEGIC RESPONSE

    A. We will pay on behalf of the insured strategic response costs arising from a strategic
       management event first commenced during the policy period , up to the amount of the strategic
       response costs limit of liability set forth in this endorsement.

    B . We will pay strategic management loss directly to third parties at the request of and on behalf of
        the insured arising from a strategic management event first commenced during the policy
        period, up to the amount of the strategic management loss limit of liability set forth in this
        endorsement.

    C. A strategic management event will be deemed to first commence at the time during the policy
       period when an executive first becomes aware of an occurrence that gives rise to a strategic
       management event and will end when we determine that any one of the necessary elements
       listed in the definition of a strategic management event no longer exists or when the strategic
        management loss limit of liability has been exhausted.

    D. There will be no retained limit applicable to strategic response costs or strategic management
        loss.

    E. Any payment by us of strategic response costs or strategic management loss pursuant to the
       terms of this Endorsement will not (1) constitute a determination of any of our rights or obligations
       under any other part of this policy; (2) create any duty to defend any claim or suit under any other
       part of this policy; or (3) create a waiver of any right or defense we have with respect to the
       coverage provided by any part of this policy , including those set forth in Condition 6. of this policy.

II. It is agreed that Item 4. Policy Aggregate Limit of the Declarations is amended by adding the
    following :

            US$250,000 Strategic Response Costs Limit of Liability

            US$50,000 Strategic Management Loss Limit of Liability




ENV-SPL2 00187 00 (12/14)


                                                                                                   AW0086
                                                                                                        AWPLL000043
III. It is agreed that Section IV . LIMITS OF INSURANCE AND DEDUCTIBLE is amended by adding the
     following:

   LIMITS OF INSURANCE - STRATEGIC RESPONSE

    A. The strategic response costs limit of liability stated in Item 4 . of the Declarations is the most we
       will pay for all strategic response costs under this policy regardless of the number of strategic
       management events first commenced during the policy period .

    B . The strategic management loss limit of liability stated in Item 4 . of the Declarations is the most
        we will pay for all strategic management loss under this policy regardless of the number of
        strategic management events first commenced during the policy period .

    C. The strategic response costs limit of liability and the strategic management loss limit of
                                 .
       liability are in addition to and are not part of, the Policy Aggregate Limit shown in Item 4. of the
       Declarations.


IV. It is agreed that Section VI. CONDITIONS , Paragraph 17. is amended by adding the following:

    CONDITIONS - STRATEGIC RESPONSE

   You must report any strategic management event to us as soon as practicable, but no later than
   thirty (30) days after an executive first becomes aware of an occurrence that gives rise to a
   strategic management event to be eligible for the payment of strategic response costs and
   strategic management loss .

    Notice of a strategic management event may be given by calling 1-877- 300-AWAC . If notice is
    given by telephone, written notice will be given as soon as practicable thereafter. Written notice
    should include :

    1.   How, when and where the strategic management event is taking or took place;

   2. The names and addresses of any injured persons and any witnesses; and

    3. The nature and location of any injury or damage arising out of the strategic management event .

    Written notice should be mailed or delivered to:

         Allied World Assurance Company (U.S.) Inc.
         199 Water Street, 24m Floor
         New York, NY 10038
         Attention: General Casualty Claims Supervisor




ENV-SPL2 00187 00 (12/14)


                                                                                                AW0087
                                                                                                     AWPLL000044
V. It is agreed that Section VII. DEFINITIONS is amended by adding the following:

   DEFINITIONS - STRATEGIC RESPONSE

   A. Executive means the Chief Executive Officer, Chief Operating Officer, Chief Financial Officer,
      President, General Counsel or general partner (if the Named Insured is a partnership) or sole
      proprietor (if the Named Insured is a proprietorship) of the Named Insured . Executive also
      means any other person holding a title designated by you, approved by us and shown by
      endorsement to this policy.

   B. Strategic Management Event means an occurrence that in the absence of strategic
      management services and in the good faith opinion of an executive of the Named Insured has
      or may result in:

       1.       Damages covered by this policy that are in excess of the deductible listed in Item 3. of
                the Declarations; and

        2.      Significant adverse regional or national media coverage.

       Strategic management event will include man- made disasters such as explosions , major
       crashes , multiple deaths , burns, dismemberment, traumatic brain injury, permanent paralysis, or
       contamination of food, drink or pharmaceuticals , provided that the damages arising out of any of
       the aforementioned are reasonably likely to be covered under this policy.

   C. Strategic Management Firm means:

       1.       Any firm that is listed in Schedule A    - Approved Strategic Management Firms, attached
                to and forming part of this policy; or

        2.      Any firm for which we, in our sole discretion, have provided prior written approval to the
                Named Insured ,

       Which is hired by you to perform strategic management services in connection with a strategic
       management event .

   D. Strategic Management Loss means the following amounts incurred during a strategic
      management event:

         1.     Amounts for the reasonable and necessary fees and expenses incurred by a strategic
                management firm in the performance of strategic management services for the
                Named Insured, solely arising from a covered strategic management event ; and

         2.     Amounts for reasonable and necessary printing, advertising, mailing of materials , or
                travel by directors, officers, employees or agents of the Named Insured or a strategic
                management firm incurred at the direction of a strategic management firm , solely
                arising from a covered strategic management event .




ENV-SPL2 00187 00 (12/14)


                                                                                              AW0088
                                                                                                   AWPLL000045
      E. Strategic Management Services means those services performed by a strategic management
         firm in advising the Named Insured on minimizing potential harm to the Named Insured from a
         covered strategic management event by maintaining and restoring public confidence in the
         Named Insured .

      F. Strategic Response Costs means the following reasonable and necessary expenses incurred
         during a strategic management event directly caused by a strategic management event ,
         provided that such expenses have been pre- approved by us and may be associated with
         damages that are reasonably likely to be covered by this policy:

           1.    Medical expenses;

           2.    Funeral expenses ;

           3.    Psychological counseling;

           4.    Travel expenses;

           5.    Temporary living expenses ;

           6.    Expenses to secure the scene of a strategic management event; and

           7.                            -
                 Any other expenses pre approved by us.

          Strategic Response Costs does not include defense costs or strategic management loss.




All other terms and conditions of this policy remain unchanged.



By:
                    Joseph Cellura

Title :             President , North American Casualty Division

Date:               November 28 , 2017




ENV-SPL2 00187 00 (12/14)


                                                                                         AW0089
                                                                                              AWPLL000046
                                      Schedule A

                         Approved Strategic Management Firms*


                        Communications / Public Relations Firms

                FIRM/ADDRESS                       CONTACT INFORMATION

     | The Abernathy MacGregor Group, Inc.

      New York Office :                   Jim MacGregor
      501 Madison Avenue                  Vice Chairman
      New York, NY 10022                  Office: (212) 371- 5999
      www.abmac.com                                     -
                                          Cell: (646) 236 3271
                                          Home : (212) 343-0818
                                          Office Fax: (212) 752-0723
                                                                -
                                          Home Fax: (646) 613 7033
                                          Email: itm@abmac.com

                                          Rhonda Bamat
                                          Managing Director
                                          Office: (212) 371-5999
                                          Cell: (917) 912-6378
                                          Home : (646) 478-8740
                                                                -
                                          Office Fax: (212) 752 0723
                                          Email: rb@abmac.com

                                          Mike Pascale
                                          Managing Director
                                          Office: (212) 371-5999
                                          Cell: (917) 860-2048
                                          Home : (914) 472-0810
                                          Office Fax: (212) 752-0723
                                                                -
                                          Home Fax: (914) 472 0559
                                          Email: mmp@abmac.com

      Los Angeles Office:                 Ian Campbell
      707 Wilshire Boulevard              Managing Director
      Suite 3950                                            -
                                          Office: (213) 630 6550
      Los Angeles, CA 90017               Cell: (213) 422-7958
                                                            -
                                          Home : (818) 957 5650
                                          Office Fax: (213) 489-3443
                                          Home Fax: (818) 541-0954
                                          Email: idc@abmac.com




ENV- SPL2 00187 00 (12/14)


                                                                         AW0090
                                                                           AWPLL000047
FIRM/ ADDRESS                 CONTACT INFORMATION

Singer Associates, Inc .

47 Kearney Street             Sam Singer
Second Floor                  President
San Francisco , CA 94108      Office: (415) 227-9700 x 101
www.sinaer- associates .com   Cell: (415) 336- 4949
                              Home : (510) 644- 3636
                              Email: singer@singersf.com

                              Adam Alberti
                              Executive Vice President
                              Office: (415) 227-9700 x 105
                              Cell: (415) 225-2443
                              Home : (650) 620-9120
                              Email: adam@sinaersf.com


                              Jason Barnett
                              Vice President
                              Office: (415) 227-9700 x 106
                              Cell: (415) 999-0917
                              Home : (415) 644-0800
                              Email: barnett@singersf.com




Zeno Group

Washington, D C . Office:     Mark Shadle
3222 N Street, NW             Managing Director, Corporate Affairs
Suite 500                     Office: (312) 396-9744
Washington, DC 20007          Mobile : (630) 373- 4046
http: //www .zenogroup.com    Email: mark.shadle@zenogroup.com

New York City Office :        Arne Wadler
200 Park Avenue South         Managing Director, Health
Suite 1603                    Office: (212) 299-3961
New York , NY 10003           Mobile : (201) 486-1926
http: //www .zenogroup.com    Email: ame .wadler@zenogroup.com




ENV- SPL2 00187 00 (12/14)


                                                                     AW0091
                                                                       AWPLL000048
                                  Investigative and Security Firm

               FIRM/ ADDRESS                               CONTACT INFORMATION

| Kroll

 1166 Avenue of the Americas                     Timothy V. Horner
 New York , NY 10036                             Managing Director
 www.kroll . com                                 Office : (212) 833- 3366
                                                 Cell: (646) 739- 9428
                                                 Fax: (212) 948- 4222
                                                 Email: thorner@ kroll . com


 * We do not endorse the firms listed nor warrant the services they provide .




 ENV- SPL2 00187 00 (12/14)


                                                                                 AW0092
                                                                                   AWPLL000049
 12526 Totem Lake Boulevard NE           Kirkland               WA   98034   04/30/2016
 2490 Kalakaua Ave.                      Honolulu               HI   96815   10/07 /2016
 2632 Somersville Road                   Antioch                CA   94509   12/16/2016
 10320 Manchester Road                   Kirkwood               MO   63122   06/15 /2016
 7777 Cass St                            Omaha                  NE   68114   06/15 /2016
 124th Place & Blackfoot Dr              Olathe                 KS   66062   06/15/2016
 900NE Deerbrook                         Lee's Summit           MO   64086   06/15/2016
 E Frank Wright Lloyd Bldg               Scottsdale             AZ   85260   06/30/2016
 3400 Bernard                            Bakersfield            CA   93306   Divestiture date
 1505 140th Ave NE                       Bellevue               WA   98005   Divestiture date
 2234 Rutherford Rd.                     Carlsbad               CA   92008   Divestiture date
 5420 Philadelphia Street, Ste A         Chino                  CA   91710   Divestiture date
 8101 E Belleview Ave Ste A-20           Denver                 CO   80237   Divestiture date
 8150 South Quebec St.                   Englewood              CO   80112   Divestiture date
 10200 Juniper Ave                       Fontana                CA   92335   Divestiture date
 40910 Fremont Blvd                      Fremont                CA   94538   Divestiture date
 1456 Railroad Ave                       Livermore              CA   94550   Divestiture date
 1285 Ridgeway Rd.                       Memphis                TN   38119   Divestiture date
 2213 El Camino Real                     Oceanside              CA   92037   Divestiture date
 915 W. Parker Rd. Ste 310, 311 , 31     Plano                  TX   75023   Divestiture date
 7690 Limonite                           Riverside              CA   92509   Divestiture date
 701 Montgomery St                       Westlake Village       CA   91362   Divestiture date
 17170 Bernardo Center Dr.               San Diego              CA   92128   09 /03 /2017
 15926 Jamaica Avenue                    Jamaica                NY   11432   09 / 03 /2017
 5234 Newpark Mall Road                  Newark                 CA   94560   09 /03 /2017
 7635 West 88th Avenue                   Arvada                 CO   80005   09 / 03/2017
 2130 South 314 th Street                Federal Way            WA   98003   09 / 03/2017
 400 East Fordham RD                     Bronx                  NY   10010   10/06/2017


2. It is further agreed that with respect to each above-listed insured location , Item 2., of the
   Declarations is deleted and replaced with the following:

          Item 2. Policy Period:     From September 3, 2017   To September 3, 2020
                       12:01 AM STANDARD TIME AT THE ADDRESS SHOWN IN ITEM 1.


3.   It is further agreed that with respect to each above-listed insured location , Item 3., of the
     Declarations is deleted and replaced with the following:

          Item 3. Coverages and Coverage Section Limits and Deductibles:

This policy includes only those coverages as stated in Section I of the Policy for which deductibles and
limits of liability appear below.

 Coverage       Deductible -Each Incident      Each Incident Limit      Coverage Section Aggregate
                                                                                  Limit
      1        $50,000                        $25 ,000,000            $25,000,000
      2        N/A                            N/A                     N/A
      3        N/A                            N/A                     N/A
      4        N/A                            N/A                     N/A

 Coverage       Business Interruption -        Each Incident Limit      Coverage Section Aggregate
                    Deductible - Days                                             Limit
      5        N/ A                           N/A                     N/ A



2H Manu E                                   Page 2 of 3


                                                                                                AW0093
                                                                                                  AWPLL000050
All other terms and conditions of this policy remain unchanged.



By:
                   Joseph Cellura

Title :            President , North American Casualty Division

Date:              November 8, 2017




2H Manu E                                  Page 3 of 3


                                                                  AW0094
                                                                    AWPLL 000051
Endorsement No:                   24
This endorsement, effective:      Septembers . 2017
                                  (at 12:01 A.M. standard time at the address of the Named Insured as
                                  shown in Item 1 . of the Declarations)
forms a part of Policy No:              -
                                  0309 1873
Issued to:                        24 Hour Holdings I Corp.
by:                               Allied World National Assurance Company


                             DELETION AND REPLACEMENT ENDORSEMENT

It is hereby agreed that effective on the first day of the policy period , Endorsement #7 , entitled
“Disclosed Document Schedule” and bearing form number ENV-SPL2 00049 00 (09/14) , is deleted in its
entirety and replaced with the following:


                                 DISCLOSED DOCUMENT SCHEDULE

It is hereby agreed that for the purpose of SECTION III - EXCLUSIONS , 9 . Known Pollution , any
pollution incident set forth in the following listed document(s) is deemed disclosed to us.

                                              Document List


 24 Hour Fitness Notice of Sprinkler Repair, Premises at 1285 Ridgeway Road, Memphis , TN, dated
 September 13, 2013

 Health Directive, from Shelby County Health Department, to 24 Hour Fitness, dated June 21 , 2013

 Health Directive Rescind Notice, from Shelby County Health Department, to 24 Hour Fitness , dated
 October 10, 2013




All other terms and conditions of this policy remain unchanged.




By:
                   Joseph Cellura

Title :            President , North American Casualty Division

Date:              November 28 , 2017




2H Manu F                                   Page 1 of 1


                                                                                            AW0095
                                                                                                    AWPLL000052
Endorsement No:                      25
This endorsement, effective:         Septembers . 2017
                                     (at 12:01 A.M. standard time at the address of the Named Insured as
                                     shown in Item 1 . of the Declarations)
forms a part of Policy No:                 -
                                     0309 1873
Issued to:                           24 Hour Holdings I Corp.
by:                                  Allied World National Assurance Company


                             DELETION AND REPLACEMENT ENDORSEMENT

It is hereby agreed that effective on the first day of the policy period , Endorsement #8 , entitled “Multi-
Year Policy Term - Minimum Earned Premium" and bearing form number ENV-SPL2 00101 00 (09/14) , is
deleted in its entirety and replaced with the following:


                           MULTI- YEAR POLICY TERM - MINIMUM EARNED PREMIUM


It is hereby agreed that SECTION VI - CONDITIONS , 3. Cancellation is deleted in its entirety and replaced
with the following:

      3. Cancellation

      a. In the event of cancellation of this policy, the minimum earned premium that we are entitled to
         retain will be calculated based on the following rules.

                             If:                                            Then :
           The effective date of cancellation      The minimum earned premium is 25% of the total
           is prior to September 3 , 2018          premium charged for the policy.
           The effective date of cancellation      The minimum earned premium is 50% of the total
           is on or after September 3, 2018        premium charged for the policy.
           and prior to September 3, 2019,
           The effective date of cancellation      The minimum earned premium is one hundred percent
           is on or after September 3 , 2019,      (100%) of the total premium charged for the policy.

      b. The first named insured may cancel this policy by mailing or delivering to us advance written
         notice of cancellation. If the first named insured cancels this policy, we will calculate return
         premium on a pro rata basis after applying the minimum earned premium shown in paragraph a .
         above.

      c. We may cancel this policy for non-payment of premium or your failure to reimburse us for any
         Deductible Amount paid by us by mailing or delivering to the first named insured written notice
         of cancellation at least ten (10) days before the effective date of cancellation.

      d. We may cancel this policy due to fraud or a material misrepresentation or concealment by any
         insured by mailing or delivering to the first named insured written notice of cancellation at least
         ninety (90) days before the effective date of cancellation. During the first sixty (60) days of such
         cancellation notice period, the first named insured may attempt to cure the circumstances that
         formed the basis of such notice of cancellation and request that we rescind our notice of
         cancellation. We will consider any such request and determine, in our sole discretion, whether or
         not to rescind the notice of cancellation.

      e. We will mail or deliver our notice of cancellation to the first named insured's last mailing address
         known to us. Our notice of cancellation will state the effective date and hour of cancellation of the
         policy. If notice of cancellation is mailed, proof of mailing will be sufficient proof of notice. If we
         cancel this policy, we will calculate return premium on a pro rata basis after applying the minimum
         earned premium shown in paragraph a . above.


2H ManuG                                        Page 1 of 2


                                                                                                    AW0096
                                                                                                         AWPLL000053
All other terms and conditions of this policy remain unchanged.




By:
                   Joseph Cellura

Title :            President , North American Casualty Division

Date:              November 28 , 2017




2H ManuG                                   Page 2 of 2


                                                                  AW0097
                                                                    AWPLL000054
Endorsement No:                    28
This endorsement, effective:       April 17, 2018
                                   (at 12:01 A .M. standard time at the address of the Named Insured as
                                   shown in Item 1 . of the Declarations)
forms a part of Policy No:         0309- 1873
Issued to:                         24 Hour Holdings I Corp.
by:                                Allied World National Assurance Company


                             DELETION AND REPLACEMENT ENDORSEMENT

It is hereby agreed that effective on 04/17/2018, Endorsement #20, entitled “ Addition of Scheduled
Locations , Retroactive Date , Coverages , Limits and Deductibles" and bearing form number 2H Manu C , is
deleted in its entirety and replaced with the following:


      ADDITION OF SCHEDULED LOCATIONS . RETROACTIVE DATE, COVERAGES. LIMITS AND
                                   DEDUCTIBLES

1. It is hereby agreed that each location set forth below is included in Item 5 . of the Declarations as an
   insured location , subject to all of the terms and conditions of the policy, and subject to the following
   changes to Item 7., Retroactive Date of the Declarations:

                       Item 5: Insured Locations:                             Item 7. Retroactive Date
 498 S Boulder Hwy                     Henderson              NV    89015     01 /13/2017
 5959 W Century Blvd                   Los Angeles            CA    90045     02/03/2017
 18200 Yorba Linda Blvd                Yorba Linda            CA    92886     09 /03/2016
 23750 Alessandro Blvd                 Moreno Valley          CA    92553     10/31 /2015
 295 E Caroline St, Ste A              San Bernardino         CA    92408     12/23/2015
 700 E Redlands Blvd A 11- A12         Redlands               CA    92373     06/30/2015
 4255 Campus Dr #A -150                Irvine                 CA    92612     09 /30/2016
 2605 South Eastern                    Las Vegas              NV    89109     12/09 /2016
 600 Newport Center Dr .               Newport Beach          CA    92660     08 /14/2015
 303 Third Street                      Huntington Beach       CA    92648     12/16/2016
 641 S Rancho Sante Fe Rd              San Marcos             CA    92069     10/14/2016
 2121 W. Danforth Rd .                 Edmond                 OK    73003     06/15/2016
 647 SW 19th Street                    Moore                  OK    73160     06/15 /2016
 14651 Sprague St.                     Omaha                  NE    68116     06/15 /2016
 8966 West Bowles Ave                  Littleton              CO    80123     09 /30/2015
 193 Chambers Bridge Rd                Brick                  NJ    08723     11 /18 /2016
 7528 Queen’s Boulevard                Elmhurst               NY    11373     02/10/2017
 298 West 231st Street                 Bronx                  NY    10463     Divestiture date
 2100 Bartow Avenue                    Bronx                  NY    10475     09 /30/2016
 350 US Highway 46                     Wayne                  NJ    07470     09 /30/2016
 2718 North 118th Circle               Omaha                  NE    68164     06/15 /2016
 1805 Hwy 121                          Bedford                TX    76022     06/30/2015
 14885 W. Clayton Road                 Chesterfield           MO    63017     06/15 /2016
 215 Arnold Crossroads                 Arnold                 MO    63010     06/15 /2016
 10920 FM 1960 West                    Houston                TX    77070     07/17/2015
 2121 N. 550 West                      Provo                  UT    84604     12/04/2015
 84th & Giles Rd.                      Papillion              NE    68138     06/15 /2016
 3935 S. 147th St.                     Omaha                  NE    68144     06/15 /2016
 Bolger Square Shopping Center         Independence           MO    64055     06/15 /2016
 1095 Regency Parkway                  St . Charles           MO    63303     06/15 /2016
 12075 Metcalf                         Overland Park          KS    66213     06/15 /2016
 7420 Metcalf Avenue                   Overland Park          KS    66204     06/15 /2016
 229 Queen Anne Avenue North           Seattle                WA    98109     09 /11/2015
 8600 Ward Pkwy                        Kansas City            MO    64114     06/15 /2016
 11311 W. 64th St., Shawnee, KS        Shawnee                KS    66203     06/15/2016
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                                                                                                AW0098
                                                                                                     AWPLL000055
 12526 Totem Lake Boulevard NE         Kirkland           WA   98034   04/30/2016
 2490 Kalakaua Ave.                    Honolulu           HI   96815   10/07 /2016
 2632 Somersville Road                 Antioch            CA   94509   12/16/2016
 10320 Manchester Road                 Kirkwood           MO   63122   06/15 /2016
 7777 Cass St                          Omaha              NE   68114   06/15 /2016
 124th Place & Blackfoot Dr            Olathe             KS   66062   06/15/2016
 900NE Deerbrook                       Lee's Summit       MO   64086   06/15/2016
 E Frank Wright Lloyd Bldg             Scottsdale         AZ   85260   06/30/2016
 3400 Bernard                          Bakersfield        CA   93306   Divestiture date
 1505 140th Ave NE                     Bellevue           WA   98005   Divestiture date
 2234 Rutherford Rd.                   Carlsbad           CA   92008   Divestiture date
 5420 Philadelphia Street, Ste A       Chino              CA   91710   Divestiture date
 8101 E Belleview Ave Ste A-20         Denver             CO   80237   Divestiture date
 8150 South Quebec St.                 Englewood          CO   80112   Divestiture date
 10200 Juniper Ave                     Fontana            CA   92335   Divestiture date
 40910 Fremont Blvd                    Fremont            CA   94538   Divestiture date
 1456 Railroad Ave                     Livermore          CA   94550   Divestiture date
 1285 Ridgeway Rd.                     Memphis            TN   38119   Divestiture date
 2213 El Camino Real                   Oceanside          CA   92037   Divestiture date
 915 W. Parker Rd. Ste 310, 311 , 31   Plano              TX   75023   Divestiture date
 7690 Limonite                         Riverside          CA   92509   Divestiture date
 701 Montgomery St                     Westlake Village   CA   91362   Divestiture date
 17170 Bernardo Center Dr.             San Diego          CA   92128   09 /03 /2017
 15926 Jamaica Avenue                  Jamaica            NY   11432   09 / 03 /2017
 5234 Newpark Mall Road                Newark             CA   94560   09 /03 /2017
 7635 West 88th Avenue                 Arvada             CO   80005   09 / 03/2017
 2130 South 314 th Street              Federal Way        WA   98003   09 / 03/2017
 400 East Fordham RD                   Bronx              NY   10010   10/06/2017
 17170 Bernardo Center Dr.             San Diego          CA   92128   09 /03 /2017
 15926 Jamaica Avenue                  Jamaica            NY   11432   09 /03/2017
 5234 Newpark Mall Road                Newark             CA   94560   09 / 03 /2017
 7635 West 88th Avenue                 Arvada             CO   80005   09 /03 /2017
 2130 South 314 th Street              Federal Way        WA   98003   09 /03/2017
 400 East Fordham Rd                   Bronx              NY   10010   10/06/2017
 7450 University Avenue                La Mesa            CA   91041   12/01 /2017
 100 Oceangate Ave , Suite P20         Long Beach         CA   90802   12/ 01 /2017
 3813 Center View Drive                West Jordan        UT   84084   12/01 /2017
 303 Second Street                     San Francisco      CA   94107   03 /02/2018


2. It is further agreed that with respect to each above-listed insured location , Item 2., of the
   Declarations is deleted and replaced with the following:

       Item 2. Policy Period:     From September 3, 2017   To September 3, 2020
                    12:01 AM STANDARD TIME AT THE ADDRESS SHOWN IN ITEM 1.




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                                                                                          AW0099
                                                                                            AWPLL000056
3. It is further agreed that with respect to each above-listed insured location , Item 3., of the
   Declarations is deleted and replaced with the following:

              Item 3. Coverages and Coverage Section Limits and Deductibles:

This policy includes only those coverages as stated in Section I of the Policy for which deductibles and
limits of liability appear below.

 Coverage           Deductible -Each Incident     Each Incident Limit     Coverage Section Aggregate
                                                                                    Limit
          1        $50,000                       $25 ,000,000           $25,000,000
          2        N/A                           N/A                    N/A
          3        N/A                           N/A                    N/A
          4        N/A                           N/A                    N/A

 Coverage           Business Interruption -       Each Incident Limit     Coverage Section Aggregate
                       Deductible - Days                                            Limit
          5        N/A                           N/A                    N/A




All other terms and conditions of this policy remain unchanged.



By:
                         Joseph Cellura

Title :                  President , North American Casualty Division

Date:                    May 22, 2018




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                                                                                             AW0100
                                                                                                 AWPLL000057
Endorsement No:                    29
This endorsement, effective:       May 31, 2018
                                   (at 12:01 A .M. standard time at the address of the Named Insured as
                                   shown in Item 1 . of the Declarations)
forms a part of Policy No:         0309- 1873
Issued to:                         24 Hour Holdings I Corp.
by:                                Allied World National Assurance Company


                             DELETION AND REPLACEMENT ENDORSEMENT

It is hereby agreed that effective on 05 /31 /2018, Endorsement #21 , entitled “ Amendatory Endorsement ”
and bearing form number 2H Manu D, is deleted in its entirety and replaced with the following:


                                    AMENDATORY ENDORSEMENT


It is hereby agreed that the following changes are made to the policy:

1.      Item 5 . Insured Locations of the Declarations is deleted in its entirety and replaced with the
        following:

        Item 5. Insured Locations:

       1265 Laurel Tree Lane                          Carlsbad                 CA      92008
       140A Alamo Plaza                               Alamo                    CA      94507
       18305 Brookhurst Drive                         Fountain Valley          CA      92708
       200 Corporate Drive                            Ladera Ranch             CA      92694
       820 State Street                               Santa Barbara            CA      93101
       Crenshaw Blvd. & Century Fwy ( 1-105)          Hawthorne                CA      90250
       6348 College Grove Way                         San Diego                CA      92115
       1600 Azusa Drive , Space 300                   City of Industry         CA      91748
       324 Horton Plaza , Space No. 25                San Diego                CA      92101
       3605 Avocado Blvd.                             La Mesa                  CA      91941
       406 Crosby Street                              Altadena                 CA      91001
       3600 West Orangewood                           Orange                   CA      92868
       SE Corner of Lemon and Durst Streets           Anaheim                  CA      92801
       909-919 Garnet Avenue                          San Diego                CA      92109
       SWC Silverado Ranch Blvd & Md Pkwy             Las Vegas                NV      89123
       1640 Camino Del Rio N, Ste 315                 San Diego                CA      92108
       1415- 1417 Second St .                         Santa Monica             CA      90401
       Imperial Hwy and Carmenita                     Santa Fe Springs         CA      90670
       15301 Ventura Boulevard, Space U-3             Sherman Oaks             CA      91403
       320 Third Avenue                               Chula Vista              CA      91910
       26741 Rancho Pkwy.                             Lake Forest              CA      92630
       5035 W. Tropicana                              Las Vegas                NV      89103
       Hillsborough Dr. & Beach Blvd.                 La Mirada                CA      90638
       589 Anton Boulevard                            Costa Mesa               CA      32626
       4480 Charleston Blvd., Las Vegas               Las Vegas                NV      89104
       Hwy 76 & Frazee Road                           Oceanside                CA      92057
       1530 W. West Covina Parkway                    West Covina              CA      91790
       870 Amena Court                                Chula Vista              CA      91910
       32451 St. of the Golden Lantern , Ste 1 A      Laguna Niguel            CA      92677
       Sunset/DeLongpre                               Los Angeles              CA      90027
       2595 Thousand Oaks Blvd                        Thousand Oaks            CA      91362
                                     -
       3965 5th Avenue, Suites 100 160                San Diego                CA      92103
       9550 Miramar Road                              San Diego                CA      92126

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                                                                                                AW0101
                                                                                                    AWPLL000058
      400 La Terraza Blvd                       Escondido             CA   92025
      1605- 1617 Pacific Coast Highway          Hermosa Beach         CA   90254
      1490 E. Daily                             Camarillo             CA   93011
      2106 W. Craig Road, Suite # 2             North Las Vegas       NV   89032
      7450 University Avenue                    La Mesa               CA   91041
      1660 Broadway, Suite 18-22                Chula Vista           CA   91011
      3675 Midway Dr., A 1                      San Diego             CA   92110
      9906 Mission Gorge Rd                     Santee                CA   92071
      5858 Warner Ave                           Huntington Beach      CA   92649
      5885 Rancho Mission Rd                    San Diego             CA   9210
      4501 Katella Avenue, Building 4           Cypress               CA   90630
      240 Brand Blvd                            Glendale              CA   91203
      455 Santa Fe Drive                        Encinitas             CA   92024
      4302 Gosford Road                         Bakersfield           CA   93313
      1335 West Avenue P                        Palmdale              CA   93551
      3699 Wilshire Blvd . 3rd floor #110       Los Angeles           CA   90010
      9911 W. Pico Blvd., #B- 16 & Floor A      Los Angeles           CA   90035
      1600 Adams Avenue                         Costa Mesa            CA   92626
      10125 Whitwood Drive                      Whittier              CA   90603
      25252 McIntyre                            Laguna Hills          CA   92653
      3521 E. Chapman                            Orange               CA   92869
      3633 Rosedale Highway                     Bakersfield           CA   93308
      2685 Pacific Coast Hwy                    Torrance              CA   90505
      8105 Sheridan Boulevard                   Westminster           CO   80003
      27131 Calle Arroyo #1701                  San Juan Capistrano   CA   92675
      8350 Van Nuys Blvd                        Panorama City         CA   91402
      15315 Culver Dr. #165                     Irvine                CA   92604
      2556 Wigwam Parkway                       Henderson             NV   89014
      100 Oceangate Ave suite P20               Long Beach            CA   90802
      9561 Chapman Avenue                       Garden Grove          CA   92841
      23166 Los Alisos Blvd, #140               Mission Viejo         CA   92691
      27141 Aliso Creek Rd, #100                Aliso Viejo           CA   92656
      NWC State College & Birch St.             Brea                  CA   92621
      17170 Bernardo Center Dr.                 San Diego             CA   92128
      1500 Rosecrans Ave #100                   Manhattan Beach       CA   90266
      685 West Foothill Boulevard               Upland                CA   91786
      2893 North Green Valley Pkwy              Henderson             NV   89014
      7680 Girard Ave                           La Jolla              CA   92037
      16200 Bear Valley, Suite # L-1             Victorville          CA   92392
      18645 Via Princessa                        Santa Clarita        CA   91351
      715 E. Huntington Dr.                      Monrovia             CA   91016
      22331 El Paseo                             Santa Margarita      CA   92688
      465 North Halstead St. #102                Pasadena             CA   91107
      975 Lomas Santa Fe Drive, Suite A-C        Solana Beach         CA   92075
      1352 Madera Rd.                            Simi Valley          CA   93065
      5601 Grossmont Center Dr.                 La Mesa               CA   91942
      525 Colorado Boulevard                    Pasadena              CA   91101
      4200 Chino Hills Parkway                  Chino Hills           CA   91709
      Val Vista Drive & Elliot Road             Gilbert               AZ   85234
      2929 31st Street                          Santa Monica          CA   90405
      8612 Santa Monica Blvd                    West Hollywood        CA   90069
      555 West 19th ST                          Costa Mesa            CA   92627
      3030 Bellflower Blvd .                    Long Beach            CA   90808
      18007 Von Karman Avenue                   Irvine                CA   92612
      10025 Carmel Mountain Road                San Diego             CA   92127
      945 Dominguez Avenue                      Carson                CA   90746
      300 South Festival Lane                   Anaheim Hills         CA   92808


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                                                                                   AW0102
                                                                                     AWPLL000059
      8697 Irvine Center Drive                   Irvine              CA   92618
      11787 Foothill Boulevard                   Rancho Cucamonga    CA   91730
      275 Teller Street, #100                    Corona              CA   92879
      10616 Research Blvd.                       Austin              TX   78759
      2145 Baseline Road                         Tempe               AZ   85283
      3233 E. Camel Back Road                    Phoenix             AZ   85018
      13220 N. Scottsdale Road                   Scottsdale          AZ   85254
      7300 West Greens Road                      Willow Brook        TX   77064
      14111 Southwest Parkway                    Sugarland           TX   77478
      10707 Westheimer Rd .                      Houston             TX   77042
      601 S. Rainbow Blvd.                       Las Vegas           NV   89128
      3600 Emporium Circle                       Mesquite            TX   75150
      4600 West Park Blvd.                       Plano               TX   75093
      1375 East Campbell Rd                      Richardson          TX   75081
      1131 W. Arbrook Blvd.                      Arlington           TX   76015
      2100 Plaza Parkway                         Bedford             TX   76021
      9800 West Atlantic Blvd.                   Coral Springs       FL   33071
      700 Pine Island Rd                         Plantation          FL   33324
      5001 Overton Ridge Blvd.                   Fort Worth          TX   76132
      400 N. Brand Blvd ., Ste. 120              Glendale            CA   91203
      2090 Village Center Circle                 Summerlin           NV   89134
      2920 Aborn Square Road                     San Jose            CA   95121
      771 Jackson Street                         Hayward             CA   94544
      35630 Fremont Boulevard                    Fremont             CA   94536
      567 Floresta Boulevard                     San Leandro         CA   94578
      3951 Alemany Boulevard                     San Francisco       CA   94132
      3435 S. Inca Street                        Englewood           CO   80110
      7635 West 88th Avenue                      Arvada              CO   80005
      720 S. Colorado Boulevard                  Denver              CO   80246
      360 South Teller Street                    Lakewood            CO   80226
      10001 Grant Street                         Thornton            CO   80229
      1450 South Abilene Street                  Aurora              CO   80012
      99 U.S Highway 22                          Springfield         NJ   07081
      140 Central Avenue                         Clark               NJ   07066
      189 US Highway 46                          Saddle Brook        NJ   07663
      918 Bergen Avenue                          Jersey City         NJ   07306
      245-24 Horace Harding Expressway           Little Neck         NY   11362
      15926 Jamaica Avenue                       Jamaica             NY   11432
      2032 Coney Island Avenue                   Brooklyn            NY   11223
      8002 Kew Gardens Road                      Kew Gardens         NY   11415
      2503 Grand Concourse                       Bronx               NY   10468
      2163 Tilden Avenue                         Brooklyn            NY   11226
      1921 86th Street                           Brooklyn            NY   11214
      298 West 231st Street                      Bronx               NY   10463
      1720 Sheepshead Bay Road                   Brooklyn            NY   11235
      1675 Sunrise Hwy                           Bay Shore           NY   11706
      589 Tuckahoe Road                          Yonkers             NY   10710
      12260 Gulf Freeway # A - 5 & #A -15        Houston             TX   77070
      15542 Highway 529 (Spencer Road)           Houston             TX   77095
      5721 Westheimer Road                       Houston             TX   77057
      9336 Westview                              Houston             TX   77055
      7622 Campbell Rd                           Dallas              TX   75248
      2770 East Trinity Mills                    Carrollton          TX   75006
      1550 S. Mason Road                          Katy               TX   77450
      724 W. Main St , Suite 190A/alley Square    Lewisville         TX   75067
      3650 Austin Bluff Parkway. #197             Colorado Springs   CO   80918
      12039 W. Alameda Parkway, #Z- 3             Lakewood           CO   80228


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                                                                                  AW0103
                                                                                    AWPLL000060
      6044 South Kipling Parkway                 Littleton          CO     80127
             -
      11420 1 10 East Freeway                    Jacinto City       TX     77029
      6425 San Felipe                            Houston            TX     77057
      10301 South 1300 East                       Sandy City        UT     84094
      4650 W 120th Ave . & Sheridan              Broomfield         CO     80020
      5100 Beltline Rd . #600                    Addison            TX     75240
      S 1100 E & Ashton Avenue                   Salt Lake City     UT     84106
      2407 West Airport Freeway                  Irving             TX     75062
      1892 Southgate Ctr                         Colorado Springs   CO     80906
      18541 Kuykendahl Road                      Houston            TX     77379
      7068 FM 1960 East                          Humble             TX     77346
      S. Meridian Blvd at Oswego St.             Englewood          CO     80112
      4120 E. Alameda                            Glendale           CO     80246
      7400 E. Hampden Ave.                       Denver             CO     80231
      146 West Parkwood                          Friendswood        TX     77546
      Portion of Lot IR -Bray Central 1 Add.     Allen              TX     75013
      NEC E. Dad Clark Dr. & S. Broadway         Highlands Ranch    CO     80126
      21602 State Highway 249                    Houston            TX     77070
      700 N Harwood                              Dallas             TX     75201
      Six Pines Road                             Woodlands          TX     77380
      11100 Central Expressway                   Dallas             TX     75243
      Meyerland Plaza Ctr , Space #8650E         Houston            TX     77096
      5706 E. Mockingbird Lane                   Dallas             TX     75206
      1000 E. 41st St., #850                     Austin             TX     78751
      1208- S N. IH-35                           Round Rock         TX     78681
      3301 E. Bell Road                          Phoenix            AZ     85032
      13802 Research Blvd.                       Austin             TX     78750
      18707 & 18737 E. Hampden Avenue            Aurora             CO     80013
      2401 Rio Grande Blvd                       Euless             TX     76039
      4112 FM 762                                Rosenberg          TX     77471
      12708 Northwest Freeway                    Houston            TX     77092
      3865 Preston Rd                            Frisco             TX     75034
      188 106th Ave NE, 5th Floor                Bellevue           WA     98004
      10115 Gravelly Lake Drive SW, Suite 2      Lakewood           WA     98499
      20202 Ballinger Way, NE, Space A-10        Seattle            WA     98155
      2130 South 314th Street                    Federal Way        WA     98003
      2500 SW Barton                             Seattle            WA     98126
      800 S.E Tech Center Drive                  Vancouver          WA     98684
      1220 Howell Street                         Seattle            WA     98101
      1407 SW Fourth Avenue                      Portland           OR     97201
      11100 SW Murray Schools PI.                Beaverton          OR     97007
      18930 29th Avenue West                     Lynwood            WA     98036
      9946 SE Washington, Space E-1              Portland           OR     97216
      4546 SE McLoughlin Blvd                    Portland           OR     97216
      815 Auburn Way                             Auburn             WA     98002
      5400 South & Redwoord                      Salt Lake City     Utah   84118
      5684 S 900 East                            Murray             Utah   84121
      515 South 700 East                         Salt Lake City     Utah   84102
      45 Montgomery Street /111Sutter Street     San Francisco      CA     94104
      3813 Center View Drive                     West Jordan        UT     84084
      512 S Chambers RD                          Aurora             CO     80017
      6839 South Vine Street                     Centennial         WA     80122
      5712 East lake Sammamish Parkway           Issaquah           WA     98209
      18006 120th Ave                            Bothel             WA     98011
      17200 Brookhurst St                        Fountain Valley    CA     92708
      2520 Somersville Road                      Antioch            CA     94509
      1049 Broadway St                           Redwood City       CA     94063


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                                                                                   AW0104
                                                                                     AWPLL000061
      555 Oceana Blvd.                        Pacifica        CA   94044
      2480 Whipple Road                      Hayward          CA   94544
      5045 W Slauson Ave                     Los Angeles      CA   90056
      17941 SWMcEwan Road                    Tigard           OR   97224
      7320 170th Ave NE                      Redmond          WA   98052
      4500 Auto Mall Parkway                 Fremont          CA   94538
      Store #A-225, A-103 , A-226            Richmond         CA   94806
      1000 Kamehameha Highway                Pearl City       HI   96782
      6223 Santa Teresa Blvd                 San Jose         CA   95119
      7905 Walerga Road                      Antelope         CA   95843
      304 Bayfair                            San Leandro      CA   94578
      1200 Van Ness Ave                      San Francisco    CA   94109
      520 S. El Camino Real                  San Mateo        CA   94402
      Leigh/Hillsdale Avenue                 San Jose         CA   95124
      375A North Capitol Ave                 San Jose         CA   95133
      150 E. Fremont Ave                     Sunnyvale        CA   94087
      373 Gelled Blvd                        Daly City        CA   94015
      101 Larkspur Landing Cr.               Larkspur         CA   94939
      3550 Industrial Dr.                    Santa Rosa       CA   95403
      359 Sun Valley Mall Rd                 Concord          CA   94520
      4500 Norris Canyon Road                San Ramon        CA   94538
      550 Showers Dr„ #7D, 4D, 3D, 8D        Mountain View    CA   94040
      3839 E. Castro Valley                  Castro Valley    CA   94552
      4300 Sonoma Blvd #408                  Vallejo          CA   94589
      2033 N. Main Street                    Walnut Creek     CA   94596
      1201 SoquelAve                         Santa Cruz       CA   95062
      303 Second Street                      San Francisco    CA   94107
      350 Bay Street                         San Francisco    CA   94133
      100 California Street                  San Francisco    CA   94111
      Auburn Boulevard and Van Maren Lane    Citrus Heights   CA   95621
      9574 Micron Ave                        Sacramento       CA   95827
      2050 Webster Street                    Oakland          CA   94612
      850 Tennent Station                    Morgan Hill      CA   95037
      1090 Nodh Main Street                  Manteca          CA   95336
      24727 Amador St .                      Hayward          CA   94544
      1595 Sky Mountain Dr.                  Reno             NV   89503
      1850 Ocean Avenue                      San Francisco    CA   94112
      1680 Kapiolani Blvd.                   Honolulu         HI   96814
      39300 Paseo Padre Parkway              Fremont          CA   94538
      1531 ParkmoreAve                       San Jose         CA   95128
      1645 Bryant Street                     San Francisco    CA   94103
      5234 Newpark Mall Road                 Newark           CA   94560
      2145 Market Street                     San Francisco    CA   94114
      95221 Kipapa Drive                     Mililani         HI   96789
      6155 Neil Road                         Reno             NV   89511
      8785 Center Parkway                    Sacramento       CA   95823
      4100 S. Parker Road                    Aurora           CO   80014
      1000 Bishop Building, Suite 101        Honolulu         HI   96813
      3137 West Benjamin Holt Drive          Stockton         CA   95219
      150 Hana Highway, #108                 Kahului, Maui    HI   96732
      45- 480 Kanoehe Bay Drive , C -21      Kaneohe          HI   96744
      7600 Greenhaven Drive , Suite 15       Sacramento       CA   95831
      Hall Blvd . & Watson Avenue            Beavedon         OR   97005
      1210 NW Johnson                        Podland          OR   97209
      Fulton & Hurley, Sacramento            Sacramento       CA   95825
      7600 Academy Blvd                      Denver           CO   80230
      441 Lancaster Drive NE                 Salem            OR   97301


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                                                                           AW0105
                                                                             AWPLL000062
      6095 SE Tulatin Valley HWY              Hillsboro              OR   97123
      6 Petaluma Blvd., North                 Petaluma               CA   94954
      2072 Addison Street                      Berkeley              CA   94704
      336 N Sunrise Blvd.                     Roseville              CA   95661
      7120 Kalanianaole Hwy                   Honolulu               HI   96825
      1211 E. Arquez                          Sunnyvale              CA   94086
      1650 Industrial Road                    San Carlos             CA   94070
      1020 7th Street                         Sacramento             CA   95814
      301 Jacklin Road                        Milpitas               CA   95035
      200 Harker Place                        Annapolis              MD   21401
      260 East Route 4                        Pa ramus               NJ   7652
      2982 Grand Avenue                       Coconut Grove          FL   33133
      8333 Pines Boulevard                    Pembroke Pines         FL   33024
      8400 Mills Drive                        Miami                  FL   33183
      6846 Forest Hilld Blvd                  Greenacres             FL   33413
      20851 South Dixie Hwy                   Miami                  FL   33189
      11645 Red Road                          Miramar                FL   33025
      1775 North Congress Ave                 Boynton Beach          FL   33426
      9919 West Oakland Park Blvd             Sunrise                FL   33351
      15 West Crystal Lake Drive              Orlando                FL   32806
      4270 Aloma Avenue, Suite 164            Winter Park            FL   32792
      850 W Osceola Parkway                   Kissimmee              FL   34741
      150 Triangle Plaza                      Ramsey                 NJ   7446
      150 Sylvan Avenue                       Englewood Cliffs       NJ   07632
      133 Route 23                            Wayne                  NJ   07470
      405 East Interstate 30                  Rockwall               TX   75087
      5901 Golden Triangle                    Keller                 TX   76548
      459 State Route 17                      Hasbrouck              NJ   07604
      400 East Fordham RD                     Bronx                  NY   10010
      19770 Saums Road                        Houston                TX   77084
      10011 Broadway St                       Pearland               TX   77584
      1401 Town Center                        Pflugerville           TX   78681
      2599 Dunstan Rd                         Houston                TX   77005
      5270 West Grand Parkway                 Richmond               TX   77406
      159000 E Brianwood Circle               Aurora                 CO   80013
      2650 Belleview Ave                      Littleton              CO   80120
      213 North Highway 67                    Cedar Hill             TX   75104
      2208 E Harmony Road                     Ft Colins              CO   80528
      2900 Iris Ave                           Boulder                CO   80528
      1719 Spring Green Blvd                   Katy                  TX   77494
      4625 W William Cannon Dr                Austin                 TX   78749
      19734 Saums Rd                          Houston                TX   77084
      213 North Highway 67                    Cedar Hill             TX   75104
      6601 Northeast Loop 820                 North Richland Hills   TX   76180
      12400 N Interstate 35                   Austin                 TX   78753
      25632 Northwest Freeway                 Cypress                TX   77429
      10860 Kuykendahl Rd                     The Woodlands          TX   77381
      Marketplace & Olympus Blvd              Irving                 TX   75063
      Old Denton Road                         Ft Worth               TX   76137
      5946 Fairmont Parkway                   Pasadena               TX   77505
      4425 FM 1960 West                       Houston                TX   77014
      1101 N Walnut Creek Dr                  Mansfield              TX   76063
      2765 Gulf Freeway                       League City            TX   77573
      2700 E Eldorado Parkway                 Little Elm             TX   75068
      3501Garth Road                          Baytown                TX   77521
      3201 Louisiana Street                   Houston                TX   77006
      12555 Westheimer                        Houston                TX   77077


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                                                                                  AW0106
                                                                                    AWPLL000063
      SE Corner Hwy 360 & Camp Wisdom         Grand Prairie      TX   75050
      3800 24th Street                        San Francisco      CA   94114
      1773 Solano Ave                          Berkeley          CA   94704
      136 Crosby                               New York          NY   10010
      225 5th Ave                              New York          NY   10010
      153 East 53rd street                     New York          NY   10010
      5205 Fashion Drive                       Nanuet            NY   10954
      750 West Sunrise Hwy, Ste 100 Green      Valley Stream     NY   11581
      5114 Arden Way                           Carmichael        CA   95608
      3950 Alameda Avenue                      Oakland           CA   94601
      1519 Gateway Blvd                       Fairfield          CA   94533
      979 Broadway                            Millbrae           CA   95670
      6061 Florin RD                          Sacramento         CA   95823
      2244 Sunrise Blvd                       Rancho Cordova     CA   95620
      8461 Elk Grove Florin Rd                Elk Grove          CA   95624
      1006 Riley St                           Folsom             CA   95630
      2306 Almaden RD Suite 140               San Jose           CA   95125
      1610 Crane CT                           San Jose           CA   95112
      351 Rheem Blvd                          Morage             CA   94556
      93 Bovet Rd                             San Mateo          CA   94402
      2535 California St                      Mountain View      CA   94040
      6345 Commerce Blvd.                     Rohnert            CA   94928
      9450 Ruby Lockhart Blvd                 Lanham             MD   20706
      1500 Cornerside Blvd                    Vienna             VA   22182
      1000 East Broad Street                  Falls Church       VA   22042
      12300 Price Club Plaza                  Fairfax            VA   22033
      4770 Willow Road                        Pleasanton         CA   94558
      110 Avenida La Pata                     San Clement        CA   92673
      6830 E County Line RD                   Highland Ranch     CO   80130
      1265 Waterhouse Ave                     Beverton           OR   97006
      7887 Center Avenue                      Huntington Beach   CA   92647
      1085 South Arizona Avenue               Chandler           AZ   95248
      27520 Ynez Road                         Temecula           CA   92591
      Buena Park Mall                         Buena Park         CA   92802
      97 S Val Vista Drive                    Glendale           AZ   85308
      1919 N Power Rd                         Mesa               AZ   85207
      321 W. Katella                          Anaheim            CA   92702
      SWC Rose St & Valley Pkwy               Escondido          CA   92677
      21560 Valley Blvd                       City Of industry   CA   91789
      10046 N Metro Parkway                   Phoenix            AZ   85051
      27921 La Paz                             Laguna Niguel     CA   92618
      31 Fortune Drive                        Irvine             CA   92618
      6731 Westminster Blvd                   Westminster        CA   92683
      19350 Nordhoff St Unit D                North ridge        CA   91324
      500 N Atlantic Blvd Suite A-102-1       Monterey Park      CA   91754
      324 Sycamore Ave                        Vista              CA   92083
      11844 Wth Street                        Mesa               AZ   85051
      5651 Centennial Center Blvd             Las Vegas          NV   89107
      18825 Bear Valley Rd                    Apple Valley       CA   92308
      4345 Imperial Ave                       San Diego          CA   92113
      230 E Via Rancho Parkway, Suite 210     Escondido          CA   92025
      8810 Apollo Way                         Downey             CA   90242
      1220 West Avenue K                      Lancaster          CA   93534
      198 West Main Street                    El Cajon           CA   92020
      4866 State Highway 121                  Lewisville         TX   75056
      5070 Richmond Ave                       Houston            TX   77056
      1903 Empire Ave.                        Burbank            CA   91504


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                                                                              AW0107
                                                                                AWPLL000064
      13752 Jamboree Rd .                    Irvine             CA   92602
      2800 North Main Street                 Walnut Creek       CA   94597
      507 NE Northgate Way                   Seattle            WA   98125
      762 Sunnyvale Saratoga Road            Sunnyvale          CA   94087
      4425 La Jolla Village Drive            San Diego          CA   92122
      5300 Lankershim Blvd.                  North Hollywood    CA   91601
      4821 Del Amo Blvd                      Lakewood           CA   90712
      1870 Harbor Blvd Ste B4                Costa Mesa         CA   92627
      7715 Balboa Avenue                     San Diego          CA   92111
      12354 Limonite Avenue                  Eastvale           CA   91752
      2501 El Camino Real                     Carlsbad          CA
      2650 Kittyhawk Road                     Livermore         CA   94551
      4848 Valley View Ave                    Yorba Linda       CA   92886
      12155 Central Ave                      Chino              CA   91710
      2800 North Main Street , Unit 3100     Santa Ana          CA   92705
      9750 Central Avenue                    Montclair          CA   91763
      4240 Redondo Beach                     Torrance           CA   90504
      2350 Tapo Street                       Simi Valley        CA   93063
      Fallbrook Mall Bldg 008                West Hills         CA   91307
      505 South Flower St., Level B          Los Angeles        CA   90007
      First & Santa Clara                    Arcadia            CA   91006
      15310 Summit Ave                       Fontana            CA   92336
      1357 E Gladstone St                    Glendora           CA   91741
      Murrieta Hot Springs Rd                Murrieta           CA   92563
      100 City Parkway                       Las Vegas          NV   89106
      110 Towne Center Dr                    Compton            CA   90220
      1422 Azuza Ave                         West Covina        CA   91791
      1651 Victoria Ave.                     Oxnard             CA   93035
      2580 S. Archibald ave                  Ontario            CA   91761
      42900 Jackson St                       Indio              CA   92203
      2102 North Tustin Street               Orange             CA   92865
      17204 Slover Avenue                    Fontana            CA   92337
      12660 Day Street                       Moreno Valley      CA   92553
      27621 San Bernardino                   Redlands           CA   92374
      3409 Via Montebello                    Carlsbad           CA   92009
      400 Town Center Drive                  Oxnard             CA   93036
      6220 N Topanga Canyon Blvd Ste 2410    Woodland Hills     CA   91367
      2200 Eastridge Loop                    San Jose           CA   95122
      17970 Studebaker Rd Plaza 183          Cerritos           CA   90703
      9051 Atlanta Avenue                    Huntington Beach   CA   92646
      897 Harriman Place                     San Bernardino     CA   92408
      2770 South Colorado Blvd               Denver             CO   80222
      4110 B NE 4 th Street                  Renton             WA   98059
      8720 SE Sunnybrook Road                Clackamas          OR   97015
      4204 NE Halsey Street                  Portland           OR   97213
      4600 West 38th                         Denver             CO   80212
      621 Black Lake Blvd SW                 Olympia            WA   98502
      2913 NE 72 nd                          Vancouver          WA   98661
      7720 N. Academy Blvd                   Colorado Springs   CO   80920
      13019 NE Fourth Plain Rd               Vancouver          WA   98682
      12922 SE Kent Kangley Rd               Kent               WA   98030
      11014 19th Ave SE                      Everett            WA   98208
      91-5431 Kapolei Parkway, Suite 1700    Kapolei            HI   96707
      23750 Alessandro Blvd                  Moreno Valley      CA   92553
      641 S. Rancho Sante Fe Rd .            San Marcos         CA   92078
      5045 River Road N                      Keizer             OR   97303
      400 NW Eastman Pkwy                    Gresham            OR   97030


2H Manu J                           Page 8 of 9


                                                                             AW0108
                                                                               AWPLL000065
          15575 SW Sequoia Pkwy, 100                 Tigard        OR   97224
          8235 SW Apple Way                          Portland      OR   97225
          1017 Bay Area Blvd.                        Houston       TX   77058
          301 N Nolan Drive                          Southlake     TX   76092
          2800 North Main St, Unit 3100              Santa Ana     CA   92705
          5745 New Abbey Lane                        Castle Rock   CO   80108
          1541 NE 181st Avenue                       Portland      OR   97230
          6000 Newpark Mall                          Newark        CA   94560
          18730 Amar Road                            Walnut        CA   91789
          465 W Arlington Street                     Gladstone     OR   97027
          130 E. Imperial Highway                    Fullerton     CA   92835
          1400 W Edinger Avenue                      Santa Ana     CA   92704
          111 South 38th Street                      Tacoma        WA   98418



All other terms and conditions of this policy remain unchanged.



                      0'
By:                  T
                    Joseph Cellura

Title :             President , North American Casualty Division

Date:               July 3 , 2018




2H Manu J                                  Page 9 of 9


                                                                                AW0109
                                                                                  AWPLL000066
Endorsement No:                   30
This endorsement, effective:      April 17, 2018
                                  (at 12:01 A.M. standard time at the address of the Named Insured as
                                  shown in Item 1 . of the Declarations)
forms a part of Policy No:             -
                                  0309 1873
Issued to:                        24 Hour Holdings I Corp.
by:                               Allied World National Assurance Company


                                      DELETION ENDORSEMENT

It is hereby agreed that Endorsement #28, “Deletion and Replacement Endorsement" , 2H Manu I, is
deleted in its entirety.




All other terms and conditions of this policy remain unchanged.



By:
                   Joseph Cellura

Title :            President, North American Casualty Division

Date:              August 15 , 2018




2H Manu K                                  Page 1 of 1


                                                                                           AW0110
                                                                                                AWPLL000067
Endorsement No:                      26
This endorsement, effective:         April 17, 2018
                                     (at 12:01 A.M. standard time at the address of the Named Insured as
                                     shown in Item 1 . of the Declarations)
forms a part of Policy No:           0309- 1873
Issued to:                           24 Hour Holdings I Corp.
by:                                  Allied World National Assurance Company


                                  ADDITION OF SCHEDULED LOCATIONS

1     In consideration of an additional premium of $5,000 00, it is hereby agreed that each location set forth
      below is included in Item 5. of the Declarations as a scheduled location , subject to all of the terms and
      conditions of the policy.

      Item 5: Scheduled Locations:         Club #874, 10400 Sepulveda Blvd, Mission Hills , CA 91345
                                           Club #398, 3490 Madison Street , Riverside, CA 92504
                                           Club #635 , 2360 E Semoran Blvd, Apopka , FL 32703
                                           Club #640, 887 Pelham Parkway , Pelham Manor, NY 10803
                                           Club #386, 2680 West 64th Avenue, Arvada . CO 80004
                                           Club #731, 668 Central Park Ave , Scarsdale , NY 10583
                                           Club #229. 4440 E . Tropicana Avenue , Las Vegas NV
                                           Club #602, 719 East Calaveras Blvd, Milpitas , CA
                                           Club #633, 236 Wheelhouse Lane, Lake Mary, FL
                                           Club #Bfit (11106) , 14800 SE Sunnyside Rd. , Clackamas , OR




All other terms and conditions of this policy remain unchanged.



By:
                     Joseph Cellura

Title :              President , North American Casualty Division

Date:                May 22, 2018




ENV-SPL2 00027 00 (03/16)                     Page 1 of 1


                                                                                                    AW0111
                                                                                                         AWPLL000068
Endorsement No:                   27
This endorsement, effective:      April 17, 2018
                                  (at 12:01 A.M. standard time at the address of the Named Insured as
                                  shown in Item 1 . of the Declarations)
forms a part of Policy No:              -
                                  0309 1873
Issued to:                        24 Hour Holdings I Corp.
by:                               Allied World National Assurance Company



                                       DELETION ENDORSEMENT

It is hereby agreed that Endorsement #22, “Deletion and Replacement Endorsement" , 2H Manu E, is
deleted in its entirety.




All other terms and conditions of this policy remain unchanged.



By:
                   Joseph Cellura

Title :            President , North American Casualty Division

Date:              May 22, 2018




2H Manu H                                   Page 1 of 1


                                                                                           AW0112
                                                                                                AWPLL000069
Endorsement No:                    31
This endorsement, effective:       April 17, 2018
                                   (at 12:01 A .M. standard time at the address of the Named Insured as
                                   shown in Item 1 . of the Declarations)
forms a part of Policy No:         0309- 1873
Issued to:                         24 Hour Holdings I Corp.
by:                                Allied World National Assurance Company


                             DELETION AND REPLACEMENT ENDORSEMENT

It is hereby agreed that effective on the first day of the policy period , Endorsement #20, entitled
“Addition of Scheduled Locations, Retroactive Date , Coverages , Limits and Deductibles” and bearing
form number 2H Manu C, is deleted in its entirety and replaced with the following :


      ADDITION OF SCHEDULED LOCATIONS . RETROACTIVE DATE, COVERAGES. LIMITS AND
                                   DEDUCTIBLES

1. It is hereby agreed that each location set forth below is included in Item 5 . of the Declarations as an
   insured location , subject to all of the terms and conditions of the policy, and subject to the following
   changes to Item 7., Retroactive Date of the Declarations:

                       Item 5: Insured Locations:                             Item 7. Retroactive Date
 498 S Boulder Hwy                     Henderson              NV    89015     01 /13/2017
 5959 W Century Blvd                   Los Angeles            CA    90045     02/03/2017
 18200 Yorba Linda Blvd                Yorba Linda            CA    92886     09 /03/2016
 23750 Alessandro Blvd                 Moreno Valley          CA    92553     10/31 /2015
 295 E Caroline St, Ste A              San Bernardino         CA    92408     12/23/2015
 700 E Redlands Blvd A 11- A12         Redlands               CA    92373     06/30/2015
 4255 Campus Dr #A -150                Irvine                 CA    92612     09 /30/2016
 2605 South Eastern                    Las Vegas              NV    89109     12/09 /2016
 600 Newport Center Dr.                Newport Beach          CA    92660     08 /14/2015
 303 Third Street                      Huntington Beach       CA    92648     12/16/2016
 641 S Rancho Sante Fe Rd              San Marcos             CA    92069     10/14/2016
 2121 W. Danforth Rd .                 Edmond                 OK    73003     06/15/2016
 647 SW 19th Street                    Moore                  OK    73160     06/15 /2016
 14651 Sprague St.                     Omaha                  NE    68116     06/15 /2016
 8966 West Bowles Ave                  Littleton              CO    80123     09 /30/2015
 7528 Queen’s Boulevard                Elmhurst               NY    11373     02/10/2017
 298 West 231st Street                 Bronx                  NY    10463     Divestiture date
 2100 Bartow Avenue                    Bronx                  NY    10475     09 /30/2016
 350 US Highway 46                     Wayne                  NJ    07470     09 /30/2016
 2718 North 118th Circle               Omaha                  NE    68164     06/15 /2016
 1805 Hwy 121                          Bedford                TX    76022     06/30/2015
 14885 W. Clayton Road                 Chesterfield           MO    63017     06/15 /2016
 215 Arnold Crossroads                 Arnold                 MO    63010     06/15 /2016
 10920 FM 1960 West                    Houston                TX    77070     07 /17/2015
 2121 N. 550 West                      Provo                  UT    84604     12/04/2015
 84th & Giles Rd.                      Papillion              NE    68138     06/15/2016
 3935 S. 147th St.                     Omaha                  NE    68144     06/15 /2016
 Bolger Square Shopping Center         Independence           MO    64055     06/15 /2016
 1095 Regency Parkway                  St. Charles            MO    63303     06/15 /2016
 12075 Metcalf                         Overland Park          KS    66213     06/15 /2016
 7420 Metcalf Avenue                   Overland Park          KS    66204     06/15 /2016
 229 Queen Anne Avenue North           Seattle                WA    98109     09 /11 /2015
 8600 Ward Pkwy                        Kansas City            MO    64114     06/15 /2016
 11311 W. 64th St. , Shawnee , KS      Shawnee                KS    66203     06/15 /2016

2H Manu L                                   Page 1 of 3


                                                                                                AW0113
                                                                                                     AWPLL000070
 12526 Totem Lake Boulevard NE         Kirkland           WA   98034   04/30/2016
 2490 Kalakaua Ave.                    Honolulu           HI   96815   10/07 /2016
 2632 Somersville Road                 Antioch            CA   94509   12/16/2016
 10320 Manchester Road                 Kirkwood           MO   63122   06/15 /2016
 7777 Cass St                          Omaha              NE   68114   06/15 /2016
 124th Place & Blackfoot Dr            Olathe             KS   66062   06/15/2016
 900NE Deerbrook                       Lee's Summit       MO   64086   06/15/2016
 E Frank Wright Lloyd Bldg             Scottsdale         AZ   85260   06/30/2016
 3400 Bernard                          Bakersfield        CA   93306   Divestiture date
 1505 140th Ave NE                     Bellevue           WA   98005   Divestiture date
 2234 Rutherford Rd.                   Carlsbad           CA   92008   Divestiture date
 5420 Philadelphia Street, Ste A       Chino              CA   91710   Divestiture date
 8101 E Belleview Ave Ste A-20         Denver             CO   80237   Divestiture date
 8150 South Quebec St.                 Englewood          CO   80112   Divestiture date
 10200 Juniper Ave                     Fontana            CA   92335   Divestiture date
 40910 Fremont Blvd                    Fremont            CA   94538   Divestiture date
 1456 Railroad Ave                     Livermore          CA   94550   Divestiture date
 1285 Ridgeway Rd.                     Memphis            TN   38119   Divestiture date
 2213 El Camino Real                   Oceanside          CA   92037   Divestiture date
 915 W. Parker Rd. Ste 310, 311 , 31   Plano              TX   75023   Divestiture date
 7690 Limonite                         Riverside          CA   92509   Divestiture date
 701 Montgomery St                     Westlake Village   CA   91362   Divestiture date
 17170 Bernardo Center Dr.             San Diego          CA   92128   09 /03 /2017
 15926 Jamaica Avenue                  Jamaica            NY   11432   09 / 03 /2017
 5234 Newpark Mall Road                Newark             CA   94560   09 /03 /2017
 7635 West 88th Avenue                 Arvada             CO   80005   09 / 03/2017
 2130 South 314 th Street              Federal Way        WA   98003   09 / 03/2017
 400 East Fordham RD                   Bronx              NY   10010   10/06/2017
 17170 Bernardo Center Dr.             San Diego          CA   92128   09 /03 /2017
 15926 Jamaica Avenue                  Jamaica            NY   11432   09 /03/2017
 5234 Newpark Mall Road                Newark             CA   94560   09 / 03 /2017
 7635 West 88th Avenue                 Arvada             CO   80005   09 /03 /2017
 2130 South 314 th Street              Federal Way        WA   98003   09 /03/2017
 400 East Fordham Rd                   Bronx              NY   10010   10/06/2017
 7450 University Avenue                La Mesa            CA   91041   12/01 /2017
 100 Oceangate Ave , Suite P20         Long Beach         CA   90802   12/ 01 /2017
 3813 Center View Drive                West Jordan        UT   84084   12/01 /2017
 303 Second Street                     San Francisco      CA   94107   03 /02/2018


2. It is further agreed that with respect to each above-listed insured location , Item 2., of the
   Declarations is deleted and replaced with the following:

       Item 2. Policy Period:     From September 3, 2017   To September 3, 2020
                    12:01 AM STANDARD TIME AT THE ADDRESS SHOWN IN ITEM 1.

3 . It is further agreed that with respect to each above-listed insured location , Item 3., of the
    Declarations is deleted and replaced with the following:

       Item 3. Coverages and Coverage Section Limits and Deductibles:




2H Manu L                                 Page 2 of 3


                                                                                          AW0114
                                                                                            AWPLL000071
This policy includes only those coverages as stated in Section I of the Policy for which deductibles and
limits of liability appear below.

 Coverage      Deductible -Each Incident     Each Incident Limit      Coverage Section Aggregate
                                                                                Limit
          1   $50,000                        $25 ,000,000           $25,000,000
          2   N/A                            N/A                    N/A
          3   N/A                            N/A                    N/A
          4   N/A                            N/A                    N/A

 Coverage      Business Interruption -       Each Incident Limit      Coverage Section Aggregate
                 Deductible - Days                                              Limit
          5   NA
               /                             N/A                    NA
                                                                     /




All other terms and conditions of this policy remain unchanged.




By:
                   Joseph Cellura

Title :            President , North American Casualty Division

Date:              August 15 , 2018




2H Manu L                                  Page 3 of 3


                                                                                             AW0115
                                                                                                 AWPLL000072
Endorsement No:                   32
This endorsement, effective:      August 3, 2018
                                  (at 12:01 A.M. standard time at the address of the Named Insured as
                                  shown in Item 1 . of the Declarations)
forms a part of Policy No:             -
                                  0309 1873
Issued to:                        24 Hour Holdings I Corp.
by:                               Allied World National Assurance Company


                                      DELETION ENDORSEMENT

It is hereby agreed that Endorsement # 29, “Deletion and Replacement Endorsement ”, 2H Manu J, is
deleted in its entirety.




All other terms and conditions of this policy remain unchanged.



By:
                   Joseph Cellura

Title :            President, North American Casualty Division

Date:              August 15 , 2018




2H Manu M                                  Page 1 of 1


                                                                                           AW0116
                                                                                                AWPLL000073
Endorsement No:                    33
This endorsement, effective:       August 3, 2018
                                   (at 12:01 A .M. standard time at the address of the Named Insured as
                                   shown in Item 1 . of the Declarations)
forms a part of Policy No:         0309- 1873
Issued to:                         24 Hour Holdings I Corp.
by:                                Allied World National Assurance Company


                             DELETION AND REPLACEMENT ENDORSEMENT

It is hereby agreed that effective on 08 /03/2018, Endorsement # 21 , entitled “ Amendatory Endorsement ”
and bearing form number 2H Manu D, is deleted in its entirety and replaced with the following:


                                    AMENDATORY ENDORSEMENT


It is hereby agreed that the following changes are made to the policy:

1.      Item 5 . Insured Locations of the Declarations is deleted in its entirety and replaced with the
        following:

        Item 5. Insured Locations:

       1265 Laurel Tree Lane                          Carlsbad                 CA      92008
       140A Alamo Plaza                               Alamo                    CA      94507
       18305 Brookhurst Drive                         Fountain Valley          CA      92708
       SEC of Windmill Ave & Antonio Pkwy             Ladera Ranch             CA      92694
       820 State Street                               Santa Barbara            CA      93101
       Crenshaw Blvd. & Century Fwy ( 1-105)          Hawthorne                CA      90250
       6348 College Grove Way                         San Diego                CA      92115
       1600 Azusa Drive , Space 300                   City of Industry         CA      91748
       324 Horton Plaza , Space No. 25                San Diego                CA      92101
       3605 Avocado Blvd.                             La Mesa                  CA      91941
       406 Crosby Street                              Altadena                 CA      91001
       3600 West Orangewood                           Orange                   CA      92868
       SE Corner of Lemon and Durst Streets           Anaheim                  CA      92801
       909-919 Garnet Avenue                          San Diego                CA      92109
       SWC Silverado Ranch Blvd & Md Pkwy             Las Vegas                NV      89123
       1640 Camino Del Rio N, Ste 315                 San Diego                CA      92108
       1415- 1417 Second St .                         Santa Monica             CA      90401
       Imperial Hwy and Carmenita                     Santa Fe Springs         CA      90670
       15301 Ventura Boulevard, Space U-3             Sherman Oaks             CA      91403
       320 Third Avenue                               Chula Vista              CA      91910
       26741 Rancho Pkwy.                             Lake Forest              CA      92630
       5035 W. Tropicana                              Las Vegas                NV      89103
       Hillsborough Dr. & Beach Blvd.                 La Mirada                CA      90638
       589 Anton Boulevard                            Costa Mesa               CA      32626
       4480 Charleston Blvd., Las Vegas               Las Vegas                NV      89104
       Hwy 76 & Frazee Road                           Oceanside                CA      92057
       1530 W. West Covina Parkway                    West Covina              CA      91790
       870 Amena Court                                Chula Vista              CA      91910
       32451 St. of the Golden Lantern , Ste 1 A      Laguna Niguel            CA      92677
       Sunset/DeLongpre                               Los Angeles              CA      90027
       2595 Thousand Oaks Blvd                        Thousand Oaks            CA      91362
       3965 5th Avenue, Suites 100-160                San Diego                CA      92103
       9550 Miramar Road                              San Diego                CA      92126

2H Manu N                                  Page 1 of 9


                                                                                                AW0117
                                                                                                    AWPLL000074
      400 La Terraza Blvd                       Escondido             CA   92025
      1605- 1617 Pacific Coast Highway          Hermosa Beach         CA   90254
      1490 E. Daily                             Camarillo             CA   93011
      2106 W. Craig Road, Suite # 2             North Las Vegas       NV   89032
      7450 University Avenue                    La Mesa               CA   91041
      1660 Broadway, Suite 18-22                Chula Vista           CA   91011
      3675 Midway Dr., A 1                      San Diego             CA   92110
      9906 Mission Gorge Rd                     Santee                CA   92071
      5858 Warner Ave                           Huntington Beach      CA   92649
      5885 Rancho Mission Rd                    San Diego             CA   9210
      4501 Katella Avenue, Building 4           Cypress               CA   90630
      240 Brand Blvd                            Glendale              CA   91203
      455 Santa Fe Drive                        Encinitas             CA   92024
      4302 Gosford Road                         Bakersfield           CA   93313
      1335 West Avenue P                        Palmdale              CA   93551
      3699 Wilshire Blvd . 3rd floor #110       Los Angeles           CA   90010
      9911 W. Pico Blvd., #B- 16 & Floor A      Los Angeles           CA   90035
      1600 Adams Avenue                         Costa Mesa            CA   92626
      10125 Whitwood Drive                      Whittier              CA   90603
      25252 McIntyre                            Laguna Hills          CA   92653
      3521 E. Chapman                            Orange               CA   92869
      3633 Rosedale Highway                     Bakersfield           CA   93308
      2685 Pacific Coast Hwy                    Torrance              CA   90505
      8105 Sheridan Boulevard                   Westminster           CO   80003
      27131 Calle Arroyo #1701                  San Juan Capistrano   CA   92675
      8350 Van Nuys Blvd                        Panorama City         CA   91402
      15315 Culver Dr. #165                     Irvine                CA   92604
      2556 Wigwam Parkway                       Henderson             NV   89014
      100 Oceangate Ave suite P20               Long Beach            CA   90802
      9561 Chapman Avenue                       Garden Grove          CA   92841
      23166 Los Alisos Blvd, #140               Mission Viejo         CA   92691
      27141 Aliso Creek Rd, #100                Aliso Viejo           CA   92656
      NWC State College & Birch St.             Brea                  CA   92621
      17170 Bernardo Center Dr.                 San Diego             CA   92128
      1500 Rosecrans Ave #100                   Manhattan Beach       CA   90266
      685 West Foothill Boulevard               Upland                CA   91786
      2893 North Green Valley Pkwy              Henderson             NV   89014
      7680 Girard Ave                           La Jolla              CA   92037
      16200 Bear Valley, Suite # L-1             Victorville          CA   92392
      18645 Via Princessa                        Santa Clarita        CA   91351
      715 E. Huntington Dr.                      Monrovia             CA   91016
      22331 El Paseo                             Santa Margarita      CA   92688
      465 North Halstead St. #102                Pasadena             CA   91107
      975 Lomas Santa Fe Drive, Suite A-C        Solana Beach         CA   92075
      1352 Madera Rd.                            Simi Valley          CA   93065
      5601 Grossmont Center Dr.                 La Mesa               CA   91942
      525 Colorado Boulevard                    Pasadena              CA   91101
      4200 Chino Hills Parkway                  Chino Hills           CA   91709
      Val Vista Drive & Elliot Road             Gilbert               AZ   85234
      2929 31st Street                          Santa Monica          CA   90405
      8612 Santa Monica Blvd                    West Hollywood        CA   90069
      555 West 19th ST                          Costa Mesa            CA   92627
      3030 Bellflower Blvd .                    Long Beach            CA   90808
      18007 Von Karman Avenue                   Irvine                CA   92612
      10025 Carmel Mountain Road                San Diego             CA   92127
      945 Dominguez Avenue                      Carson                CA   90746
      300 South Festival Lane                   Anaheim Hills         CA   92808


2H Manu N                              Page 2 of 9


                                                                                   AW0118
                                                                                     AWPLL000075
      8697 Irvine Center Drive                   Irvine              CA   92618
      11787 Foothill Boulevard                   Rancho Cucamonga    CA   91730
      275 Teller Street, #100                    Corona              CA   92879
      10616 Research Blvd.                       Austin              TX   78759
      2145 Baseline Road                         Tempe               AZ   85283
      3233 E. Camel Back Road                    Phoenix             AZ   85018
      13220 N. Scottsdale Road                   Scottsdale          AZ   85254
      7300 West Greens Road                      Willow Brook        TX   77064
      14111 Southwest Parkway                    Sugarland           TX   77478
      10707 Westheimer Rd .                      Houston             TX   77042
      601 S. Rainbow Blvd.                       Las Vegas           NV   89128
      3600 Emporium Circle                       Mesquite            TX   75150
      4600 West Park Blvd.                       Plano               TX   75093
      1375 East Campbell Rd                      Richardson          TX   75081
      1131 W. Arbrook Blvd.                      Arlington           TX   76015
      2100 Plaza Parkway                         Bedford             TX   76021
      9800 West Atlantic Blvd.                   Coral Springs       FL   33071
      700 Pine Island Rd                         Plantation          FL   33324
      5001 Overton Ridge Blvd.                   Fort Worth          TX   76132
      400 N. Brand Blvd ., Ste. 120              Glendale            CA   91203
      Spring Gate Ln & Town Ctr Drive            Las Vegas           NV   89134
      2920 Aborn Square Road                     San Jose            CA   95121
      771 Jackson Street                         Hayward             CA   94544
      35630 Fremont Boulevard                    Fremont             CA   94536
      567 Floresta Boulevard                     San Leandro         CA   94578
      3951 Alemany Boulevard                     San Francisco       CA   94132
      3435 S. Inca Street                        Englewood           CO   80110
      7635 West 88th Avenue                      Arvada              CO   80005
      720 S. Colorado Boulevard                  Denver              CO   80246
      360 South Teller Street                    Lakewood            CO   80226
      10001 Grant Street                         Thornton            CO   80229
      1450 South Abilene Street                  Aurora              CO   80012
      99 U.S Highway 22                          Springfield         NJ   07081
      140 Central Avenue                         Clark               NJ   07066
      189 US Highway 46                          Saddle Brook        NJ   07663
      918 Bergen Avenue                          Jersey City         NJ   07306
      245-24 Horace Harding Expressway           Little Neck         NY   11362
      15926 Jamaica Avenue                       Jamaica             NY   11432
      2032 Coney Island Avenue                   Brooklyn            NY   11223
      8002 Kew Gardens Road                      Kew Gardens         NY   11415
      2503 Grand Concourse                       Bronx               NY   10468
      2163 Tilden Avenue                         Brooklyn            NY   11226
      1921 86th Street                           Brooklyn            NY   11214
      298 West 231st Street                      Bronx               NY   10463
      1720 Sheepshead Bay Road                   Brooklyn            NY   11235
      1675 Sunrise Hwy                           Bay Shore           NY   11706
      589 Tuckahoe Road                          Yonkers             NY   10710
      12260 Gulf Freeway # A - 5 & #A -15        Houston             TX   77070
      15542 Highway 529 (Spencer Road)           Houston             TX   77095
      5721 Westheimer Road                       Houston             TX   77057
      9336 Westview                              Houston             TX   77055
      7622 Campbell Rd                           Dallas              TX   75248
      2770 East Trinity Mills                    Carrollton          TX   75006
      1550 S. Mason Road                          Katy               TX   77450
      724 W. Main St , Suite 190A/alley Square    Lewisville         TX   75067
      3650 Austin Bluff Parkway , #197            Colorado Springs   CO   80918
      12039 W. Alameda Parkway, #Z- 3             Lakewood           CO   80228


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                                                                                  AW0119
                                                                                    AWPLL000076
      6044 South Kipling Parkway                 Littleton          CO     80127
             -
      11420 1 10 East Freeway                    Jacinto City       TX     77029
      6425 San Felipe                            Houston            TX     77057
      10301 South 1300 East                       Sandy City        UT     84094
      4650 W 120th Ave . & Sheridan              Broomfield         CO     80020
      5100 Beltline Rd, #600                     Addison            TX     75240
      S 1100 E & Ashton Avenue                   Salt Lake City     UT     84106
      2407 West Airport Freeway                  Irving             TX     75062
      1892 Southgate Ctr                         Colorado Springs   CO     80906
      18541 Kuykendahl Road                      Houston            TX     77379
      7068 FM 1960 East                          Humble             TX     77346
      S. Meridian Blvd at Oswego St.             Englewood          CO     80112
      4120 E. Alameda                            Glendale           CO     80246
      7400 E. Hampden Ave.                       Denver             CO     80231
      146 West Parkwood                          Friendswood        TX     77546
      Portion of Lot IR -Bray Central 1 Add.     Allen              TX     75013
      NEC E. Dad Clark Dr. & S. Broadway         Highlands Ranch    CO     80126
      21602 State Highway 249                    Houston            TX     77070
      700 N Harwood                              Dallas             TX     75201
      Six Pines Road                             Woodlands          TX     77380
      11100 Central Expressway                   Dallas             TX     75243
      Meyerland Plaza Ctr , Space #8650E         Houston            TX     77096
      5706 E. Mockingbird Lane                   Dallas             TX     75206
      1000 E. 41st St., #850                     Austin             TX     78751
      1208- S N. IH-35                           Round Rock         TX     78681
      3301 E. Bell Road                          Phoenix            AZ     85032
      13802 Research Blvd.                       Austin             TX     78750
      18707 & 18737 E. Hampden Avenue            Aurora             CO     80013
      2401 Rio Grande Blvd                       Euless             TX     76039
      4112 FM 762                                Rosenberg          TX     77471
      Bingle Shopping Center                     Houston            TX     77055
      Warren Parkway & Preston Road              Frisco             TX     75034
      188 106th Ave NE, 5th Floor                Bellevue           WA     98004
      10115 Gravelly Lake Drive SW, Suite 2      Lakewood           WA     98499
      20202 Ballinger Way, NE, Space A-10        Seattle            WA     98155
      2130 South 314th Street                    Federal Way        WA     98003
      2500 SW Barton                             Seattle            WA     98126
      800 S.E Tech Center Drive                  Vancouver          WA     98684
      1220 Howell Street                         Seattle            WA     98101
      1407 SW Fourth Avenue                      Portland           OR     97201
      11100 SW Murray Schools PI .               Beaverton          OR     97007
      18930 29th Avenue West                     Lynwood            WA     98036
      9946 SE Washington, Space E-1              Portland           OR     97216
      4546 SE McLoughlin Blvd                    Portland           OR     97216
      815 Auburn Way                             Auburn             WA     98002
      5400 South & Redwoord                      Salt Lake City     Utah   84118
      9th Street Marketplace                     Murray City        Utah   84121
      515 South 700 East                         Salt Lake City     Utah   84102
      45 Montgomery Street /111Sutter Street     San Francisco      CA     94104
      3813 Center View Drive                     West Jordan        UT     84084
      512 S Chambers RD                          Aurora             CO     80017
      6839 South Vine Street                     Centennial         WA     80122
      5712 East lake Sammamish Parkway           Issaquah           WA     98209
      18006 120th Ave                            Bothel             WA     98011
      17200 Brookhurst St                        Fountain Valley    CA     92708
      2520 Somersville Road                      Antioch            CA     94509
      1049 Broadway St                           Redwood City       CA     94063


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                                                                                   AW0120
                                                                                     AWPLL000077
      555 Oceana Blvd.                           Pacifica         CA   94044
      2480 Whipple Road                          Hayward          CA   94544
      La Cienega & Slauson Ave.                  Los Angeles      CA   90056
      17941 SWMcEwan Road                        Tigard           OR   97224
      7320 170th Ave NE                          Redmond          WA   98052
      4500 Auto Mall Parkway                     Fremont          CA   94538
      Store #A-225, A-103 , A-226                Richmond         CA   94806
      1000 Kamehameha Highway                    Pearl City       HI   96782
      6223 Santa Teresa Blvd                     San Jose         CA   95119
      7905 Walerga Road                          Antelope         CA   95843
      304 Bayfair                                San Leandro      CA   94578
      1200 Van Ness Ave                          San Francisco    CA   94109
      520 S. El Camino Real                      San Mateo        CA   94402
      Leigh/Hillsdale Avenue                     San Jose         CA   95124
      375A North Capitol Ave                     San Jose         CA   95133
      150 E. Fremont Ave                         Sunnyvale        CA   94087
      373 Gelled Blvd                            Daly City        CA   94015
      101 Larkspur Landing Cr.                   Larkspur         CA   94939
      3550 Industrial Dr.                        Santa Rosa       CA   95403
      Sunvalley, Store # E-118C & Store #E-203   Concord          CA   94520
      4500 Norris Canyon Road                    San Ramon        CA   94538
      550 Showers Dr„ #7D, 4D, 3D, 8D            Mountain View    CA   94040
      3839 E. Castro Valley                      Castro Valley    CA   94552
      4300 Sonoma Blvd #408                      Vallejo          CA   94589
      2033 N. Main Street                        Walnut Creek     CA   94596
      1201 SoquelAve                             Santa Cruz       CA   95062
      303 Second Street                          San Francisco    CA   94107
      350 Bay Street                             San Francisco    CA   94133
      100 California Street                      San Francisco    CA   94111
      Auburn Boulevard and Van Maren Lane        Citrus Heights   CA   95621
      9574 Micron Ave                            Sacramento       CA   95827
      2050 Webster Street                        Oakland          CA   94612
      850 Tennent Station                        Morgan Hill      CA   95037
      1090 Nodh Main Street                      Manteca          CA   95336
      24727 Amador St .                          Hayward          CA   94544
      1595 Sky Mountain Dr.                      Reno             NV   89503
      1850 Ocean Avenue                          San Francisco    CA   94112
      1680 Kapiolani Blvd.                       Honolulu         HI   96814
      39300 Paseo Padre Parkway                  Fremont          CA   94538
      1531 ParkmoreAve                           San Jose         CA   95128
      1645 Bryant Street                         San Francisco    CA   94103
      5234 Newpark Mall Road                     Newark           CA   94560
      2145 Market Street                         San Francisco    CA   94114
      95221 Kipapa Drive                         Mililani         HI   96789
      6155 Neil Road                             Reno             NV   89511
      8785 Center Parkway                        Sacramento       CA   95823
      4100 S. Parker Road                        Aurora           CO   80014
      1000 Bishop Building, Suite 101            Honolulu         HI   96813
      3137 West Benjamin Holt Drive              Stockton         CA   95219
      150 Hana Highway, #108                     Kahului, Maui    HI   96732
      45- 480 Kanoehe Bay Drive , C -21          Kaneohe          HI   96744
      7600 Greenhaven Drive , Suite 15           Sacramento       CA   95831
      Hall Blvd . & Watson Avenue                Beavedon         OR   97005
      1210 NW Johnson                            Podland          OR   97209
      Fulton & Hurley, Sacramento                Sacramento       CA   95825
      Rampad Way and Academy Blvd                Denver           CO   80230
      441 Lancaster Drive NE                     Salem            OR   97301


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                                                                               AW0121
                                                                                 AWPLL000078
      6095 SE Tulatin Valley HWY            Hillsboro              OR   97123
      6 Petaluma Blvd., North               Petaluma               CA   94954
      2072 Addison Street                    Berkeley              CA   94704
      336 N Sunrise Blvd.                   Roseville              CA   95661
      7120 Kalanianaole Hwy                 Honolulu               HI   96825
      1211 E. Arquez                        Sunnyvale              CA   94086
      1650 Industrial Road                  San Carlos             CA   94070
      1020 7th Street                       Sacramento             CA   95814
      301 Jacklin Road                      Milpitas               CA   95035
      200 Harker Place                      Annapolis              MD   21401
      260 East Route 4                      Pa ramus               NJ   7652
      2982 Grand Avenue                     Coconut Grove          FL   33133
      8333 Pines Boulevard                  Pembroke Pines         FL   33024
      8400 Mills Drive                      Miami                  FL   33183
      6846 Forest Hilld Blvd                Greenacres             FL   33413
      20851 Dixie Drive Highway             Miami                  FL   33189
      11645 Red Road                        Miramar                FL   33025
      1775 North Congress Ave               Boynton Beach          FL   33426
      9919 West Oakland Park Blvd           Sunrise                FL   33351
      15 West Crystal Lake Drive            Orlando                FL   32806
      4270 Aloma Avenue, Suite 164          Winter Park            FL   32792
      850 W Osceola Parkway                 Kissimmee              FL   34741
      150 Triangle Plaza                    Ramsey                 NJ   7446
      150 Sylvan Avenue                     Englewood Cliffs       NJ   07632
      133 Route 23                          Wayne                  NJ   07470
      405 East Interstate 30                Rockwall               TX   75087
      5901 Golden Triangle                  Keller                 TX   76548
      459 State Route 17                    Hasbrouck              NJ   07604
      400 East Fordham RD                   Bronx                  NY   10010
      19770 Saums Road                      Houston                TX   77084
      NWC FM 518 & Miller Ranch Rd          Pearland               TX   77584
      1401 Town Center                      Pflugerville           TX   78681
      2599 Dunstan Rd                       Houston                TX   77005
      5270 West Grand Parkway               Richmond               TX   77406
      159000 E Brianwood Circle             Aurora                 CO   80013
      2650 Belleview Ave                    Littleton              CO   80120
      213 North Highway 67                  Cedar Hill             TX   75104
      2208 E Harmony Road                   Ft Colins              CO   80528
      2900 Iris Ave                         Boulder                CO   80528
      1719 Spring Green Blvd                 Katy                  TX   77494
      Western Oaks Retail Ctr               Austin                 TX   78745
      19770 Saums Road                      Houston                TX   77084
      213 North Highway 67                  Cedar Hill             TX   75104
      6601 Northeast Loop 820               North Richland Hills   TX   76180
      SWC Parmer Lane and I- 35             Austin                 TX   78727
      25632 Northwest Freeway               Cypress                TX   77429
      NEC Woodlands Pkwy & Kukendahl        The Woodlands          TX   77382
      Marketplace & Olympus Blvd            Irving                 TX   75063
      Old Denton Road                       Ft Worth               TX   76137
      5946 Fairmont Parkway                 Pasadena               TX   77505
      4425 FM 1960 West                     Houston                TX   77014
      1101 N Walnut Creek Dr                Mansfield              TX   76063
      2765 Gulf Freeway                     League City            TX   77573
      2700 E Eldorado Parkway               Little Elm             TX   75068
      3501Garth Road                        Baytown                TX   77521
      321 Louisiana Street                  Houston                TX   77006
      12555 Westheimer                      Houston                TX   77077


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                                                                                AW0122
                                                                                  AWPLL000079
      SE Corner Hwy 360 & Camp Wisdom         Grand Prairie      TX   75050
      3800 24th Street                        San Francisco      CA   94114
      1773 Solano Ave                          Berkeley          CA   94704
      136 Crosby                               New York          NY   10010
      Town Square                              New York          NY   10010
      153 East 53rd street                     New York          NY   10010
      5205 Fashion Drive                       Nanuet            NY   10954
      750 West Sunrise Hwy, Ste 100 Green      Valley Stream     NY   11581
      5114 Arden Way                           Carmichael        CA   95608
      3950 Alameda Avenue                      Oakland           CA   94601
      1519 Gateway Blvd                       Fairfield          CA   94533
      979 Broadway                            Millbrae           CA   95670
      6061 Florin RD                          Sacramento         CA   95823
      2244 Sunrise Blvd                       Rancho Cordova     CA   95620
      Bel Air Village Phase II                Elk Grove          CA   95624
      1006 Riley St                           Folsom             CA   95630
      2306 Almaden RD Suite 140               San Jose           CA   95125
      1610 Crane CT                           San Jose           CA   95112
      351Rheem BLVD                           Morage             CA   94556
      93 Bovert RD                            San Mateo          CA   94402
      2535 California St                      Mountain View      CA   94040
      6345 Commerce Blvd.                     Rohnert            CA   94928
      9450 Ruby Lockhart Blvd                 Lanham             MD   20706
      1500 Cornerside Blvd                    Vienna             VA   22182
      1000 East Broad Street                  Falls Church       VA   22042
      12300 Price Club Plaza                  Fairfax            VA   22033
      4770 Willow Road                        Pleasanton         CA   94558
      110 Avenida La Pata                     San Clement        CA   92673
      6830 E County Line RD                   Highland Ranch     CO   80130
      1265 Waterhouse Ave                     Beverton           OR   97006
      7887 Center Avenue                      Huntington Beach   CA   92647
      1085 South Arizona Avenue               Chandler           AZ   95248
      27520 Ynez Road                         Temecula           CA   92591
      Buena Park Mall                         Buena Park         CA   92802
      97 S Val Vista Drive                    Glendale           AZ   85308
      1919 N Power Rd                         Mesa               AZ   85207
      321 W. Katella                          Anaheim            CA   92702
      SWC Rose St & Valley Pkwy               Escondido          CA   92677
      21560 Valley Blvd                       City Of industry   CA   91789
      10046 N Metro Parkway                   Phoenix            AZ   85051
      27921 La Paz                             Laguna Niguel     CA   92618
      31 Fortune Drive                        Irvine             CA   92618
      6731 Westminster Blvd                   Westminster        CA   92683
      19350 Nordhoff St Unit D                North ridge        CA   91324
      500 N Atlantic Blvd Suite A-102-1       Monterey Park      CA   91754
      324 Sycamore Ave                        Vista              CA   92083
      11844 Wth Street                        Mesa               AZ   85051
      5651 Centennial Center Blvd             Las Vegas          NV   89107
      18825 Bear Valley Rd                    Apple Valley       CA   92308
      4345 Imperial Ave                       San Diego          CA   92113
      230 E Via Rancho Parkway, Suite 210     Escondido          CA   92025
      8810 Apollo Way                         Downey             CA   90242
      1220 West Avenue K                      Lancaster          CA   93534
      198 West Main Street                    El Cajon           CA   92020
      4866 State Highway 121                  Lewisville         TX   75056
      5070 Richmond Ave                       Houston            TX   77056
      1903 Empire Ave.                        Burbank            CA   91504


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                                                                              AW0123
                                                                                AWPLL000080
      13752 Jamboree Rd .                    Irvine             CA   92602
      2800 North Main Street                 Walnut Creek       CA   94597
      507 NE Northgate Way                   Seattle            WA   98125
      762 Sunnyvale Saratoga Road            Sunnyvale          CA   94087
      4425 La Jolla Village Drive            San Diego          CA   92122
      5300 Lankershim Blvd.                  North Hollywood    CA   91601
      4821 Del Amo Blvd                      Lakewood           CA   90712
      1870 Harbor Blvd                       Costa Mesa         CA   92627
      7715 Balboa Avenue                     San Diego          CA   92111
      12354 Limonite Avenue                  Eastvale           CA   91752
      2501 El Camino Real                     Carlsbad          CA
      2650 Kittyhawk Road                     Livermore         CA   94551
      4848 Valley View Ave                    Yorba Linda       CA   92886
      12155 Central Ave                      Chino              CA   91710
      2800 North Main Street , Unit 3100     Santa Ana          CA   92705
      9750 Central Avenue                    Montclair          CA   91763
      4240 Redondo Beach                     Torrance           CA   90504
      2350 Tapo Street                       Simi Valley        CA   93063
      Fallbrook Mall Bldg 008                West Hills         CA   91307
      505 South Flower St., Level B          Los Angeles        CA   90007
      First & Santa Clara                    Arcadia            CA   91006
      15310 Summit Ave                       Fontana            CA   92336
      Valley Center Dr/Gladstone             Glendora           CA   91740
      Murrieta Hot Springs Rd                Murrieta           CA   92563
      100 City Parkway                       Las Vegas          NV   89106
      110 Towne Center Dr                    Compton            CA   90220
      1422 Azuza Ave                         West Covina        CA   91791
      1651 Victoria Ave.                     Oxnard             CA   93035
      2580 S. Archibald ave                  Ontario            CA   91761
      42900 Jackson St                       Indio              CA   92203
      2102 North Tustin Street               Orange             CA   92865
      17204 Slover Avenue                    Fontana            CA   92337
      12660 Day Street                       Moreno Valley      CA   92553
      27621 San Bernardino                   Redlands           CA   92374
      3409 Via Montebello                    Carlsbad           CA   92009
      400 Town Center Drive                  Oxnard             CA   93036
      6220 N Topanga Canyon Blvd Ste 2410    Woodland Hills     CA   91367
      2200 Eastridge Loop                    San Jose           CA   95122
      17970 Studebaker Rd Plaza 183          Cerritos           CA   90703
      9051 Atlanta Avenue                    Huntington Beach   CA   92646
      897 Harriman Place                     San Bernardino     CA   92408
      2770 South Colorado Blvd               Denver             CO   80222
      4110 B NE 4 th Street                  Renton             WA   98059
      8720 SE Sunnybrook Road                Clackamas          OR   97015
      4204 NE Halsey Street                  Portland           OR   97213
      4600 West 38th                         Denver             CO   80212
      The Promenade at Capital Mall          Olympia            WA   98502
      2913 NE 72 nd                          Vancouver          WA   98661
      7720 N. Academy Blvd                   Colorado Springs   CO   80920
      13019 NE Fourth Plain Rd               Vancouver          WA   98682
      12922 SE Kent Kangley Rd               Kent               WA   98030
      11014 19th Ave SE                      Everett            WA   98208
      91-5431 Kapolei Parkway, Suite 1700    Kapolei            HI   96707
      23750 Alessandro Blvd                  Moreno Valley      CA   92553
      641 S. Rancho Sante Fe Rd .            San Marcos         CA   92078
      5045 River Road N                      Keizer             OR   97303
      400 NW Eastman Pkwy                    Gresham            OR   97030


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                                                                             AW0124
                                                                               AWPLL000081
Endorsement No:                   35
This endorsement, effective:      October 17, 2018
                                  (at 12:01 A.M. standard time at the address of the Named Insured as
                                  shown in Item 1 . of the Declarations)
forms a part of Policy No:              -
                                  0309 1873
Issued to:                        24 Hour Holdings I Corp.
by:                               Allied World National Assurance Company



                                       DELETION ENDORSEMENT

It is hereby agreed that Endorsement #31 , “Deletion and Replacement Endorsement" , 2H Manu L, is
deleted in its entirety.




All other terms and conditions of this policy remain unchanged.



By:
                   Joseph Cellura

Title :            President , North American Casualty Division

Date:              December 6 , 2018




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                                                                                           AW0125
                                                                                                AWPLL000082
          15575 SW Sequoia Pkwy, 100                 Tigard        OR   97224
          8235 SW Apple Way                          Portland      OR   97225
          1017 Bay Area Blvd.                        Houston       TX   77058
          301 N Nolan Drive                          Southlake     TX   76092
          2800 North Main St, Unit 3100              Santa Ana     CA   92705
          5745 New Abbey Lane                        Castle Rock   CO   80108
          1541 NE 181st Avenue                       Portland      OR   97230
          6000 Newpark Mall                          Newark        CA   94560
          18730 Amar Road                            Walnut        CA   91789
          465 W Arlington Street                     Gladstone     OR   97027
          130 E. Imperial Highway                    Fullerton     CA   92835
          1400 W Edinger Avenue                      Santa Ana     CA   92704
          111 South 38th Street                      Tacoma        WA   98418
          193 Chambers Bridge Rd                     Brick         NJ   08723




All other terms and conditions of this policy remain unchanged.




By:
                    Joseph Cellura

Title :             President , North American Casualty Division

Date:               August 15 , 2018




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                                                                                AW0126
                                                                                  AWPLL000083
Endorsement No:                      34
This endorsement, effective:         October 17, 2018
                                     (at 12:01 A.M. standard time at the address of the Named Insured as
                                     shown in Item 1 . of the Declarations)
forms a part of Policy No:           0309- 1873
Issued to:                           24 Hour Holdings I Corp.
by:                                  Allied World National Assurance Company


                                  ADDITION OF SCHEDULED LOCATIONS

1     In consideration of an additional premium of $2,000 00, it is hereby agreed that each location set forth
      below is included in Item 5. of the Declarations as a scheduled location , subject to all of the terms and
      conditions of the policy.

      Item 5: Scheduled Locations:         Club #940, 12120 Carson Street , Hawaiian Gardens , CA, 90716
                                           Club #847, 1335 W. Renaissance Parkway, Rialto , CA 92376
                                           Club #937, 10636 San Pablo Avenue, El Cerrito, CA 94530
                                           Club #636, 1101 Resource Avenue, Orlando , FL 32811




All other terms and conditions of this policy remain unchanged.



By:
                     Joseph Cellura

Title :              President, North American Casualty Division

Date:                December 6 , 2018




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                                                                                                    AW0127
                                                                                                         AWPLL000084
Endorsement No:                    36
This endorsement, effective:       October 17, 2018
                                   (at 12:01 A .M. standard time at the address of the Named Insured as
                                   shown in Item 1 . of the Declarations)
forms a part of Policy No:         0309- 1873
Issued to:                         24 Hour Holdings I Corp.
by:                                Allied World National Assurance Company


                             DELETION AND REPLACEMENT ENDORSEMENT

It is hereby agreed that effective 10/17 /2018, Endorsement #20 entitled “ Addition of Scheduled
Locations , Retroactive Date , Coverages , Limits and Deductibles" and bearing form number 2H Manu C , is
deleted in its entirety and replaced with the following:


      ADDITION OF SCHEDULED LOCATIONS . RETROACTIVE DATE, COVERAGES. LIMITS AND
                                   DEDUCTIBLES

1. It is hereby agreed that each location set forth below is included in Item 5 . of the Declarations as an
   insured location , subject to all of the terms and conditions of the policy, and subject to the following
   changes to Item 7., Retroactive Date of the Declarations:

                       Item 5: Insured Locations:                             Item 7. Retroactive Date
 498 S Boulder Hwy                     Henderson              NV    89015     01 /13/2017
 5959 W Century Blvd                   Los Angeles            CA    90045     02/03/2017
 18200 Yorba Linda Blvd                Yorba Linda            CA    92886     09 /03/2016
 23750 Alessandro Blvd                 Moreno Valley          CA    92553     10/31 /2015
 295 E Caroline St, Ste A              San Bernardino         CA    92408     12/23/2015
 700 E Redlands Blvd A 11- A12         Redlands               CA    92373     06/30/2015
 4255 Campus Dr #A -150                Irvine                 CA    92612     09 /30/2016
 2605 South Eastern                    Las Vegas              NV    89109     12/09 /2016
 600 Newport Center Dr .               Newport Beach          CA    92660     08 /14/2015
 303 Third Street                      Huntington Beach       CA    92648     12/16/2016
 641 S Rancho Sante Fe Rd              San Marcos             CA    92069     10/14/2016
 2121 W. Danforth Rd .                 Edmond                 OK    73003     06/15/2016
 647 SW 19th Street                    Moore                  OK    73160     06/15 /2016
 14651 Sprague St.                     Omaha                  NE    68116     06/15 /2016
 8966 West Bowles Ave                  Littleton              CO    80123     09 /30/2015
 7528 Queen 's Boulevard               Elmhurst               NY    11373     02/10/2017
 298 West 231st Street                 Bronx                  NY    10463     Divestiture date
 2100 Bartow Avenue                    Bronx                  NY    10475     09 /30/2016
 350 US Highway 46                     Wayne                  NJ    07470     09 /30/2016
 2718 North 118th Circle               Omaha                  NE    68164     06/15 /2016
 1805 Hwy 121                          Bedford                TX    76022     06/30/2015
 14885 W. Clayton Road                 Chesterfield           MO    63017     06/15 /2016
 215 Arnold Crossroads                 Arnold                 MO    63010     06/15 /2016
 10920 FM 1960 West                    Houston                TX    77070     07 /17/2015
 2121 N. 550 West                      Provo                  UT    84604     12/04/2015
 84th & Giles Rd.                      Papillion              NE    68138     06/15/2016
 3935 S. 147th St.                     Omaha                  NE    68144     06/15 /2016
 Bolger Square Shopping Center         Independence           MO    64055     06/15 /2016
 1095 Regency Parkway                  St. Charles            MO    63303     06/15 /2016
 12075 Metcalf                         Overland Park          KS    66213     06/15 /2016
 7420 Metcalf Avenue                   Overland Park          KS    66204     06/15 /2016
 229 Queen Anne Avenue North           Seattle                WA    98109     09 /11 /2015
 8600 Ward Pkwy                        Kansas City            MO    64114     06/15 /2016
 11311 W. 64th St. , Shawnee , KS      Shawnee                KS    66203     06/15 /2016

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                                                                                                AW0128
                                                                                                     AWPLL000085
 12526 Totem Lake Boulevard NE           Kirkland               WA   98034   04/30/2016
 2490 Kalakaua Ave.                      Honolulu               HI   96815   10/07 /2016
 2632 Somersville Road                   Antioch                CA   94509   12/16/2016
 10320 Manchester Road                   Kirkwood               MO   63122   06/15 /2016
 7777 Cass St                            Omaha                  NE   68114   06/15 /2016
 124th Place & Blackfoot Dr              Olathe                 KS   66062   06/15/2016
 900NE Deerbrook                         Lee's Summit           MO   64086   06/15/2016
 E Frank Wright Lloyd Bldg               Scottsdale             AZ   85260   06/30/2016
 3400 Bernard                            Bakersfield            CA   93306   Divestiture date
 1505 140th Ave NE                       Bellevue               WA   98005   Divestiture date
 2234 Rutherford Rd.                     Carlsbad               CA   92008   Divestiture date
 5420 Philadelphia Street, Ste A         Chino                  CA   91710   Divestiture date
 8101 E Belleview Ave Ste A-20           Denver                 CO   80237   Divestiture date
 8150 South Quebec St.                   Englewood              CO   80112   Divestiture date
 10200 Juniper Ave                       Fontana                CA   92335   Divestiture date
 40910 Fremont Blvd                      Fremont                CA   94538   Divestiture date
 1456 Railroad Ave                       Livermore              CA   94550   Divestiture date
 1285 Ridgeway Rd.                       Memphis                TN   38119   Divestiture date
 2213 El Camino Real                     Oceanside              CA   92037   Divestiture date
 915 W. Parker Rd. Ste 310, 311 , 31     Plano                  TX   75023   Divestiture date
 7690 Limonite                           Riverside              CA   92509   Divestiture date
 701 Montgomery St                       Westlake Village       CA   91362   Divestiture date
 17170 Bernardo Center Dr.               San Diego              CA   92128   09 /03 /2017
 15926 Jamaica Avenue                    Jamaica                NY   11432   09 / 03 /2017
 5234 Newpark Mall Road                  Newark                 CA   94560   09 /03 /2017
 7635 West 88th Avenue                   Arvada                 CO   80005   09 / 03/2017
 2130 South 314 th Street                Federal Way            WA   98003   09 / 03/2017
 400 East Fordham RD                     Bronx                  NY   10010   10/06/2017
 17170 Bernardo Center Dr.               San Diego              CA   92128   09 /03 /2017
 15926 Jamaica Avenue                    Jamaica                NY   11432   09 /03/2017
 5234 Newpark Mall Road                  Newark                 CA   94560   09 / 03 /2017
 7635 West 88th Avenue                   Arvada                 CO   80005   09 /03 /2017
 2130 South 314 th Street                Federal Way            WA   98003   09 /03/2017
 400 East Fordham Rd                     Bronx                  NY   10010   10/06/2017
 7450 University Avenue                  La Mesa                CA   91041   12/01 /2017
 100 Oceangate Ave , Suite P20           Long Beach             CA   90802   12/ 01 /2017
 3813 Center View Drive                  West Jordan            UT   84084   12/01 /2017
 303 Second Street                       San Francisco          CA   94107   03 /02/2018
 136 Crosby                              New York               NY   10010   04/13/2018
 9911 W. Pico Blvd., #B-16 & FI. A       Los Angeles            CA   90035   06/29/2018
 99 U.S Highway 22                       Springfield            NJ   07081   07 /06/2018
 1529 W Valley Pkwy                      Escondido              CA   92677   09 /07 /2018


2.   It is further agreed that with respect to each above-listed insured location , Item 2., of the
     Declarations is deleted and replaced with the following:

         Item 2. Policy Period:     From September 3, 2017   To September 3, 2020
                      12:01 AM STANDARD TIME AT THE ADDRESS SHOWN IN ITEM 1.




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                                                                                                AW0129
                                                                                                  AWPLL000086
3. It is further agreed that with respect to each above-listed insured location , Item 3., of the
   Declarations is deleted and replaced with the following:

              Item 3. Coverages and Coverage Section Limits and Deductibles:

This policy includes only those coverages as stated in Section I of the Policy for which deductibles and
limits of liability appear below.

 Coverage           Deductible -Each Incident     Each Incident Limit     Coverage Section Aggregate
                                                                                    Limit
          1        $50,000                       $25 ,000,000           $25,000,000
          2        N/A                           N/A                    N/A
          3        N/A                           N/A                    N/A
          4        N/A                           N/A                    N/A

 Coverage           Business Interruption -       Each Incident Limit     Coverage Section Aggregate
                       Deductible - Days                                            Limit
          5        N/A                           N/A                    N/A




All other terms and conditions of this policy remain unchanged.




By:
                         Joseph Cellura

Title :                  President , North American Casualty Division

Date:                    December 6 , 2018




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                                                                                             AW0130
                                                                                                 AWPLL000087
Endorsement No:                    37
This endorsement , effective :     January 21 , 2019
                                   (at 12 : 01 A .M. standard time at the address of the Named Insured as
                                   shown in Item 1 . of the Declarations)
forms a part of Policy No :        0309- 1873
Issued to:                         24 Hour Holdings I Corp.
by:                                Allied World National Assurance Company


                                         DELETION ENDORSEMENT

It is hereby agreed that Endorsement #33 , 2H Manu N , “Deletion and Replacement Endorsement ” , is
deleted in its entirety .




All other terms and conditions of this policy remain unchanged .




By :
                    Joseph Cellura

Title :             President , North American Casualty Division

Date:               February 22 , 2019




2H Manu Q                                   Page 1 of 1


                                                                                               AW0131
                                                                                                   AWPLL000088
Endorsement No:                    38
This endorsement, effective:       January 21, 2019
                                   (at 12:01 A .M. standard time at the address of the Named Insured as
                                   shown in Item 1 . of the Declarations)
forms a part of Policy No:         0309- 1873
Issued to:                         24 Hour Holdings I Corp.
by:                                Allied World National Assurance Company


                             DELETION AND REPLACEMENT ENDORSEMENT

It is hereby agreed that effective on 01/21 /2019, Endorsement # 21 , entitled “ Amendatory Endorsement ”
and bearing form number 2H Manu D, is deleted in its entirety and replaced with the following:


                                    AMENDATORY ENDORSEMENT


It is hereby agreed that the following changes are made to the policy:

1.      Item 5 . Insured Locations of the Declarations is deleted in its entirety and replaced with the
        following:

        Item 5. Insured Locations:

       1265 Laurel Tree Lane, Suite 100               Carlsbad                 CA      92011
       140A Alamo Plaza                               Alamo                    CA      94507
       18305 Brookhurst Drive                         Fountain Valley          CA      92708
       SEC of Windmill Ave & Antonio Pkwy             Ladera Ranch             CA      92694
       820 State Street                               Santa Barbara            CA      93101
       2831 West 120th St                             Hawthorne                CA      90250
       6348 College Grove Way, Suite 109              San Diego                CA      92115
       1600 Azusa Drive , Space 300                   City of Industry         CA      91748
       1 Horton Plaza, Space 25                       San Diego                CA      92101
       3633 Avocado Blvd.                             La Mesa                  CA      91941
       2180 Lincoln Ave, Bldg 4                       Altadena                 CA      91001
       3600 West Orangewood                           Orange                   CA      92868
       1430 N Lemon St                                Anaheim                  CA      92801
       909-919 Garnet Avenue                          San Diego                CA      92109
       9875 S Maryland Pkwy                           Las Vegas                NV      89101
       1640 Camino Del Rio N, Ste 315                 San Diego                CA      92108
       1415- 1417 Second St .                         Santa Monica             CA      90401
       13312 Imperial Hwy and Carmenita               Santa Fe Springs         CA      90670
       15301 Ventura Boulevard, Space U-3             Sherman Oaks             CA      91403
       320 Third Avenue                               Chula Vista              CA      91910
       26781 Rancho Pkwy.                             Lake Forest              CA      92630
       5035 W. Tropicana                              Las Vegas                NV      89103
       13395 Beach Blvd .                             La Mirada                CA      90638
       589 Anton Avenue                               Costa Mesa               CA      32626
       4480 E. Charleston                             Las Vegas                NV      89104
       4655 Frazee Rd                                 Oceanside                CA      92057
       1530 W. West Covina Parkway                    West Covina              CA      91790
       870 Amena Court                                Chula Vista              CA      91910
       32451 Golden Lantern, Ste 1A                   Laguna Niguel            CA      92677
       6380 Sunset Blvd                               Los Angeles              CA      90028
       2595 Thousand Oaks Blvd                        Thousand Oaks            CA      91362
                                     -
        3965 5th Avenue, Suites 100 160               San Diego                CA      92103
        9550 Miramar Road                             San Diego                CA      92126

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                                                                                                AW0132
                                                                                                    AWPLL000089
      400 La Terraza Blvd                       Escondido             CA   92026
      1601 Pacific Coast Highway                Hermosa Beach         CA   90254
      453 Carmen Drive                          Camarillo             CA   93010
      2106 W. Craig Road, Suite # 2             North Las Vegas       NV   89031
      7450 University Avenue                    La Mesa               CA   91041
      1660 Broadway, Suite 18-22                Chula Vista           CA   91911
      3675 Midway Dr., A 1                      San Diego             CA   92110
      9906 Mission Gorge Rd                     Santee                CA   92071
      5858 Warner Ave                           Huntington Beach      CA   92649
      5885 Rancho Mission Rd                    San Diego             CA   92108
      4951 Katella Avenue                       Los Alamitos          CA   90720
      240 Brand Blvd                            Glendale              CA   91203
      455 Santa Fe Drive                        Encinitas             CA   92024
      4302 Gosford Road                         Bakersfield           CA   93313
      1335 West Avenue P                        Palmdale              CA   93551
      3699 Wilshire Blvd . 3rd floor #110       Los Angeles           CA   90010
      9911 W. Pico Blvd., #B- 16 & Floor A      Los Angeles           CA   90035
      1600 Adams Avenue                         Costa Mesa            CA   92626
      10125 Whitwood Drive                      Whittier              CA   90603
      25252 McIntyre                            Laguna Hills          CA   92653
      3521 E. Chapman                            Orange               CA   92669
      3633 Rosedale Highway                     Bakersfield           CA   93308
      2685 Pacific Coast Hwy                    Torrance              CA   90505
      8105 Sheridan Boulevard                   Westminster           CO   80003
      27131 Calle Arroyo #1701                  San Juan Capistrano   CA   92675
      8350 Van Nuys Blvd                        Panorama City         CA   91402
      15315 Culver Dr. #165                     Irvine                CA   92604
      2556 Wigwam Parkway                       Henderson             NV   89014
      100 Oceangate Ave suite P20               Long Beach            CA   90802
      9561 Chapman Avenue                       Garden Grove          CA   92641
      23166 Los Alisos Blvd, #140               Mission Viejo         CA   92691
      27141 Aliso Creek Rd, #100                Aliso Viejo           CA   92656
      965 East Birch Street                     Brea                  CA   92821
      17170 Bernardo Center Dr.                 San Diego             CA   92128
      1500 Rosecrans Ave #100                   Manhattan Beach       CA   90266
      685 West Foothill Boulevard               Upland                CA   91786
      2893 North Green Valley Pkwy              Henderson             NV   89014
      7680 Girard Ave, Ste. 200                 La Jolla              CA   92037
      16200 Bear Valley, Suite # L-1             Victorville          CA   92392
      18645 Via Princessa                        Santa Clarita        CA   91351
      715 E. Huntington Dr.                      Monrovia             CA   91016
      22331 El Paseo                             Santa Margarita      CA   92688
      465 North Halstead St. #102                Pasadena             CA   91107
      975 Lomas Santa Fe Drive, Suite A-C        Solana Beach         CA   92075
      1352 Madera Rd.                            Simi Valley          CA   93065
      5601 Grossmont Center Dr.                 La Mesa               CA   91942
      525 Colorado Boulevard                    Pasadena              CA   91101
      4200 Chino Hills Parkway                  Chino Hills           CA   91709
      Val Vista Drive & Elliot Road             Gilbert               AZ   85234
      2929 31st Street                          Santa Monica          CA   90405
      8612 Santa Monica Blvd                    West Hollywood        CA   90069
      555 West 19th ST                          Costa Mesa            CA   92627
      3030 Bellflower Blvd .                    Long Beach            CA   90808
      18007 Von Karman Avenue                   Irvine                CA   92612
      10025 Carmel Mountain Road                San Diego             CA   92129
      945 Dominguez Avenue                      Carson                CA   90746
      300 South Festival Lane                   Anaheim Hills         CA   92808


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                                                                                   AW0133
                                                                                     AWPLL000090
      8697 Irvine Center Drive                   Irvine              CA   92618
      11787 Foothill Boulevard                   Rancho Cucamonga    CA   91730
      275 Teller Street, #100                    Corona              CA   92879
      10616 Research Blvd.                       Austin              TX   78759
      2145 Baseline Road                         Tempe               AZ   85283
      3233 E. Camel Back Road                    Phoenix             AZ   85018
      13220 N. Scottsdale Road                   Scottsdale          AZ   85254
      7300 West Greens Road                      Houston             TX   77064
      14111 Southwest Parkway                    Sugarland           TX   77478
      10707 Westheimer Rd .                      Houston             TX   77042
      601 S. Rainbow Blvd.                       Las Vegas           NV   89145
      3600 Emporium Circle                       Mesquite            TX   75150
      4600 West Park Blvd.                       Plano               TX   75093
      1375 East Campbell Rd                      Richardson          TX   75081
      1131 W. Arbrook Blvd.                      Arlington           TX   76015
      2100 Plaza Parkway                         Bedford             TX   76021
      9800 West Atlantic Blvd.                   Coral Springs       FL   33071
      700 Pine Island Rd                         Plantation          FL   33324
      5001 Overton Ridge Blvd.                   Fort Worth          TX   76132
      400 N. Brand Blvd ., Ste. 120              Glendale            CA   91203
      Spring Gate Ln & Town Ctr Drive            Las Vegas           NV   89134
      2920 Aborn Square Road                     San Jose            CA   95121
      771 Jackson Street                         Hayward             CA   94544
      35630 Fremont Boulevard                    Fremont             CA   94536
      567 Floresta Boulevard                     San Leandro         CA   94578
      3951 Alemany Boulevard                     San Francisco       CA   94132
      3435 S. Inca Street                        Englewood           CO   80110
      7635 West 88th Avenue                      Arvada              CO   80005
      720 S. Colorado Boulevard                  Denver              CO   80246
      360 South Teller Street                    Lakewood            CO   80226
      10001 Grant Street                         Thornton            CO   80229
      1450 South Abilene Street                  Aurora              CO   80012
      99 U.S Highway 22                          Springfield         NJ   07081
      140 Central Avenue                         Clark               NJ   07066
      189 US Highway 46                          Saddle Brook        NJ   07663
      918 Bergen Avenue                          Jersey City         NJ   07306
      245-24 Horace Harding Expressway           Little Neck         NY   11362
      15926 Jamaica Avenue                       Jamaica             NY   11432
      945 King Highway                           Brooklyn            NY   11223
      8002 Kew Gardens Road                      Kew Gardens         NY   11415
      2503 Grand Concourse                       Bronx               NY   10468
      2163 Tilden Avenue                         Brooklyn            NY   11226
      1921 86th Street                           Brooklyn            NY   11214
      298 West 231st Street                      Bronx               NY   10463
      1720 Sheepshead Bay Road                   Brooklyn            NY   11235
      1675 Sunrise Hwy                           Bay Shore           NY   11706
      589 Tuckahoe Road                          Yonkers             NY   10710
      12260 Gulf Freeway # A- 5 & #A -15         Houston             TX   77070
      15542 Highway 529 (Spencer Road)           Houston             TX   77095
      5721 Westheimer Road                       Houston             TX   77057
      9336 Westview                              Houston             TX   77055
      7622 Campbell Rd                           Dallas              TX   75248
      2770 East Trinity Mills                    Carrollton          TX   75006
      1550 S. Mason Road                          Katy               TX   77450
      724 W. Main St , Suite 190A/alley Square    Lewisville         TX   75067
      3650 Austin Bluff Parkway. #197             Colorado Springs   CO   80918
      12039 W. Alameda Parkway, #Z- 3             Lakewood           CO   80228


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                                                                                  AW0134
                                                                                    AWPLL000091
      6044 South Kipling Parkway             Littleton          CO     80127
            -
      11420 1 10 East Freeway                Jacinto City       TX     77029
      6425 San Felipe                        Houston            TX     77057
      10365 South 1300 East                   Sandy City        UT     84094
      4650 W 120th Ave .                     Broomfield         CO     80020
      5100 Beltline Rd, #600                 Addison            TX     75240
      1121 East Ashton Avenue                Salt Lake City     UT     84106
      2407 West Airport Freeway              Irving             TX     75062
      1892 Southgate Ctr                     Colorado Springs   CO     80906
      18541 Kuykendahl Road                  Houston            TX     77379
      7068 FM 1960 East                      Humble             TX     77346
      11798 E Oswego St                      Englewood          CO     80112
      4120 E. Alameda                        Denver             CO     80246
      7400 E. Hampden Ave.                   Denver             CO     80231
      130 West Parkwood                      Friendswood        TX     77546
      510 Watters Road                       Allen              TX     75013
      333 Dad Clark Dr.                      Highlands Ranch    CO     80126
      21614 Tomball Parkways                 Houston            TX     77070
      700 N Harwood                          Dallas             TX     75201
      1800 Lake Woodland Drive               Woodlands          TX     77380
      11100 Central Expressway               Dallas             TX     75243
      8650 Endicott Ln                       Houston            TX     77096
      3706 E. Mockingbird Lane               Dallas             TX     75206
      1000 E. 41st St., #850                 Austin             TX     78751
      1208- S N. IH-35                       Round Rock         TX     78681
      3301 E. Bell Road                      Phoenix            AZ     85032
      13802 N Hwy 183                        Austin             TX     78750
      18707 & 18737 E. Hampden Avenue        Aurora             CO     80013
      2401 Rio Grande Blvd                   Euless             TX     76039
      4112 FM 762                            Rosenberg          TX     77471
      Bingle Shopping Center                 Houston            TX     77055
      Warren Parkway & Preston Road          Frisco             TX     75034
      188 106th Ave NE, 5th Floor            Bellevue           WA     98004
      5919 Lakewood Town Ctr Blvd SW #K      Lakewood           WA     98499
      20202 Ballinger Way, NE, Space A-10    Seattle            WA     98155
      2130 South 314th Street                Federal Way        WA     98003
      2500 SW Barton                         Seattle            WA     98126
      800 S.E Tech Center Drive              Vancouver          WA     98683
      1827 Yale Avenue                       Seattle            WA     98101
      1407 SW Fourth Avenue                  Portland           OR     97201
      11100 SW Murray Schools PI .           Beaverton          OR     97007
      18930 29th Avenue West                 West Lynwood       WA     98036
      9900 SE Washington, Space E-1          Portland           OR     97216
      4546 SE McLoughlin Blvd                Portland           OR     97202
      915 Auburn Way                         Auburn             WA     98002
      5766 South 1900 West                   Taylorsville       Utah   84129
      9th Street Marketplace                 Murray City        Utah   84121
      515 South 700 East                     Salt Lake City     Utah   84102
      45 Montgomery Street                   San Francisco      CA     94104
      3813 Center View Drive                 West Jordan        UT     84084
      512 S Chambers RD                      Aurora             CO     80017
      6839 South Vine Street                 Centennial         WA     80122
      5712 E Lake Sammamish Pkwy SE 200      Issaquah           WA     98209
      18006 120th Ave                        Bothel             WA     98011
      17200 Brookhurst St                    Fountain Valley    CA     92708
      2520 Somersville Road                  Antioch            CA     94509
      1050 Broadway St                       Redwood City       CA     94063


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                                                                               AW0135
                                                                                 AWPLL000092
      555 Oceana Blvd.                           Pacifica         CA   94044
      2480 Whipple Road                          Hayward          CA   94544
      La Cienega & Slauson Ave.                  Los Angeles      CA   90056
      17942 SW McEwan Road                       Tualatin         OR   97224
      7320 170th Ave NE                          Redmond          WA   98052
      4500 Auto Mall Parkway                     Fremont          CA   94538
      2200 Hilltop Mall Road                     Richmond         CA   94806
      1000 Kamehameha Highway                    Pearl City       HI   96782
      6222 Santa Teresa Blvd                     San Jose         CA   95119
      7905 Walgerga Road                         Antelope         CA   95843
      304 Bayfair                                San Leandro      CA   94578
      1200 Van Ness Ave                          San Francisco    CA   94109
      520 S. El Camino Real                      San Mateo        CA   94401
      1825- A Hillsdale Ave                      San Jose         CA   95124
      375A North Capitol Ave                     San Jose         CA   95133
      150 E. Fremont Ave                         Sunnyvale        CA   94087
      373 Gelled Blvd                            Daly City        CA   94015
      1001 Larkspur Landing Cr.                  Larkspur         CA   94939
      3550 Industrial Dr.                        Santa Rosa       CA   95401
      Sunvalley, Store # E-118C & Store #E-203   Concord          CA   94520
      4500 Norris Canyon Road                    San Ramon        CA   94538
      550 Showers Dr„ #7D, 4D, 3D, 8D            Mountain View    CA   94040
      3839 E. Castro Valley                      Castro Valley    CA   94552
      4300 Sonoma Blvd #408                      Vallejo          CA   94589
      2033 N. Main Street                        Walnut Creek     CA   94596
      1201 SoquelAve                             Santa Cruz       CA   95062
      303 Second Street                          San Francisco    CA   94107
      350 Bay Street                             San Francisco    CA   94133
      100 California Street                      San Francisco    CA   94111
      Auburn Boulevard and Van Maren Lane        Citrus Heights   CA   95621
      9574 Micron Ave                            Sacramento       CA   95827
      2050 Webster Street                        Oakland          CA   94612
      850 Tennent Station                        Morgan Hill      CA   95037
      1090 Nodh Main Street                      Manteca          CA   95336
      24727 Amador St .                          Hayward          CA   94544
      1595 Sky Mountain Dr.                      Reno             NV   89503
      1850 Ocean Avenue                          San Francisco    CA   94112
      1680 Kapiolani Blvd.                       Honolulu         HI   96814
      39300 Paseo Padre Parkway                  Fremont          CA   94538
      1531 ParkmoreAve                           San Jose         CA   95128
      1645 Bryant Street                         San Francisco    CA   94103
      5234 Newpark Mall Road                     Newark           CA   94560
      2145 Market Street                         San Francisco    CA   94114
      95221 Kipapa Drive                         Mililani         HI   96789
      6155 Neil Road                             Reno             NV   89511
      8785 Center Parkway                        Sacramento       CA   95823
      4100 S. Parker Road                        Aurora           CO   80014
      1000 Bishop Building, Suite 101            Honolulu         HI   96813
      3137 West Benjamin Holt Drive              Stockton         CA   95219
      150 Hana Highway, #108                     Kahului, Maui    HI   96732
      45- 480 Kanoehe Bay Drive , C -21          Kaneohe          HI   96744
      7600 Greenhaven Drive , Suite 15           Sacramento       CA   95831
      Hall Blvd . & Watson Avenue                Beavedon         OR   97005
      1210 NW Johnson                            Podland          OR   97209
      Fulton & Hurley, Sacramento                Sacramento       CA   95825
      Rampad Way and Academy Blvd                Denver           CO   80230
      441 Lancaster Drive NE                     Salem            OR   97301


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                                                                               AW0136
                                                                                 AWPLL000093
      6095 SE Tulatin Valley HWY            Hillsboro               OR   97123
      6 Petaluma Blvd., North               Petaluma                CA   94954
      2072 Addison Street                    Berkeley               CA   94704
      336 N Sunrise Blvd.                   Roseville               CA   95661
      7120 Kalanianaole Hwy                 Honolulu                HI   96825
      1211 E. Arquez                        Sunnyvale               CA   94086
      1650 Industrial Road                  San Carlos              CA   94070
      1020 7th Street                       Sacramento              CA   95814
      301 Jacklin Road                      Milpitas                CA   95035
      200 Harker Place                      Annapolis               MD   21401
      260 East Route 4                      Pa ramus                NJ   7652
      2982 Grand Avenue                     Coconut Grove           FL   33133
      8333 Pines Boulevard                  Pembroke Pines          FL   33024
      8400 Mills Drive                      Miami                   FL   33183
      6846 Forest Hilld Blvd                Greenacres              FL   33413
      20851 Dixie Drive Highway             Miami                   FL   33189
      11645 Red Road                        Miramar                 FL   33025
      1775 North Congress Ave               Boynton Beach           FL   33426
      9919 West Oakland Park Blvd           Sunrise                 FL   33351
      15 West Crystal Lake Drive            Orlando                 FL   32806
      4270 Aloma Avenue, Suite 164          Winter Park             FL   32792
      850 W Osceola Parkway                 Kissimmee               FL   34741
      150 Triangle Plaza                    Ramsey                  NJ   7446
      150 Sylvan Avenue                     Englewood Cliffs        NJ   07632
      133 Route 23                          Wayne                   NJ   07470
      405 East Interstate 30                Rockwall                TX   75087
      5901 Golden Triangle                  Keller                  TX   76548
      459 State Route 17                    Hasbrouck               NJ   07604
      400 East Fordham RD                   Bronx                   NY   10010
      229 East FM 544                       Plano                   TX   75094
      NWC FM 518 & Miller Ranch Rd          Pearland                TX   77584
      1401 Town Center                      Pflugerville            TX   78681
      2599 Dunstan Rd                       Houston                 TX   77005
      5270 West Grand Parkway               Richmond                TX   77406
      159000 E Brianwood Circle             Aurora                  CO   80013
      2650 Belleview Ave                    Littleton               CO   80120
      213 North Highway 67                  Cedar Hill              TX   75104
      2208 E Harmony Road                   Ft Collins              CO   80528
      2900 Iris Ave                         Boulder                 CO   80528
      1719 Spring Green Blvd                 Katy                   TX   77494
      Western Oaks Retail Ctr                Austin                 TX   78745
      213 North Highway 67                   Cedar Hill             TX   75104
      6601 Northeast Loop 820                North Richland Hills   TX   76180
      SWC Parmer Lane and I- 35              Austin                 TX   78727
      25632 Northwest Freeway                Cypress                TX   77429
      NEC Woodlands Pkwy & Kukendahl         The Woodlands          TX   77382
      Marketplace & Olympus Blvd            Irving                  TX   75063
      Old Denton Road                       Ft . Worth              TX   76137
      5946 Fairmont Parkway                 Pasadena                TX   77505
      4425 FM 1960 West                     Houston                 TX   77014
      1101 N Walnut Creek Dr                Mansfield               TX   76063
      2765 Gulf Freeway                     League City             TX   77573
      2700 E Eldorado Parkway               Little Elm              TX   75068
      3501Garth Road                        Baytown                 TX   77521
      321 Louisiana Street                  Houston                 TX   77006
      12553 Westheimer                      Houston                 TX   77077
      5208 S State Hwy 360                  Grand Prairie           TX   75050


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                                                                                 AW0137
                                                                                   AWPLL000094
      3800 24th Street                          San Francisco     CA   94114
      1773 Solano Ave                           Berkeley          CA   94704
      136 Crosby                               New York           NY   10010
      Town Square                              New York           NY   10010
      153 East 53rd Street                     New York           NY   10022
      5205 Fashion Drive                       Nanuet             NY   10954
      750 West Sunrise Hwy, Ste 100 Green      Valley Stream      NY   11581
      5114 Arden Way                           Carmichael         CA   95608
      3950 Alameda Avenue                      Oakland            CA   94601
      1519 Gateway Blvd                        Fairfield          CA   94533
      979 Broadway                             Millbrae           CA   94030
      6061 Florin RD                           Sacramento         CA   95823
      2280 Sunrise Blvd                        Gold River         CA   95670
      Bel Air Village Phase II                 Elk Grove          CA   95624
      1006 Riley St                            Folsom             CA   95630
      2306 Almaden RD Suite 140                San Jose           CA   95125
      1610 Crane CT                            San Jose           CA   95112
      351Rheem BLVD                            Morage             CA   94556
      93 Bovert RD                             San Mateo          CA   94402
      2535 California St                       Mountain View      CA   94040
      6345 Commerce Blvd.                      Rohnert Park       CA   95928
      9450 Ruby Lockhart Blvd                  Lanham             MD   20706
      1500 Cornerside Blvd                     Vienna             VA   22182
      1000 East Broad Street                   Falls Church       VA   22042
      12300 Price Club Plaza                   Fairfax            VA   22033
      4770 Willow Road                          Pleasanton        CA   94558
      110 Avenida La Pata                      San Clement        CA   92673
      6830 E County Line Rd.                   Highland Ranch     CO   80126
      1265 Waterhouse Ave                      Beverton           OR   97006
      7887 Center Avenue                       Huntington Beach   CA   92647
      1085 South Arizona Avenue                Chandler           AZ   95248
      27520 Ynez Road                          Temecula           CA   92591
      8430 On the Mall                         Buena Park         CA   90620
      97 S Val Vista Drive                     Glendale           AZ   85308
      1919 N Power Rd                          Mesa               AZ   85207
      321 W. Katella Ave . , Ste 94            Anaheim            CA   92802
      SWC Rose St & Valley Pkwy                Escondido          CA   92677
      21560 Valley Blvd                        City Of industry   CA   91789
      10046 N Metro Parkway                    Phoenix            AZ   85051
      27921 La Paz                             Laguna Niguel      CA   92677
      517 Spectrum Center Dr ,                 Irvine             CA   92618
      6731 Westminster Blvd                    Westminster        CA   92683
      19350 Nordhoff St Unit D                 North ridge        CA   91324
      500 N Atlantic Blvd Suite A-102-1        Monterey Park      CA   91754
      324 Sycamore Ave                         Vista              CA   92083
      11844 Wth Street                         Mesa               AZ   85051
      5651 Centennial Center Blvd              Las Vegas          NV   89149
      18825 Bear Valley Rd                     Apple Valley       CA   92308
      4345 Imperial Ave                        San Diego          CA   92113
      230 E Via Rancho Parkway, Suite 210      Escondido          CA   92025
      8810 Apollo Way                           Downey            CA   90242
      1220 West Avenue K                       Lancaster          CA   93534
      198 West Main Street                     El Cajon           CA   92020
      4866 State Highway 121                   Lewisville         TX   75056
      5070 Richmond Ave                        Houston            TX   77056
      1903 Empire Ave.                         Burbank            CA   91504
      13752 Jamboree Rd .                      Irvine             CA   92602


2H Manu R                             Page 7 of 9


                                                                               AW0138
                                                                                 AWPLL000095
      2800 North Main Street                  Walnut Creek      CA   94597
      507 NE Northgate Way                    Seattle           WA   98125
      762 Sunnyvale Saratoga Road             Sunnyvale         CA   94087
      4425 La Jolla Village Drive             San Diego         CA   92122
      5300 Lankershim Blvd.                   North Hollywood   CA   91601
      4821 Del Amo Blvd                       Lakewood          CA   90712
      1870 Harbor Blvd                        Costa Mesa        CA   92627
      7715 Balboa Avenue                      San Diego         CA   92111
      12354 Limonite Avenue                  Eastvale           CA   91752
      2501 El Camino Real                    Carlsbad           CA
      2650 Kittyhawk Road                     Livermore         CA   94551
      4848 Valley View Ave                   Yorba Linda        CA   92886
      12155 Central Ave                      Chino              CA   91710
      2800 North Main Street , Unit 3100     Santa Ana          CA   92705
      9790 Central Avenue                    Montclair          CA   91763
      4240 Redondo Beach                     Torrance           CA   90504
      2350 Tapo Street                       Simi Valley        CA   93063
      Fallbrook Mall Bldg 008                West Hills         CA   91307
      505 South Flower St ., Level B         Los Angeles        CA   90071
      First & Santa Clara                    Arcadia            CA   91006
      15310 Summit Ave                       Fontana            CA   92336
      Valley Center Dr/Gladstone             Glendora           CA   91740
      Murrieta Hot Springs Rd                Murrieta           CA   92563
      100 City Parkway                       Las Vegas          NV   89106
      110 Towne Center Dr                    Compton            CA   90220
      1422 Azuza Ave                         West Covina        CA   91791
      1651 Victoria Ave.                     Oxnard             CA   93035
      2580 S. Archibald ave                  Ontario            CA   91761
      42900 Jackson St                       Indio              CA   92203
      2102 North Tustin Street               Orange             CA   92865
      17204 Slover Avenue                    Fontana            CA   92337
      12660 Day Street                       Moreno Valley      CA   92553
      27621 San Bernardino                   Redlands           CA   92374
      3409 Via Montebello                    Carlsbad           CA   92009
      400 Town Center Drive                  Oxnard             CA   93036
      6220 N Topanga Canyon Blvd Ste 2410    Woodland Hills     CA   91367
      2200 Eastridge Loop                    San Jose           CA   95122
      17970 Studebaker Rd Plaza 183          Cerritos           CA   90703
      9051 Atlanta Avenue                    Huntington Beach   CA   92646
      897 Harriman Place                     San Bernardino     CA   92408
      2770 South Colorado Blvd               Denver             CO   80222
      4110 B NE 4th Street                   Renton             WA   98059
      8720 SE Sunnybrook Road                Clackamas          OR   97015
      4204 NE Halsey Street                  Portland           OR   97213
      4600 West 38th                         Denver             CO   80212
      The Promenade at Capital Mall           Olympia           WA   98502
      2913 NE 72 nd                          Vancouver          WA   98661
      7720 N. Academy Blvd                   Colorado Springs   CO   80920
      13019 NE Fourth Plain Rd               Vancouver          WA   98682
      12922 SE Kent Kangley Rd               Kent               WA   98030
      11014 19th Ave SE                      Everett            WA   98208
      91-5431 Kapolei Parkway, Suite 1700    Kapolei            HI   96707
      23750 Alessandro Blvd                  Moreno Valley      CA   92553
      641 S. Rancho Sante Fe Rd              San Marcos         CA   92078
      5045 River Road N                      Keizer             OR   97303
      400 NW Eastman Pkwy                    Gresham            OR   97030
      15575 SW Sequoia Pkwy , 100            Tigard             OR   97224


2H Manu R                           Page 8 of 9


                                                                             AW0139
                                                                               AWPLL000096
Endorsement No:                    40
This endorsement, effective:       May 10, 2019
                                   (at 12:01 A.M. standard time at the address of the Named Insured as
                                   shown in Item 1 . of the Declarations)
forms a part of Policy No:             -
                                   0309 1873
Issued to:                         24 Hour Holdings I Corp.
by:                                Allied World National Assurance Company


                                      DELETION ENDORSEMENT

It is hereby agreed that Endorsement #36, 2H Manu P, “Deletion and Replacement Endorsement ”, is
deleted in its entirety.




All other terms and conditions of this policy remain unchanged.




By:
                   Joseph Cellura

Title :            President, North American Casualty Division

Date:              July 26, 2019




2H Manu S                                  Page 1 of 1


                                                                                            AW0140
                                                                                                 AWPLL000097
          8235 SW Apple Way                          Portland       OR   97225
          1017 Bay Area Blvd.                        Houston        TX   77058
          301 N Nolan Drive                          Southlake      TX   76092
          2800 North Main St , Unit 3100             Santa Ana      CA   92705
          5745 New Abbey Lane                        Castle Rock    CO   80108
          1541 NE 181st Avenue                       Portland       OR   97230
          6000 Newpark Mall                          Newark         CA   94560
          18730 Amar Road                            Walnut         CA   91789
          465 W Arlington Street                     Gladstone      OR   97027
          130 E. Imperial Highway                    Fullerton      CA   92835
          1400 W Edinger Avenue                      Santa Ana      CA   92704
          111 South 38th Street                      Tacoma         WA   98418
          193 Chambers Bridge Rd                     Brick          NJ   08723




All other terms and conditions of this policy remain unchanged.




By:
                     Joseph Cellura

Title :              President , North American Casualty Division

Date:                August 15 , 2018




2H Manu R                                  Page 9 of 9


                                                                                 AW0141
                                                                                   AWPLL000098
Endorsement No:                      39
This endorsement, effective:         January 21, 2019
                                     (at 12:01 A.M. standard time at the address of the Named Insured as
                                     shown in Item 1 . of the Declarations)
forms a part of Policy No:                 -
                                     0309 1873
Issued to:                           24 Hour Holdings I Corp.
by:                                  Allied World National Assurance Company


                                  ADDITION OF SCHEDULED LOCATIONS

1.    In consideration of an additional premium of $2,000.00, it is hereby agreed that each location set forth
      below is included in Item 5. of the Declarations as a scheduled location , subject to ail of the terms and
      conditions of the policy.

      Item 5: Scheduled Locations:         Club #780, 8876 Navajo Road, San Diego, CA 92119
                                           Club #732, 941 Carmans Road , Massapequa , NY 11758
                                           Club #970, 20600 108th Avenue SE Kent , WA 98031
                                           Club #388, 1601 N. Hardin Boulevard, McKinney, TX 75071




All other terms and conditions of this policy remain unchanged.




By:
                     Joseph Cellura

Title :              President , North American Casualty Division

Date:                February 22 , 2019




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                                                                                                    AW0142
                                                                                                         AWPLL000099
Endorsement No:                    41
This endorsement, effective:       May 10, 2019
                                   (at 12:01 A .M. standard time at the address of the Named Insured as
                                   shown in Item 1 . of the Declarations)
forms a part of Policy No:         0309- 1873
Issued to:                         24 Hour Holdings I Corp.
by:                                Allied World National Assurance Company


                             DELETION AND REPLACEMENT ENDORSEMENT

It is hereby agreed that effective 05 /10/2019, Endorsement #20 entitled “ Addition of Scheduled
Locations , Retroactive Date , Coverages , Limits and Deductibles" and bearing form number 2H Manu C , is
deleted in its entirety and replaced with the following:


      ADDITION OF SCHEDULED LOCATIONS . RETROACTIVE DATE, COVERAGES. LIMITS AND
                                   DEDUCTIBLES

1. It is hereby agreed that each location set forth below is included in Item 5 . of the Declarations as an
   insured location , subject to all of the terms and conditions of the policy, and subject to the following
   changes to Item 7., Retroactive Date of the Declarations:

                       Item 5: Insured Locations:                             Item 7. Retroactive Date
 498 S Boulder Hwy                     Henderson              NV    89015     01 /13/2017
 5959 W Century Blvd                   Los Angeles            CA    90045     02/03/2017
 18200 Yorba Linda Blvd                Yorba Linda            CA    92886     09 /03/2016
 23750 Alessandro Blvd                 Moreno Valley          CA    92553     10/31 /2015
 295 E Caroline St, Ste A              San Bernardino         CA    92408     12/23/2015
 700 E Redlands Blvd A 11- A12         Redlands               CA    92373     06/30/2015
 4255 Campus Dr #A -150                Irvine                 CA    92612     09 /30/2016
 2605 South Eastern                    Las Vegas              NV    89109     12/09 /2016
 600 Newport Center Dr.                Newport Beach          CA    92660     08 /14/2015
 303 Third Street                      Huntington Beach       CA    92648     12/16/2016
 641 S Rancho Sante Fe Rd              San Marcos             CA    92069     10/14/2016
 2121 W. Danforth Rd .                 Edmond                 OK    73003     06/15/2016
 647 SW 19th Street                    Moore                  OK    73160     06/15 /2016
 14651 Sprague St.                     Omaha                  NE    68116     06/15 /2016
 8966 West Bowles Ave                  Littleton              CO    80123     09 /30/2015
 7528 Queen 's Boulevard               Elmhurst               NY    11373     02/10/2017
 298 West 231st Street                 Bronx                  NY    10463     Divestiture date
 2100 Bartow Avenue                    Bronx                  NY    10475     09 /30/2016
 350 US Highway 46                     Wayne                  NJ    07470     09 /30/2016
 2718 North 118th Circle               Omaha                  NE    68164     06/15 /2016
 1805 Hwy 121                          Bedford                TX    76022     06/30/2015
 14885 W. Clayton Road                 Chesterfield           MO    63017     06/15 /2016
 215 Arnold Crossroads                 Arnold                 MO    63010     06/15 /2016
 10920 FM 1960 West                    Houston                TX    77070     07 /17/2015
 2121 N. 550 West                      Provo                  UT    84604     12/04/2015
 84th & Giles Rd.                      Papillion              NE    68138     06/15/2016
 3935 S. 147th St.                     Omaha                  NE    68144     06/15 /2016
 Bolger Square Shopping Center         Independence           MO    64055     06/15 /2016
 1095 Regency Parkway                  St. Charles            MO    63303     06/15 /2016
 12075 Metcalf                         Overland Park          KS    66213     06/15 /2016
 7420 Metcalf Avenue                   Overland Park          KS    66204     06/15 /2016
 229 Queen Anne Avenue North           Seattle                WA    98109     09 /11 /2015
 8600 Ward Pkwy                        Kansas City            MO    64114     06/15 /2016
 11311 W. 64th St. , Shawnee , KS      Shawnee                KS    66203     06/15 /2016

2H ManuT                                    Page 1 of 3


                                                                                                AW0143
                                                                                                     AWPLL000100
12526 Totem Lake Boulevard NE         Kirkland           WA   98034   04/30/2016
2490 Kalakaua Ave.                    Honolulu           HI   96815   10/07 /2016
2632 Somersville Road                 Antioch            CA   94509   12/16/2016
10320 Manchester Road                 Kirkwood           MO   63122   06/15 /2016
7777 Cass St                          Omaha              NE   68114   06/15 /2016
124th Place & Blackfoot Dr            Olathe             KS   66062   06/15/2016
900NE Deerbrook                       Lee's Summit       MO   64086   06/15/2016
E Frank Wright Lloyd Bldg             Scottsdale         AZ   85260   06/30/2016
3400 Bernard                          Bakersfield        CA   93306   Divestiture date
1505 140th Ave NE                     Bellevue           WA   98005   Divestiture date
2234 Rutherford Rd.                   Carlsbad           CA   92008   Divestiture date
5420 Philadelphia Street, Ste A       Chino              CA   91710   Divestiture date
8101 E Belleview Ave Ste A-20         Denver             CO   80237   Divestiture date
8150 South Quebec St.                 Englewood          CO   80112   Divestiture date
10200 Juniper Ave                     Fontana            CA   92335   Divestiture date
40910 Fremont Blvd                    Fremont            CA   94538   Divestiture date
1456 Railroad Ave                     Livermore          CA   94550   Divestiture date
1285 Ridgeway Rd.                     Memphis            TN   38119   Divestiture date
2213 El Camino Real                   Oceanside          CA   92037   Divestiture date
915 W. Parker Rd. Ste 310, 311 , 31   Plano              TX   75023   Divestiture date
7690 Limonite                         Riverside          CA   92509   Divestiture date
701 Montgomery St                     Westlake Village   CA   91362   Divestiture date
17170 Bernardo Center Dr.             San Diego          CA   92128   09 /03 /2017
15926 Jamaica Avenue                  Jamaica            NY   11432   09 / 03 /2017
5234 Newpark Mall Road                Newark             CA   94560   09 /03 /2017
7635 West 88th Avenue                 Arvada             CO   80005   09 / 03/2017
2130 South 314th Street               Federal Way        WA   98003   09 / 03/2017
400 East Fordham RD                   Bronx              NY   10010   10/06/2017
17170 Bernardo Center Dr.             San Diego          CA   92128   09 /03 /2017
15926 Jamaica Avenue                  Jamaica            NY   11432   09 /03/2017
5234 Newpark Mall Road                Newark             CA   94560   09 / 03 /2017
7635 West 88th Avenue                 Arvada             CO   80005   09 /03 /2017
2130 South 314 th Street              Federal Way        WA   98003   09 /03/2017
400 East Fordham Rd                   Bronx              NY   10010   10/06/2017
7450 University Avenue                La Mesa            CA   91041   12/01 /2017
100 Oceangate Ave , Suite P20         Long Beach         CA   90802   12/ 01 /2017
3813 Center View Drive                West Jordan        UT   84084   12/01 /2017
303 Second Street                     San Francisco      CA   94107   03 /02/2018
136 Crosby                            New York           NY   10010   04/13/2018
9911 W. Pico Blvd., #B-16 & FI. A     Los Angeles        CA   90035   06/29/2018
99 U.S Highway 22                     Springfield        NJ   07081   07 /06/2018
1529 W Valley Pkwy                    Escondido          CA   92677   09 /07 /2018
27131 Calle Arroyo #1701              San Juan           CA   92675   03 /18 /2019
                                      Capistrano
9800 West Atlantic Blvd.              Coral Springs      FL   33071   03 /18 /2019
10001 Grant Street                    Thornton           CO   80229   03/18/2019
23750 Alessandro Blvd .               Moreno Valley      CA   92553   03 /18 /2019
641 S Rancho Santa Fe Rd.             San Marcos         CA   92078   03 /18 /2019
1 World Trade Center , Ste , 110      Long Beach         CA   90831   11 /30/2018




2H ManuT                                 Page 2 of 3


                                                                                         AW0144
                                                                                           AWPLL000101
2. It is further agreed that with respect to each above-listed insured location , Item 2., of the
   Declarations is deleted and replaced with the following:

              Item 2. Policy Period:     From September 3, 2017   To September 3, 2020
                           12:01 AM STANDARD TIME AT THE ADDRESS SHOWN IN ITEM 1.




3. It is further agreed that with respect to each above-listed insured location , Item 3., of the
   Declarations is deleted and replaced with the following:

              Item 3. Coverages and Coverage Section Limits and Deductibles:

This policy includes only those coverages as stated in Section I of the Policy for which deductibles and
limits of liability appear below.

 Coverage           Deductible-Each Incident     Each Incident Limit     Coverage Section Aggregate
                                                                                   Limit
          1        S50,000                      $25 ,000,000           $25,000,000
          2        N/A                          N/A                    N/A
          3        N/A                          N/A                    N/A
          4        N/A                          N/A                    N/A

 Coverage           Business Interruption -      Each Incident Limit     Coverage Section Aggregate
                       Deductible - Days                                           Limit
          5        N/A                          N/A                    N/A




All other terms and conditions of this policy remain unchanged.




By:
                       Joseph Cellura

Title :                President , North American Casualty Division

Date:                  December 6 , 2018




2H ManuT                                       Page 3 of 3


                                                                                             AW0145
                                                                                                 AWPLL000102
Endorsement No:                    41
This endorsement, effective:       May 10, 2019
                                   (at 12:01 A .M. standard time at the address of the Named Insured as
                                   shown in Item 1 . of the Declarations)
forms a part of Policy No:         0309- 1873
Issued to:                         24 Hour Holdings I Corp.
by:                                Allied World National Assurance Company


                             DELETION AND REPLACEMENT ENDORSEMENT

It is hereby agreed that effective 05 /10/2019, Endorsement #20 entitled “ Addition of Scheduled
Locations , Retroactive Date , Coverages , Limits and Deductibles" and bearing form number 2H Manu C , is
deleted in its entirety and replaced with the following:


      ADDITION OF SCHEDULED LOCATIONS . RETROACTIVE DATE, COVERAGES. LIMITS AND
                                   DEDUCTIBLES

1. It is hereby agreed that each location set forth below is included in Item 5 . of the Declarations as an
   insured location , subject to all of the terms and conditions of the policy, and subject to the following
   changes to Item 7., Retroactive Date of the Declarations:

                       Item 5: Insured Locations:                             Item 7. Retroactive Date
 498 S Boulder Hwy                     Henderson              NV    89015     01 /13/2017
 5959 W Century Blvd                   Los Angeles            CA    90045     02/03/2017
 18200 Yorba Linda Blvd                Yorba Linda            CA    92886     09 /03/2016
 23750 Alessandro Blvd                 Moreno Valley          CA    92553     10/31 /2015
 295 E Caroline St, Ste A              San Bernardino         CA    92408     12/23/2015
 700 E Redlands Blvd A 11- A12         Redlands               CA    92373     06/30/2015
 4255 Campus Dr #A -150                Irvine                 CA    92612     09 /30/2016
 2605 South Eastern                    Las Vegas              NV    89109     12/09 /2016
 600 Newport Center Dr.                Newport Beach          CA    92660     08 /14/2015
 303 Third Street                      Huntington Beach       CA    92648     12/16/2016
 641 S Rancho Sante Fe Rd              San Marcos             CA    92069     10/14/2016
 2121 W. Danforth Rd .                 Edmond                 OK    73003     06/15/2016
 647 SW 19th Street                    Moore                  OK    73160     06/15 /2016
 14651 Sprague St.                     Omaha                  NE    68116     06/15 /2016
 8966 West Bowles Ave                  Littleton              CO    80123     09 /30/2015
 7528 Queen’s Boulevard                Elmhurst               NY    11373     02/10/2017
 298 West 231st Street                 Bronx                  NY    10463     Divestiture date
 2100 Bartow Avenue                    Bronx                  NY    10475     09 /30/2016
 350 US Highway 46                     Wayne                  NJ    07470     09 /30/2016
 2718 North 118th Circle               Omaha                  NE    68164     06/15 /2016
 1805 Hwy 121                          Bedford                TX    76022     06/30/2015
 14885 W. Clayton Road                 Chesterfield           MO    63017     06/15 /2016
 215 Arnold Crossroads                 Arnold                 MO    63010     06/15 /2016
 10920 FM 1960 West                    Houston                TX    77070     07 /17/2015
 2121 N. 550 West                      Provo                  UT    84604     12/04/2015
 84th & Giles Rd.                      Papillion              NE    68138     06/15/2016
 3935 S. 147th St.                     Omaha                  NE    68144     06/15 /2016
 Bolger Square Shopping Center         Independence           MO    64055     06/15 /2016
 1095 Regency Parkway                  St. Charles            MO    63303     06/15 /2016
 12075 Metcalf                         Overland Park          KS    66213     06/15 /2016
 7420 Metcalf Avenue                   Overland Park          KS    66204     06/15 /2016
 229 Queen Anne Avenue North           Seattle                WA    98109     09 /11 /2015
 8600 Ward Pkwy                        Kansas City            MO    64114     06/15 /2016
 11311 W. 64th St. , Shawnee , KS      Shawnee                KS    66203     06/15 /2016

2H ManuT                                    Page 1 of 3


                                                                                                AW0146
                                                                                                     AWPLL000103
12526 Totem Lake Boulevard NE         Kirkland           WA   98034   04/30/2016
2490 Kalakaua Ave.                    Honolulu           HI   96815   10/07 /2016
2632 Somersville Road                 Antioch            CA   94509   12/16/2016
10320 Manchester Road                 Kirkwood           MO   63122   06/15 /2016
7777 Cass St                          Omaha              NE   68114   06/15 /2016
124th Place & Blackfoot Dr            Olathe             KS   66062   06/15/2016
900NE Deerbrook                       Lee's Summit       MO   64086   06/15/2016
E Frank Wright Lloyd Bldg             Scottsdale         AZ   85260   06/30/2016
3400 Bernard                          Bakersfield        CA   93306   Divestiture date
1505 140th Ave NE                     Bellevue           WA   98005   Divestiture date
2234 Rutherford Rd.                   Carlsbad           CA   92008   Divestiture date
5420 Philadelphia Street, Ste A       Chino              CA   91710   Divestiture date
8101 E Belleview Ave Ste A-20         Denver             CO   80237   Divestiture date
8150 South Quebec St.                 Englewood          CO   80112   Divestiture date
10200 Juniper Ave                     Fontana            CA   92335   Divestiture date
40910 Fremont Blvd                    Fremont            CA   94538   Divestiture date
1456 Railroad Ave                     Livermore          CA   94550   Divestiture date
1285 Ridgeway Rd.                     Memphis            TN   38119   Divestiture date
2213 El Camino Real                   Oceanside          CA   92037   Divestiture date
915 W. Parker Rd. Ste 310, 311 , 31   Plano              TX   75023   Divestiture date
7690 Limonite                         Riverside          CA   92509   Divestiture date
701 Montgomery St                     Westlake Village   CA   91362   Divestiture date
17170 Bernardo Center Dr.             San Diego          CA   92128   09 /03 /2017
15926 Jamaica Avenue                  Jamaica            NY   11432   09 / 03 /2017
5234 Newpark Mall Road                Newark             CA   94560   09 /03 /2017
7635 West 88th Avenue                 Arvada             CO   80005   09 / 03/2017
2130 South 314 th Street              Federal Way        WA   98003   09 / 03/2017
400 East Fordham RD                   Bronx              NY   10010   10/06/2017
17170 Bernardo Center Dr.             San Diego          CA   92128   09 /03 /2017
15926 Jamaica Avenue                  Jamaica            NY   11432   09 /03/2017
5234 Newpark Mall Road                Newark             CA   94560   09 / 03 /2017
7635 West 88th Avenue                 Arvada             CO   80005   09 /03 /2017
2130 South 314 th Street              Federal Way        WA   98003   09 /03/2017
400 East Fordham Rd                   Bronx              NY   10010   10/06/2017
7450 University Avenue                La Mesa            CA   91041   12/01 /2017
100 Oceangate Ave , Suite P20         Long Beach         CA   90802   12/ 01 /2017
3813 Center View Drive                West Jordan        UT   84084   12/01 /2017
303 Second Street                     San Francisco      CA   94107   03 /02/2018
136 Crosby                            New York           NY   10010   04/13/2018
9911 W. Pico Blvd., #B-16 & FI. A     Los Angeles        CA   90035   06/29/2018
99 U.S Highway 22                     Springfield        NJ   07081   07 /06/2018
1529 W Valley Pkwy                    Escondido          CA   92677   09 /07 /2018
27131 Calle Arroyo #1701              San Juan           CA   92675   03 /18 /2019
                                      Capistrano
9800 West Atlantic Blvd.              Coral Springs      FL   33071   03 /18 /2019
10001 Grant Street                    Thornton           CO   80229   03/18/2019
23750 Alessandro Blvd .               Moreno Valley      CA   92553   03 /18 /2019
641 S Rancho Santa Fe Rd.             San Marcos         CA   92078   03 /18 /2019




2H ManuT                                 Page 2 of 3


                                                                                         AW0147
                                                                                           AWPLL000104
2. It is further agreed that with respect to each above-listed insured location , Item 2., of the
   Declarations is deleted and replaced with the following:

              Item 2. Policy Period:     From September 3, 2017   To September 3, 2020
                           12:01 AM STANDARD TIME AT THE ADDRESS SHOWN IN ITEM 1.




3. It is further agreed that with respect to each above-listed insured location , Item 3., of the
   Declarations is deleted and replaced with the following:

              Item 3. Coverages and Coverage Section Limits and Deductibles:

This policy includes only those coverages as stated in Section I of the Policy for which deductibles and
limits of liability appear below.

 Coverage           Deductible-Each Incident     Each Incident Limit     Coverage Section Aggregate
                                                                                   Limit
          1        S50,000                      $25 ,000,000           $25,000,000
          2        N/A                          N/A                    N/A
          3        N/A                          N/A                    N/A
          4        N/A                          N/A                    N/A

 Coverage           Business Interruption -      Each Incident Limit     Coverage Section Aggregate
                       Deductible - Days                                           Limit
          5        N/A                          N/A                    N/A




All other terms and conditions of this policy remain unchanged.




By:
                       Joseph Cellura

Title :                President , North American Casualty Division

Date:                  December 6 , 2018




2H ManuT                                       Page 3 of 3


                                                                                             AW0148
                                                                                                 AWPLL000105
Endorsement No:                    44
This endorsement, effective:       October 15 , 2019
                                   (at 12:01 A .M. standard time at the address of the Named Insured as
                                   shown in Item 1 . of the Declarations)
forms a part of Policy No:         0309- 1873
Issued to:                         24 Hour Holdings I Corp.
by:                                Allied World National Assurance Company


                             DELETION AND REPLACEMENT ENDORSEMENT

It is hereby agreed that effective 10/15 /2019, Endorsement #20 entitled “ Addition of Scheduled
Locations , Retroactive Date , Coverages , Limits and Deductibles" and bearing form number 2H Manu C , is
deleted in its entirety and replaced with the following:


      ADDITION OF SCHEDULED LOCATIONS . RETROACTIVE DATE, COVERAGES. LIMITS AND
                                   DEDUCTIBLES

1. It is hereby agreed that each location set forth below is included in Item 5 . of the Declarations as an
   insured location , subject to all of the terms and conditions of the policy, and subject to the following
   changes to Item 7., Retroactive Date of the Declarations:

                       Item 5: Insured Locations:                             Item 7. Retroactive Date
 498 S Boulder Hwy                     Henderson              NV    89015     01 /13/2017
 5959 W Century Blvd                   Los Angeles            CA    90045     02/03/2017
 18200 Yorba Linda Blvd                Yorba Linda            CA    92886     09 /03/2016
 23750 Alessandro Blvd                 Moreno Valley          CA    92553     10/31 /2015
 295 E Caroline St, Ste A              San Bernardino         CA    92408     12/23/2015
 700 E Redlands Blvd A 11- A12         Redlands               CA    92373     06/30/2015
 4255 Campus Dr #A -150                Irvine                 CA    92612     09 /30/2016
 2605 South Eastern                    Las Vegas              NV    89109     12/09 /2016
 600 Newport Center Dr .               Newport Beach          CA    92660     08 /14/2015
 303 Third Street                      Huntington Beach       CA    92648     12/16/2016
 641 S Rancho Sante Fe Rd              San Marcos             CA    92069     10/14/2016
 2121 W. Danforth Rd .                 Edmond                 OK    73003     06/15/2016
 647 SW 19th Street                    Moore                  OK    73160     06/15 /2016
 14651 Sprague St.                     Omaha                  NE    68116     06/15 /2016
 8966 West Bowles Ave                  Littleton              CO    80123     09 /30/2015
 7528 Queen 's Boulevard               Elmhurst               NY    11373     02/10/2017
 298 West 231st Street                 Bronx                  NY    10463     Divestiture date
 2100 Bartow Avenue                    Bronx                  NY    10475     09 /30/2016
 350 US Highway 46                     Wayne                  NJ    07470     09 /30/2016
 2718 North 118th Circle               Omaha                  NE    68164     06/15 /2016
 1805 Hwy 121                          Bedford                TX    76022     06/30/2015
 14885 W. Clayton Road                 Chesterfield           MO    63017     06/15 /2016
 215 Arnold Crossroads                 Arnold                 MO    63010     06/15 /2016
 10920 FM 1960 West                    Houston                TX    77070     07 /17/2015
 2121 N. 550 West                      Provo                  UT    84604     12/04/2015
 84th & Giles Rd.                      Papillion              NE    68138     06/15/2016
 3935 S. 147th St.                     Omaha                  NE    68144     06/15 /2016
 Bolger Square Shopping Center         Independence           MO    64055     06/15 /2016
 1095 Regency Parkway                  St. Charles            MO    63303     06/15 /2016
 12075 Metcalf                         Overland Park          KS    66213     06/15 /2016
 7420 Metcalf Avenue                   Overland Park          KS    66204     06/15 /2016
 229 Queen Anne Avenue North           Seattle                WA    98109     09 /11 /2015
 8600 Ward Pkwy                        Kansas City            MO    64114     06/15 /2016
 11311 W. 64th St. , Shawnee , KS      Shawnee                KS    66203     06/15 /2016

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                                                                                                AW0149
                                                                                                     AWPLL000106
 12526 Totem Lake Boulevard NE         Kirkland           WA   98034   04/30/2016
 2490 Kalakaua Ave.                    Honolulu           HI   96815   10/07 /2016
 2632 Somersville Road                 Antioch            CA   94509   12/16/2016
 10320 Manchester Road                 Kirkwood           MO   63122   06/15 /2016
 7777 Cass St                          Omaha              NE   68114   06/15 /2016
 124th Place & Blackfoot Dr            Olathe             KS   66062   06/15/2016
 900NE Deerbrook                       Lee's Summit       MO   64086   06/15/2016
 E Frank Wright Lloyd Bldg             Scottsdale         AZ   85260   06/30/2016
 3400 Bernard                          Bakersfield        CA   93306   Divestiture date
 1505 140th Ave NE                     Bellevue           WA   98005   Divestiture date
 2234 Rutherford Rd.                   Carlsbad           CA   92008   Divestiture date
 5420 Philadelphia Street, Ste A       Chino              CA   91710   Divestiture date
 8101 E Belleview Ave Ste A-20         Denver             CO   80237   Divestiture date
 8150 South Quebec St.                 Englewood          CO   80112   Divestiture date
 10200 Juniper Ave                     Fontana            CA   92335   Divestiture date
 40910 Fremont Blvd                    Fremont            CA   94538   Divestiture date
 1456 Railroad Ave                     Livermore          CA   94550   Divestiture date
 1285 Ridgeway Rd.                     Memphis            TN   38119   Divestiture date
 2213 El Camino Real                   Oceanside          CA   92037   Divestiture date
 915 W. Parker Rd. Ste 310, 311 , 31   Plano              TX   75023   Divestiture date
 7690 Limonite                         Riverside          CA   92509   Divestiture date
 701 Montgomery St                     Westlake Village   CA   91362   Divestiture date
 17170 Bernardo Center Dr.             San Diego          CA   92128   09 /03 /2017
 15926 Jamaica Avenue                  Jamaica            NY   11432   09 / 03 /2017
 5234 Newpark Mall Road                Newark             CA   94560   09 /03 /2017
              ,
 7635 West 88 n Avenue                 Arvada             CO   80005   09 / 03/2017
 2130 South 314 th Street              Federal Way        WA   98003   09 / 03/2017
 400 East Fordham RD                   Bronx              NY   10010   10/06/2017
 17170 Bernardo Center Dr.             San Diego          CA   92128   09 /03 /2017
 15926 Jamaica Avenue                  Jamaica            NY   11432   09 /03/2017
 5234 Newpark Mall Road                Newark             CA   94560   09 / 03 /2017
 7635 West 88th Avenue                 Arvada             CO   80005   09 /03 /2017
 2130 South 314 th Street              Federal Way        WA   98003   09 /03/2017
 400 East Fordham Rd                   Bronx              NY   10010   10/06/2017
 7450 University Avenue                La Mesa            CA   91041   12/01 /2017
 100 Oceangate Ave , Suite P20         Long Beach         CA   90802   12/ 01 /2017
 3813 Center View Drive                West Jordan        UT   84084   12/01 /2017
 303 Second Street                     San Francisco      CA   94107   03 /02/2018
 136 Crosby                            New York           NY   10010   04/13/2018
 9911 W. Pico Blvd., #B-16 & FI. A     Los Angeles        CA   90035   06/29/2018
 99 U.S Highway 22                     Springfield        NJ   07081   07 /06/2018
 1529 W Valley Pkwy                    Escondido          CA   92677   09 /07 /2018
 27131 Calle Arroyo #1701              San Juan           CA   92675   03 /18 /2019
                                       Capistrano
 9800 West Atlantic Blvd.              Coral Springs      FL   33071   03 /18 /2019
 10001 Grant Street                    Thornton           CO   80229   03/18/2019
 23750 Alessandro Blvd .               Moreno Valley      CA   92553   03 /18 /2019
 720 S. Colorado Boulevard             Denver             CO   80246   06/30/2019
 193 Chambers Bridge Rd                Brick              NJ   08723   06/30/2019
 2072 Addison Street                   Berkeley           CA   94704   06/30/2019
 400 East Fordham RD                   Bronx              NY   10010   06/30/2019
 700 N Harwood St                      Dallas             TX   75201   08 /30/2019




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                                                                                          AW0150
                                                                                            AWPLL000107
2. It is further agreed that with respect to each above-listed insured location , Item 2., of the
   Declarations is deleted and replaced with the following:

             Item 2. Policy Period:     From September 3, 2017   To September 3, 2020
                          12:01 AM STANDARD TIME AT THE ADDRESS SHOWN IN ITEM 1.



3 . It is further agreed that with respect to each above-listed insured location , Item 3., of the
      Declarations is deleted and replaced with the following:

             Item 3. Coverages and Coverage Section Limits and Deductibles:

This policy includes only those coverages as stated in Section I of the Policy for which deductibles and
limits of liability appear below.

 Coverage          Deductible -Each Incident     Each Incident Limit     Coverage Section Aggregate
                                                                                   Limit
         1        $50,000                       $25 ,000,000           $25,000,000
         2        N/A                           N/A                    N/A
         3        N/A                           N/A                    N/A
         4        N/A                           N/A                    N/A

 Coverage          Business Interruption -       Each Incident Limit     Coverage Section Aggregate
                      Deductible - Days                                            Limit
         5        N/A                           N/A                    N/ A




All other terms and conditions of this policy remain unchanged.




By:
                      Joseph Cellura

Title:                President , North American Casualty Division

Date:                 November 6 , 2019




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                                                                                             AW0151
                                                                                                 AWPLL000108
 Endorsement No:                    45
 This endorsement, effective:       October 15 , 2019
                                    (at 12: 01 A .M. standard time at the address of the Named Insured as
                                    shown in Item 1. of the Declarations)
 forms a part of Policy No:         0309-1873
 Issued to:                         24 Hour Holdings I Corp.
 by:                                Allied World National Assurance Company


                              DELETION AND REPLACEMENT ENDORSEMENT

It is hereby agreed that effective on 10/15 /2019, Endorsement # 21 , entitled “ Amendatory Endorsement ”
and bearing form number 2H Manu D, is deleted in its entirety and replaced with the following:


                                    AMENDATORY ENDORSEMENT


It is hereby agreed that the following changes are made to the policy:

1.      Item 5 . Insured Locations of the Declarations is deleted in its entirety and replaced with the
        following:

        Item 5. Insured Locations:

         1265 Laurel Tree Lane, Suite 100                Carlsbad               CA      92011
         140A Alamo Plaza                                Alamo                  CA      94507
         18305 Brookhurst Drive                          Fountain Valley        CA      92708
         SEC of Windmill Ave & Antonio Pkwy              Ladera Ranch           CA      92694
         820 State Street                                Santa Barbara          CA      93101
         2831 West 120th St                              Hawthorne              CA      90250
         6348 College Grove Way, Suite 109               San Diego              CA      92115
         1600 Azusa Drive, Space 300                     City of Industry       CA      91748
         1 Horton Plaza, Space 25                        San Diego              CA      92101
         3633 Avocado Blvd.                              La Mesa                CA      91941
         2180 Lincoln Ave , Bldg 4                       Altadena               CA      91001
         3600 West Orangewood                            Orange                 CA      92868
         1430 N Lemon St                                 Anaheim                CA      92801
         909-919 Garnet Avenue                           San Diego              CA      92109
         9875 S Maryland Pkwy                            Las Vegas              NV      89101
         1640 Camino Del Rio N, Ste 315                  San Diego              CA      92108
         1415-1417 Second St.                            Santa Monica           CA      90401
         13312 Imperial Hwy and Carmenita                Santa Fe Springs       CA      90670
         15301 Ventura Boulevard, Space U-3              Sherman Oaks           CA      91403
         320 Third Avenue                                Chula Vista            CA      91910
         26781 Rancho Pkwy.                              Lake Forest            CA      92630
         5035 W. Tropicana                               Las Vegas              NV      89103
         13395 Beach Blvd.                               La Mirada              CA      90638
         589 Anton Avenue                                Costa Mesa             CA      32626
         4480 E. Charleston                              Las Vegas              NV      89104
         4655 Frazee Rd                                  Oceanside              CA      92057
         1530 W. West Covina Parkway                     West Covina            CA      91790
         870 Amena Court                                 Chula Vista            CA      91910
         32451 Golden Lantern, Ste 1A                    Laguna Niguel          CA      92677
         6380 Sunset Blvd                                Los Angeles            CA      90028
         2595 Thousand Oaks Blvd                         Thousand Oaks          CA      91362
                                      -
         3965 5th Avenue, Suites 100 160                 San Diego              CA      92103
         9550 Miramar Road                               San Diego              CA      92126

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                                                                                                AW0152
                                                                                                    AWPLL000109
      400 La Terraza Blvd                           Escondido             CA   92026
      1601 Pacific Coast Highway                    Hermosa Beach         CA   90254
      453 Carmen Drive                              Camarillo             CA   93010
      2106 W. Craig Road, Suite # 2                 North Las Vegas       NV   89031
      7450 University Avenue                        La Mesa               CA   91041
      1660 Broadway, Suite 18-22                    Chula Vista           CA   91911
      3675 Midway Dr. , A1                          San Diego             CA   92110
      9906 Mission Gorge Rd                         Santee                CA   92071
      5858 Warner Ave                               Huntington Beach      CA   92649
      5885 Rancho Mission Rd                        San Diego             CA   92108
      4951 Katella Avenue                           Los Alamitos          CA   90720
      240 Brand Blvd                                Glendale              CA   91203
      455 Santa Fe Drive                            Encinitas             CA   92024
      4302 Gosford Road                             Bakersfield           CA   93313
      1335 West Avenue P                            Palmdale              CA   93551
      3699 Wilshire Blvd. 3rd floor #110            Los Angeles           CA   90010
      9911 W. Pico Blvd., #B- 16 & Floor A          Los Angeles           CA   90035
      1600 Adams Avenue                             Costa Mesa            CA   92626
      10125 Whitwood Drive                          Whittier              CA   90603
      25252 McIntyre                                Laguna Hills          CA   92653
      3521 E. Chapman                               Orange                CA   92669
      3633 Rosedale Highway                         Bakersfield           CA   93308
      2685 Pacific Coast Hwy                        Torrance              CA   90505
      8105 Sheridan Boulevard                       Westminster           CO   80003
      27131 Calle Arroyo #1701                      San Juan Capistrano   CA   92675
      8350 Van Nuys Blvd                            Panorama City         CA   91402
      15315 Culver Dr. #165                         Irvine                CA   92604
      2556 Wigwam Parkway                           Henderson             NV   89014
      100 Oceangate Ave suite P20                   Long Beach            CA   90802
      9561 Chapman Avenue                           Garden Grove          CA   92641
      23166 Los Alisos Blvd, #140                   Mission Viejo         CA   92691
      27141 Aliso Creek Rd, #100                    Aliso Viejo           CA   92656
      965 East Birch Street                         Brea                  CA   92821
      17170 Bernardo Center Dr.                     San Diego             CA   92128
      1500 Rosecrans Ave #100                       Manhattan Beach       CA   90266
      685 West Foothill Boulevard                   Upland                CA   91786
      2893 North Green Valley Pkwy                  Henderson             NV   89014
      7680 Girard Ave, Ste. 200                     La Jolla              CA   92037
      16200 Bear Valley , Suite # L-1               Victorville           CA   92392
      18645 Via Princessa                           Santa Clarita         CA   91351
      715 E. Huntington Dr.                         Monrovia              CA   91016
      22331 El Paseo                                Santa Margarita       CA   92688
      465 North Halstead St. #102                   Pasadena              CA   91107
      975 Lomas Santa Fe Drive , Suite A-C          Solana Beach          CA   92075
      1352 Madera Rd.                               Simi Valley           CA   93065
      5601 Grossmont Center Dr.                     La Mesa               CA   91942
      525 Colorado Boulevard                        Pasadena              CA   91101
      4200 Chino Hills Parkway                      Chino Hills           CA   91709
      Val Vista Drive & Elliot Road                 Gilbert               AZ   85234
      2929 31st Street                              Santa Monica          CA   90405
      8612 Santa Monica Blvd                        West Hollywood        CA   90069
      555 West 19th ST .                            Costa Mesa            CA   92627
      3030 Bellflower Blvd.                         Long Beach            CA   90808
      18007 Von Karman Avenue                       Irvine                CA   92612
      10025 Carmel Mountain Road                    San Diego             CA   92129
      945 Dominguez Avenue                          Carson                CA   90746
      300 South Festival Lane                       Anaheim Hills         CA   92808


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                                                                                       AW0153
                                                                                         AWPLL000110
      8697 Irvine Center Drive                       Irvine             CA   92618
      11787 Foothill Boulevard                       Rancho Cucamonga   CA   91730
      275 Teller Street, #100                        Corona             CA   92879
      10616 Research Blvd.                           Austin             TX   78759
      2145 Baseline Road                             Tempe              AZ   85283
      3233 E. Camel Back Road                        Phoenix            AZ   85018
      13220 N. Scottsdale Road                       Scottsdale         AZ   85254
      7300 West Greens Road                          Houston            TX   77064
      14111 Southwest Parkway                        Sugarland          TX   77478
      10707 Westheimer Rd.                           Houston            TX   77042
      601 S. Rainbow Blvd.                           Las Vegas          NV   89145
      3600 Emporium Circle                           Mesquite           TX   75150
      4600 West Park Blvd.                           Plano              TX   75093
      1375 East Campbell Rd                          Richardson         TX   75081
      1131 W. Arbrook Blvd.                          Arlington          TX   76015
      2100 Plaza Parkway                             Bedford            TX   76021
      9800 West Atlantic Blvd.                       Coral Springs      FL   33071
      700 Pine Island Rd                             Plantation         FL   33324
      5001 Overton Ridge Blvd.                       Fort Worth         TX   76132
      400 N. Brand Blvd ., Ste. 120                  Glendale           CA   91203
      Spring Gate Ln & Town Ctr Drive                Las Vegas          NV   89134
      2920 Aborn Square Road                         San Jose           CA   95121
      771 Jackson Street                             Hayward            CA   94544
      35630 Fremont Boulevard                        Fremont            CA   94536
      567 Floresta Boulevard                         San Leandro        CA   94578
      3951 Alemany Boulevard                         San Francisco      CA   94132
      3435 S. Inca Street                            Englewood          CO   80110
      7635 West 88th Avenue                          Arvada             CO   80005
      720 S. Colorado Boulevard                      Denver             CO   80246
      360 South Teller Street                        Lakewood           CO   80226
      10001 Grant Street                             Thornton           CO   80229
      1450 South Abilene Street                      Aurora             CO   80012
      99 U.S. Highway 22                             Springfield        NJ   07081
      140 Central Avenue                             Clark              NJ   07066
      189 US Highway 46                              Saddle Brook       NJ   07663
      918 Bergen Avenue                              Jersey City        NJ   07306
      245-24 Horace Harding Expressway               Little Neck        NY   11362
      15926 Jamaica Avenue                           Jamaica            NY   11432
      945 King Highway                               Brooklyn           NY   11223
      8002 Kew Gardens Road                          Kew Gardens        NY   11415
      2503 Grand Concourse                           Bronx              NY   10468
      2163 Tilden Avenue                             Brooklyn           NY   11226
      1921 86th Street                               Brooklyn           NY   11214
      298 West 231st Street                          Bronx              NY   10463
      1720 Sheepshead Bay Road                       Brooklyn           NY   11235
      1675 Sunrise Hwy                               Bay Shore          NY   11706
      589 Tuckahoe Road                              Yonkers            NY   10710
      11528 Gulf Freeway                             Houston            TX   77070
      15542 Highway 529 (Spencer Road)               Houston            TX   77095
      5721 Westheimer Road                           Houston            TX   77057
      9336 Westview                                  Houston            TX   77055
      7622 Campbell Rd                               Dallas             TX   75248
      2770 East Trinity Mills                        Carrollton         TX   75006
      1550 S. Mason Road                             Katy               TX   77450
      724 W. Main St , Suite 190A/alley Square       Lewisville         TX   75067
      3650 Austin Bluff Parkway , #197               Colorado Springs   CO   80918
      12039 W. Alameda Parkway , #Z-3                Lakewood           CO   80228


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                                                                                     AW0154
                                                                                       AWPLL000111
      6044 South Kipling Parkway                 Littleton          CO     80127
      11420 1-10 East Freeway                    Jacinto City       TX     77029
      6425 San Felipe                            Houston            TX     77057
      10365 South 1300 East                      Sandy City         UT     84094
      4650 W 120th Ave.                          Broomfield         CO     80020
      5100 Beltline Rd, #600                     Addison            TX     75240
      1121 East Ashton Avenue                    Salt Lake City     UT     84106
      2407 West Airport Freeway                  Irving             TX     75062
      1892 Southgate Ctr                         Colorado Springs   CO     80906
      18541 Kuykendahl Road                      Houston            TX     77379
      7068 FM 1960 East                          Humble             TX     77346
      11798 E Oswego St                          Englewood          CO     80112
      4120 E. Alameda                            Denver             CO     80246
      7400 E. Hampden Ave.                       Denver             CO     80231
      130 West Parkwood                          Friendswood        TX     77546
      510 Watters Road                           Allen              TX     75013
      333 Dad Clark Dr.                          Highlands Ranch    CO     80126
      21614 Tomball Parkways                     Houston            TX     77070
      700 N Harwood                              Dallas             TX     75201
      1800 Lake Woodland Drive                   Woodlands          TX     77380
      11100 Central Expressway                   Dallas             TX     75243
      8650 Endicott Ln                           Houston            TX     77096
      3706 E. Mockingbird Lane                   Dallas             TX     75206
      1000 E. 41st St . , #850                   Austin             TX     78751
      1208-S N IH-35                             Round Rock         TX     78681
      3301 E. Bell Road                          Phoenix            AZ     85032
      13802 N Hwy 183                            Austin             TX     78750
      18707 & 18737 E. Hampden Avenue            Aurora             CO     80013
      2401 Rio Grande Blvd                       Euless             TX     76039
      4112 FM 762                                Rosenberg          TX     77471
      Bingle Shopping Center                     Houston            TX     77055
      Warren Parkway & Preston Road              Frisco             TX     75034
      188 106th Ave NE , 5th Floor               Bellevue           WA     98004
      5919 Lakewood Town Ctr Blvd SW #K          Lakewood           WA     98499
      20202 Ballinger Way, NE, Space A-10        Seattle            WA     98155
      2130 South 314th Street                    Federal Way        WA     98003
      2500 SW Barton                             Seattle            WA     98126
      800 S. E. Tech Center Drive                Vancouver          WA     98683
      1827 Yale Avenue                           Seattle            WA     98101
      1407 SW Fourth Avenue                      Portland           OR     97201
      11100 SW Murray Schools PI.                Beaverton          OR     97007
      18930 29th Avenue West                     West Lynwood       WA     98036
      9900 SE Washington , Space E- 1            Portland           OR     97216
      4546 SE McLoughlin Blvd                    Portland           OR     97202
      915 Auburn Way                             Auburn             WA     98002
      5766 South 1900 West                       Taylorsville       Utah   84129
      9th Street Marketplace                     Murray City        Utah   84121
      515 South 700 East                         Salt Lake City     Utah   84102
      45 Montgomery Street                       San Francisco      CA     94104
      3813 Center View Drive                     West Jordan        UT     84084
      512 S Chambers RD                          Aurora             CO     80017
      6839 South Vine Street                     Centennial         WA     80122
      5712 E Lake Sammamish Pkwy SE 200          Issaquah           WA     98209
      18006 120th Ave                            Bothel             WA     98011
      17200 Brookhurst St                        Fountain Valley    CA     92708
      2520 Somersville Road                      Antioch            CA     94509
      1050 Broadway St                           Redwood City       CA     94063


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                                                                                   AW0155
                                                                                     AWPLL000112
      555 Oceana Blvd .                            Pacifica         CA   94044
      2480 Whipple Road                            Hayward          CA   94544
      La Cienega & Slauson Ave .                   Los Angeles      CA   90056
      17942 SW McEwan Road                         Tualatin         OR   97224
      7320 170th Ave NE                            Redmond          WA   98052
      4500 Auto Mall Parkway                       Fremont          CA   94538
      2200 Hilltop Mall Road                       Richmond         CA   94806
      1000 Kamehameha Highway                      Pearl City       HI   96782
      6222 Santa Teresa Blvd                       San Jose         CA   95119
      7905 Walgerga Road                           Antelope         CA   95843
      304 Bayfair                                  San Leandro      CA   94578
      1200 Van Ness Ave                            San Francisco    CA   94109
      520 S. El Camino Real                        San Mateo        CA   94401
      1825- A Hillsdale Ave                        San Jose         CA   95124
      375A North Capitol Ave                       San Jose         CA   95133
      150 E. Fremont Ave                           Sunnyvale        CA   94087
      373 Gelled Blvd                              Daly City        CA   94015
      1001 Larkspur Landing Cr.                    Larkspur         CA   94939
      3550 Industrial Dr.                          Santa Rosa       CA   95401
      Sunvalley, Store # E-118C & Store #E-203     Concord          CA   94520
      4500 Norris Canyon Road                      San Ramon        CA   94538
      550 Showers Dr. , #7D, 4D, 3D, 8D            Mountain View    CA   94040
      3839 E. Castro Valley                        Castro Valley    CA   94552
      4300 Sonoma Blvd #408                        Vallejo          CA   94589
      2033 N. Main Street                          Walnut Creek     CA   94596
      1201 Soquel Ave                              Santa Cruz       CA   95062
      303 Second Street                            San Francisco    CA   94107
      350 Bay Street                               San Francisco    CA   94133
      100 California Street                        San Francisco    CA   94111
      Auburn Boulevard and Van Maren Lane          Citrus Heights   CA   95621
      9574 Micron Ave                              Sacramento       CA   95827
      2050 Webster Street                          Oakland          CA   94612
      850 Tennent Station                          Morgan Hill      CA   95037
      1090 Nodh Main Street                        Manteca          CA   95336
      24727 Amador St.                             Hayward          CA   94544
      1595 Sky Mountain Dr.                        Reno             NV   89503
      1850 Ocean Avenue                            San Francisco    CA   94112
      1680 Kapiolani Blvd.                         Honolulu         HI   96814
      39300 Paseo Padre Parkway                    Fremont          CA   94538
      1531 ParkmoreAve                             San Jose         CA   95128
      1645 Bryant Street                           San Francisco    CA   94103
      5234 Newpark Mall Road                       Newark           CA   94560
      2145 Market Street                           San Francisco    CA   94114
      95221 Kipapa Drive                           Mililani         HI   96789
      6155 Neil Road                               Reno             NV   89511
      8785 Center Parkway                          Sacramento       CA   95823
      4100 S. Parker Road                          Aurora           CO   80014
      1000 Bishop Building , Suite 101             Honolulu         HI   96813
      3137 West Benjamin Holt Drive                Stockton         CA   95219
      150 Hana Highway, #108                       Kahului, Maui    HI   96732
      45- 480 Kanoehe Bay Drive, C-21              Kaneohe          HI   96744
      7600 Greenhaven Drive , Suite 15             Sacramento       CA   95831
      4145 SW Watson Ave.                          Beavedon         OR   97005
      1210 NW Johnson                              Podland          OR   97209
      Fulton & Hurley, Sacramento                  Sacramento       CA   95825
      Rampad Way and Academy Blvd                  Denver           CO   80230
      441 Lancaster Drive NE                       Salem            OR   97301


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                                                                                 AW0156
                                                                                   AWPLL000113
      6095 SE Tulatin Valley HWY                Hillsboro              OR   97123
      6 Petaluma Blvd. , North                  Petaluma               CA   94954
      2072 Addison Street                       Berkeley               CA   94704
      336 N. Sunrise Blvd.                      Roseville              CA   95661
      7120 Kalanianaole Hwy                     Honolulu               HI   96825
      1211 E. Arquez                            Sunnyvale              CA   94086
      1650 Industrial Road                      San Carlos             CA   94070
      1020 7th Street                           Sacramento             CA   95814
      301 Jacklin Road                          Milpitas               CA   95035
      200 Harker Place                          Annapolis              MD   21401
      260 East Route 4                          Paramus                NJ   7652
      2982 Grand Avenue                         Coconut Grove          FL   33133
      8333 Pines Boulevard                      Pembroke Pines         FL   33024
      8400 Mills Drive                          Miami                  FL   33183
      6846 Forest Hilld Blvd                    Greenacres             FL   33413
      20851 Dixie Drive Highway                 Miami                  FL   33189
      11645 Red Road                            Miramar                FL   33025
      1775 North Congress Ave                   Boynton Beach          FL   33426
      9919 West Oakland Park Blvd               Sunrise                FL   33351
      15 West Crystal Lake Drive                Orlando                FL   32806
      4270 Aloma Avenue, Suite 164              Winter Park            FL   32792
      850 W Osceola Parkway                     Kissimmee              FL   34741
      150 Triangle Plaza                        Ramsey                 NJ   7446
      150 Sylvan Avenue                         Englewood Cliffs       NJ   07632
      133 Route 23                              Wayne                  NJ   07470
      405 East Interstate 30                    Rockwall               TX   75087
      5901 Golden Triangle                      Keller                 TX   76548
      459 State Route 17                        Hasbrouck              NJ   07604
      400 East Fordham RD                       Bronx                  NY   10010
      229 East FM 544                           Plano                  TX   75094
      NWC FM 518 & Miller Ranch Rd              Pearland               TX   77584
      1401 Town Center                          Pflugerville           TX   78681
      2599 Dunstan Rd                           Houston                TX   77005
      5270 West Grand Parkway                   Richmond               TX   77406
      159000 E Brianwood Circle                 Aurora                 CO   80013
      2650 Belleview Ave                        Littleton              CO   80120
      213 North Highway 67                      Cedar Hill             TX   75104
      2208 E Harmony Road                       Ft Collins             CO   80528
      2900 Iris Ave                             Boulder                CO   80528
      1719 Spring Green Blvd                    Katy                   TX   77494
      Western Oaks Retail Ctr                   Austin                 TX   78745
      213 North Highway 67                      Cedar Hill             TX   75104
      6601 Northeast Loop 820                   North Richland Hills   TX   76180
      SWC Parmer Lane and I-35                  Austin                 TX   78727
      25632 Northwest Freeway                   Cypress                TX   77429
      NEC Woodlands Pkwy & Kukendahl            The Woodlands          TX   77382
      Marketplace & Olympus Blvd                Irving                 TX   75063
      Old Denton Road                           Ft . Worth             TX   76137
      5946 Fairmont Parkway                     Pasadena               TX   77505
      4425 FM 1960 West                         Houston                TX   77014
      1101 N Walnut Creek Dr                    Mansfield              TX   76063
      2765 Gulf Freeway                         League City            TX   77573
      2700 E Eldorado Parkway                   Little Elm             TX   75068
      3501Garth Road                            Baytown                TX   77521
      321 Louisiana Street                      Houston                TX   77006
      12553 Westheimer                          Houston                TX   77077
      5208 S State Hwy 360                      Grand Prairie          TX   75050


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                                                                                    AW0157
                                                                                      AWPLL000114
      3800 24th Street                             San Francisco      CA   94114
      1775 Solano Ave                              Berkeley           CA   94704
      136 Crosby                                   New York           NY   10010
      Town Square                                  New York           NY   10010
      153 East 53rd Street                         New York           NY   10022
      5205 Fashion Drive                           Nanuet             NY   10954
      750 West Sunrise Hwy, Ste 100 Green          Valley Stream      NY   11581
      5114 Arden Way                               Carmichael         CA   95608
      3950 Alameda Avenue                          Oakland            CA   94601
      1519 Gateway Blvd                            Fairfield          CA   94533
      979 Broadway                                 Millbrae           CA   94030
      6061 Florin RD                               Sacramento         CA   95823
      2280 Sunrise Blvd                            Gold River         CA   95670
      Bel Air Village Phase II                     Elk Grove          CA   95624
      1006 Riley St                                Folsom             CA   95630
      2306 Almaden RD Suite 140                    San Jose           CA   95125
      1610 Crane CT                                San Jose           CA   95112
      351Rheem BLVD                                Morage             CA   94556
      93 Bovert RD                                 San Mateo          CA   94402
      2535 California St                           Mountain View      CA   94040
      6345 Commerce Blvd.                          Rohnert Park       CA   95928
      9450 Ruby Lockhart Blvd                      Lanham             MD   20706
      1500 Cornerside Blvd                         Vienna             VA   22182
      1000 East Broad Street                       Falls Church       VA   22042
      12300 Price Club Plaza                       Fairfax            VA   22033
      4770 Willow Road                             Pleasanton         CA   94558
      110 Avenida La Pata                          San Clement        CA   92673
      6830 E County Line Rd.                       Highland Ranch     CO   80126
      1265 Waterhouse Ave                          Beverton           OR   97006
      7887 Center Avenue                           Huntington Beach   CA   92647
      1085 South Arizona Avenue                    Chandler           AZ   95248
      27520 Ynez Road                              Temecula           CA   92591
      8430 On the Mall                             Buena Park         CA   90620
      97 S Val Vista Drive                         Glendale           AZ   85308
      1919 N Power Rd                              Mesa               AZ   85207
      321 W. Katella Ave., Ste 94                  Anaheim            CA   92802
      SWC Rose St & Valley Pkwy                    Escondido          CA   92677
      21560 Valley Blvd                            City Of industry   CA   91789
      10046 N Metro Parkway                        Phoenix            AZ   85051
      27921 La Paz                                 Laguna Niguel      CA   92677
      517 Spectrum Center Dr.                      Irvine             CA   92618
      6731 Westminster Blvd                        Westminster        CA   92683
      19350 Nordhoff St Unit D                     North ridge        CA   91324
      500 N Atlantic Blvd Suite A -102-1           Monterey Park      CA   91754
      324 Sycamore Ave                             Vista              CA   92083
      11844 Wth Street                             Mesa               AZ   85051
      5651 Centennial Center Blvd                  Las Vegas          NV   89149
      18825 Bear Valley Rd                         Apple Valley       CA   92308
      4345 Imperial Ave                            San Diego          CA   92113
      230 E Via Rancho Parkway , Suite 210         Escondido          CA   92025
      8810 Apollo Way                              Downey             CA   90242
      1220 West Avenue K                           Lancaster          CA   93534
      198 West Main Street                         El Cajon           CA   92020
      4866 State Highway 121                       Lewisville         TX   75056
      5070 Richmond Ave                            Houston            TX   77056
      1903 Empire Ave .                            Burbank            CA   91504
      13752 Jamboree Rd.                           Irvine             CA   92602


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                                                                                   AW0158
                                                                                     AWPLL000115
      2800 North Main Street                      Walnut Creek       CA   94597
      507 NE Northgate Way                        Seattle            WA   98125
      762 Sunnyvale Saratoga Road                 Sunnyvale          CA   94087
      4425 La Jolla Village Drive                 San Diego          CA   92122
      5300 Lankershim Blvd .                      North Hollywood    CA   91601
      4821 Del Amo Blvd                           Lakewood           CA   90712
      1870 Harbor Blvd                            Costa Mesa         CA   92627
      7715 Balboa Avenue                          San Diego          CA   92111
      12354 Limonite Avenue                       Eastvale           CA   91752
      2501 El Camino Real                         Carlsbad           CA
      2650 Kittyhawk Road                         Livermore          CA   94551
      4848 Valley View Ave                        Yorba Linda        CA   92886
      12155 Central Ave                           Chino              CA   91710
      2800 North Main Street, Unit 3100           Santa Ana          CA   92705
      9790 Central Avenue                         Montclair          CA   91763
      4240 Redondo Beach                          Torrance           CA   90504
      2350 Tapo Street                            Simi Valley        CA   93063
      Fallbrook Mall Bldg 008                     West Hills         CA   91307
      505 South Flower St., Level B               Los Angeles        CA   90071
      First & Santa Clara                         Arcadia            CA   91006
      15310 Summit Ave                            Fontana            CA   92336
      Valley Center Dr/Gladstone                  Glendora           CA   91740
      Murrieta Hot Springs Rd                     Murrieta           CA   92563
      100 City Parkway                            Las Vegas          NV   89106
      110 Towne Center Dr                         Compton            CA   90220
      1422 Azuza Ave                              West Covina        CA   91791
      1651 Victoria Ave.                          Oxnard             CA   93035
      2580 S. Archibald ave                       Ontario            CA   91761
      42900 Jackson St                            Indio              CA   92203
      2102 North Tustin Street                    Orange             CA   92865
      17204 Slover Avenue                         Fontana            CA   92337
      12660 Day Street                            Moreno Valley      CA   92553
      27621 San Bernardino                        Redlands           CA   92374
      3409 Via Montebello                         Carlsbad           CA   92009
      400 Town Center Drive                       Oxnard             CA   93036
      6220 N Topanga Canyon Blvd Ste 2410         Woodland Hills     CA   91367
      2200 Eastridge Loop                         San Jose           CA   95122
      17970 Studebaker Rd Plaza 183               Cerritos           CA   90703
      9051 Atlanta Avenue                         Huntington Beach   CA   92646
      897 Harriman Place                          San Bernardino     CA   92408
      2770 South Colorado Blvd                    Denver             CO   80222
      4110 B NE 4th Street                        Renton             WA   98059
      8720 SE Sunnybrook Road                     Clackamas          OR   97015
      4204 NE Halsey Street                       Portland           OR   97213
      4600 West 38th                              Denver             CO   80212
      The Promenade at Capital Mall               Olympia            WA   98502
      2913 NE 72nd                                Vancouver          WA   98661
      7720 N. Academy Blvd                        Colorado Springs   CO   80920
      13019 NE Fourth Plain Rd                    Vancouver          WA   98682
      12922 SE Kent Kangley Rd                    Kent               WA   98030
      11014 19th Ave SE                           Everett            WA   98208
      91- 5431 Kapolei Parkway, Suite 1700        Kapolei            HI   96707
      23750 Alessandro Blvd                       Moreno Valley      CA   92553
      641 S. Rancho Sante Fe Rd                   San Marcos         CA   92078
      5045 River Road N                           Keizer             OR   97303
      400 NW Eastman Pkwy                         Gresham            OR   97030
      15575 SW Sequoia Pkwy , 100                 Tigard             OR   97224


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                                                                                  AW0159
                                                                                    AWPLL000116
          8235 SW Apple Way                              Portland      OR   97225
          1017 Bay Area Blvd.                            Houston       TX   77058
          301 N Nolan Drive                              Southlake     TX   76092
          2800 North Main St, Unit 3100                  Santa Ana     CA   92705
          5745 New Abbey Lane                            Castle Rock   CO   80108
          1541 NE 181st Avenue                           Portland      OR   97230
          6000 Newpark Mall                              Newark        CA   94560
          18730 Amar Road                                Walnut        CA   91789
          465 W Arlington Street                         Gladstone     OR   97027
          130 E. Imperial Highway                        Fullerton     CA   92835
          1400 W Edinger Avenue                          Santa Ana     CA   92704
          111 South 38th Street                          Tacoma        WA   98418
          193 Chambers Bridge Rd                         Brick         NJ   08723




All other terms and conditions of this policy remain unchanged.




 By:
                    Joseph Cellura

 Title:             President , North American Casualty Division

 Date:              November 6 , 2019




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                                                                                    AW0160
                                                                                      AWPLL000117
Endorsement No:                   46
This endorsement, effective:      November 29, 2019
                                  (at 12:01 A.M. standard time at the address of the Named Insured as
                                  shown in Item 1 . of the Declarations)
forms a part of Policy No:               -
                                  0309 1873
Issued to:                        24 Hour Holdings I Corp.
by:                               Allied World National Assurance Company



                                        DELETION ENDORSEMENT

It is hereby agreed that Endorsement # 44, Deletion and Replacement Endorsement , 2H Manu V, is
deleted in its entirety.




All other terms and conditions of this policy remain unchanged.




By:
                   Joseph Cellura

Title :            President , North American Casualty Division

Date:              February 26 , 2020




2H Manu X                                    Page 1 of 1


                                                                                           AW0161
                                                                                                AWPLL000118
Endorsement No:                      42
This endorsement, effective:         October 15 , 2019
                                     (at 12:01 A.M. standard time at the address of the Named Insured as
                                     shown in Item 1 . of the Declarations)
forms a part of Policy No:           0309- 1873
Issued to:                           24 Hour Holdings I Corp.
by:                                  Allied World National Assurance Company


                                  ADDITION OF SCHEDULED LOCATIONS

1     In consideration of an additional premium of $8, 500 00, it is hereby agreed that each location set forth
      below is included in Item 5. of the Declarations as a scheduled location , subject to all of the terms and
      conditions of the policy.

      Item 5: Scheduled Locations:        Club #481 , 641 S. Rancho Santa Fe Rd., San Marcos, CA 93069
                                          Club #618, 3314 NE 7 th St, Homestead, FL 33033
                                          Club #634, 19371 NW 27th Ave „ Miami Gardens , FL 33056
                                          Club #637, 4017 West Commercial Blvd., Tamarac, FL 33319
                                          Club #644, 1624 Saint Georges Ave. , Avenel, NJ 07001
                                          Club #662, 460 South College Avenue, Fort Collins, CO 80524
                                          Club #846, 3350 Telegraph Road, Ventura, CA 93003
                                          Club #898, 27124 Calle Arroyo , San Juan Capistrano , CA 92675
                                          Club #936, 1 World Trade Center, Ste . 110, Long Beach, CA 90831
                                          Club #397, 21501 Hawthorne Blvd, Torrance, CA 90503
                                          Club #709, 23750 Alessandro Blvd. , Moreno Valley , CA 92553
                                          Club #443, 307 37th Avenue, Puyallup, WA 98374
                                          Club #821, 2323 McKee Road , San Jose , CA 95116
                                          Club #674, 2300 Fort Worth Avenue, Dallas , TX 75211
                                          Club #619, 12187 E. Colonial Drive , Orlando , FL 32826
                                          Club #645 , 30 Sylvan Way, Parsippany, NJ 07054
                                          Club #669, 851 N. Highway 287, Lafayette , CO 80026




All other terms and conditions of this policy remain unchanged.




By:
                     Joseph Cellura

Title :              President , North American Casualty Division

Date:                November 6 , 2019




ENV-SPL2 00027 00 (03/16)                     Page 1 of 1


                                                                                                    AW0162
                                                                                                         AWPLL000119
Endorsement No:                    43
This endorsement, effective:       October 15 , 2019
                                   (at 12:01 A.M. standard time at the address of the Named Insured as
                                   shown in Item 1 . of the Declarations)
forms a part of Policy No:               -
                                   0309 1873
Issued to:                         24 Hour Holdings I Corp.
by:                                Allied World National Assurance Company


                                       DELETION ENDORSEMENT

It is hereby agreed that the following endorsements are deleted in their entirety.


Endorsement #38, 2H Manu R, “Deletion and Replacement Endorsement"

Endorsement #41 , 2H Manu T, “Deletion and Replacement Endorsement"




All other terms and conditions of this policy remain unchanged.




By:
                   Joseph Cellura

Title :            President , North American Casualty Division

Date:              November 6 , 2019




2H Manu U                                    Page 1 of 1


                                                                                            AW0163
                                                                                                 AWPLL000120
Endorsement No:                    47
This endorsement, effective:       November 29, 2019
                                   (at 12:01 A .M. standard time at the address of the Named Insured as
                                   shown in Item 1 . of the Declarations)
forms a part of Policy No:         0309- 1873
Issued to:                         24 Hour Holdings I Corp.
by:                                Allied World National Assurance Company


                             DELETION AND REPLACEMENT ENDORSEMENT

It is hereby agreed that effective 11 /29 /2019, Endorsement #20 entitled “ Addition of Scheduled
Locations , Retroactive Date , Coverages , Limits and Deductibles” and bearing form number 2H Manu C , is
deleted in its entirety and replaced with the following:


      ADDITION OF SCHEDULED LOCATIONS . RETROACTIVE DATE. COVERAGES. LIMITS AND
                                   DEDUCTIBLES

1. It is hereby agreed that each location set forth below is included in Item 5 . of the Declarations as an
   insured location , subject to all of the terms and conditions of the policy, and subject to the following
   changes to Item 7., Retroactive Date of the Declarations:

                       Item 5: Insured Locations:                             Item 7. Retroactive Date
 498 S Boulder Hwy                     Henderson              NV    89015     01 /13/2017
 5959 W Century Blvd                   Los Angeles            CA    90045     02/03/2017
 18200 Yorba Linda Blvd                Yorba Linda            CA    92886     09 /03/2016
 23750 Alessandro Blvd                 Moreno Valley          CA    92553     10/31 /2015
 295 E Caroline St, Ste A              San Bernardino         CA    92408     12/23/2015
 700 E Redlands Blvd A 11- A12         Redlands               CA    92373     06/30/2015
 4255 Campus Dr #A -150                Irvine                 CA    92612     09 /30/2016
 2605 South Eastern                    Las Vegas              NV    89109     12/09 /2016
 600 Newport Center Dr.                Newport Beach          CA    92660     08 /14/2015
 303 Third Street                      Huntington Beach       CA    92648     12/16/2016
 641 S Rancho Sante Fe Rd              San Marcos             CA    92069     10/14/2016
 2121 W. Danforth Rd .                 Edmond                 OK    73003     06/15/2016
 647 SW 19th Street                    Moore                  OK    73160     06/15 /2016
 14651 Sprague St.                     Omaha                  NE    68116     06/15 /2016
 8966 West Bowles Ave                  Littleton              CO    80123     09 /30/2015
 7528 Queen 's Boulevard               Elmhurst               NY    11373     02/10/2017
 298 West 231st Street                 Bronx                  NY    10463     Divestiture date
 2100 Bartow Avenue                    Bronx                  NY    10475     09 /30/2016
 350 US Highway 46                     Wayne                  NJ    07470     09 /30/2016
 2718 North 118th Circle               Omaha                  NE    68164     06/15 /2016
 1805 Hwy 121                          Bedford                TX    76022     06/30/2015
 14885 W. Clayton Road                 Chesterfield           MO    63017     06/15 /2016
 215 Arnold Crossroads                 Arnold                 MO    63010     06/15 /2016
 10920 FM 1960 West                    Houston                TX    77070     07 /17/2015
 2121 N. 550 West                      Provo                  UT    84604     12/04/2015
 84th & Giles Rd.                      Papillion              NE    68138     06/15/2016
 3935 S. 147th St.                     Omaha                  NE    68144     06/15 /2016
 Bolger Square Shopping Center         Independence           MO    64055     06/15 /2016
 1095 Regency Parkway                  St. Charles            MO    63303     06/15 /2016
 12075 Metcalf                         Overland Park          KS    66213     06/15 /2016
 7420 Metcalf Avenue                   Overland Park          KS    66204     06/15 /2016
 229 Queen Anne Avenue North           Seattle                WA    98109     09 /11 /2015
 8600 Ward Pkwy                        Kansas City            MO    64114     06/15 /2016
 11311 W. 64th St. , Shawnee , KS      Shawnee                KS    66203     06/15 /2016

2H Manu Y                                   Page 1 of 3


                                                                                                AW0164
                                                                                                     AWPLL000121
 12526 Totem Lake Boulevard NE         Kirkland           WA   98034   04/30/2016
 2490 Kalakaua Ave.                    Honolulu           HI   96815   10/07 /2016
 2632 Somersville Road                 Antioch            CA   94509   12/16/2016
 10320 Manchester Road                 Kirkwood           MO   63122   06/15 /2016
 7777 Cass St                          Omaha              NE   68114   06/15 /2016
 124th Place & Blackfoot Dr            Olathe             KS   66062   06/15/2016
 900NE Deerbrook                       Lee's Summit       MO   64086   06/15/2016
 E Frank Wright Lloyd Bldg             Scottsdale         AZ   85260   06/30/2016
 3400 Bernard                          Bakersfield        CA   93306   Divestiture date
 1505 140th Ave NE                     Bellevue           WA   98005   Divestiture date
 2234 Rutherford Rd.                   Carlsbad           CA   92008   Divestiture date
 5420 Philadelphia Street, Ste A       Chino              CA   91710   Divestiture date
 8101 E Belleview Ave Ste A-20         Denver             CO   80237   Divestiture date
 8150 South Quebec St.                 Englewood          CO   80112   Divestiture date
 10200 Juniper Ave                     Fontana            CA   92335   Divestiture date
 40910 Fremont Blvd                    Fremont            CA   94538   Divestiture date
 1456 Railroad Ave                     Livermore          CA   94550   Divestiture date
 1285 Ridgeway Rd.                     Memphis            TN   38119   Divestiture date
 2213 El Camino Real                   Oceanside          CA   92037   Divestiture date
 915 W. Parker Rd. Ste 310, 311 , 31   Plano              TX   75023   Divestiture date
 7690 Limonite                         Riverside          CA   92509   Divestiture date
 701 Montgomery St                     Westlake Village   CA   91362   Divestiture date
 17170 Bernardo Center Dr.             San Diego          CA   92128   09 /03 /2017
 15926 Jamaica Avenue                  Jamaica            NY   11432   09 / 03 /2017
 5234 Newpark Mall Road                Newark             CA   94560   09 /03 /2017
 7635 West 88th Avenue                 Arvada             CO   80005   09 / 03/2017
 2130 South 314 th Street              Federal Way        WA   98003   09 / 03/2017
 400 East Fordham RD                   Bronx              NY   10010   10/06/2017
 17170 Bernardo Center Dr.             San Diego          CA   92128   09 /03 /2017
 15926 Jamaica Avenue                  Jamaica            NY   11432   09 /03/2017
 5234 Newpark Mall Road                Newark             CA   94560   09 / 03 /2017
 7635 West 88th Avenue                 Arvada             CO   80005   09 /03 /2017
 2130 South 314 th Street              Federal Way        WA   98003   09 /03/2017
 400 East Fordham Rd                   Bronx              NY   10010   10/06/2017
 7450 University Avenue                La Mesa            CA   91041   12/01 /2017
 100 Oceangate Ave , Suite P20         Long Beach         CA   90802   12/ 01 /2017
 3813 Center View Drive                West Jordan        UT   84084   12/01 /2017
 303 Second Street                     San Francisco      CA   94107   03 /02/2018
 136 Crosby                            New York           NY   10010   04/13/2018
 9911 W. Pico Blvd., #B-16 & FI. A     Los Angeles        CA   90035   06/29/2018
 99 U.S Highway 22                     Springfield        NJ   07081   07 /06/2018
 1529 W Valley Pkwy                    Escondido          CA   92677   09 /07 /2018
 27131 Calle Arroyo #1701              San Juan           CA   92675   03 /18 /2019
                                       Capistrano
9800 West Atlantic Blvd.               Coral Springs      FL   33071   03 /18 /2019
10001 Grant Street                     Thornton           CO   80229   03/18/2019
23750 Alessandro Blvd .                Moreno Valley      CA   92553   03 /18 /2019
720 S. Colorado Boulevard              Denver             CO   80246   06/30/2019
193 Chambers Bridge Rd                 Brick              NJ   08723   06/30/2019
2072 Addison Street                    Berkeley           CA   94704   06/30/2019
400 East Fordham RD                    Bronx              NY   10010   06/30/2019
700 N Harwood St                       Dallas             TX   75201   08 /30/2019
5601 Grossmont Center Dr.              La Mesa            CA   91942   11 /29 /2019
245-24 Horace Harding                  Little Neck        NY   11362   11 /29/2019
Expressway
2163 Tilden Avenue                     Brooklyn           NY   11226   11 /29 /2019
515 South 700 East                     Salt Lake City     UT   84102   11 /29/2019


2H Manu Y                                 Page 2 of 3


                                                                                          AW0165
                                                                                            AWPLL000122
 2770 East Trinity Mills                    Carrollton          TX      75006   11 /29 /2019
 510 Watters Road                           Allen               Te      75013   11/29/2019
                                                                xas
 18707 & 18737 E. Hampden                   Aurora              CO      80013   11 /29 /2019
 Avenue
 9336 Westview                              Houston             TX      77055   11 /29/2019




                                                                -
2. It is further agreed that with respect to each above listed insured location , Item 2., of the
   Declarations is deleted and replaced with the following:

              Item 2. Policy Period:     From September 3, 2017   To September 3, 2020
                           12:01 AM STANDARD TIME AT THE ADDRESS SHOWN IN ITEM 1.

                                                                -
3. It is further agreed that with respect to each above listed insured location , Item 3., of the
   Declarations is deleted and replaced with the following:

              Item 3. Coverages and Coverage Section Limits and Deductibles:

This policy includes only those coverages as stated in Section I of the Policy for which deductibles and
limits of liability appear below.

 Coverage           Deductible -Each Incident     Each Incident Limit      Coverage Section Aggregate
                                                                                     Limit
          1        S50,000                       $25 ,000,000            $25,000,000
          2        N/A                           N/A                     N/A
          3        N/A                           N/A                     N/A
          4        N/A                           N/A                     N/A

 Coverage           Business Interruption -       Each Incident Limit      Coverage Section Aggregate
                       Deductible - Days                                             Limit
          5        N/A                           N/A                     N/ A




All other terms and conditions of this policy remain unchanged.




By:
                       Joseph Cellura

Title :                President , North American Casualty Division

Date:                  February 26 , 2020




2H Manu Y                                       Page 3 of 3


                                                                                               AW0166
                                                                                                  AWPLL000123
Endorsement No:                   48
This endorsement, effective:      February 5 , 2020
                                  (at 12:01 A.M. standard time at the address of the Named Insured as
                                  shown in Item 1 . of the Declarations)
forms a part of Policy No:               -
                                  0309 1873
Issued to:                        24 Hour Holdings I Corp.
by:                               Allied World National Assurance Company



                                        DELETION ENDORSEMENT

It is hereby agreed that Endorsement # 45, Deletion and Replacement Endorsement , 2H Manu W, is
deleted in its entirety.




All other terms and conditions of this policy remain unchanged.




By:
                   Joseph Cellura

Title :            President , North American Casualty Division

Date:              February 26 , 2020




2H Manu AA                                   Page 1 of 1


                                                                                           AW0167
                                                                                                AWPLL000124
 Endorsement No:                    49
 This endorsement, effective:       February 5 , 2020
                                    (at 12: 01 A .M. standard time at the address of the Named Insured as
                                    shown in Item 1. of the Declarations)
 forms a part of Policy No :        0309-1873
 Issued to:                         24 Hour Holdings I Corp.
 by:                                Allied World National Assurance Company


                           DELETION AND REPLACEMENT ENDORSEMENT

It is hereby agreed that effective on 10/15 /2019, Endorsement # 21 , entitled “ Amendatory Endorsement ”
and bearing form number 2H Manu D, is deleted in its entirety and replaced with the following:


                                    AMENDATORY ENDORSEMENT


It is hereby agreed that the following changes are made to the policy:

1.      Item 5 . Insured Locations of the Declarations is deleted in its entirety and replaced with the
        following:

        Item 5. Insured Locations:

         1265 Laurel Tree Lane, Suite 100                Carlsbad               CA      92011
         140A Alamo Plaza                                Alamo                  CA      94507
         18305 Brookhurst Drive                          Fountain Valley        CA      92708
         SEC of Windmill Ave & Antonio Pkwy              Ladera Ranch           CA      92694
         820 State Street                                Santa Barbara          CA      93101
         2831 West 120th St                              Hawthorne              CA      90250
         6348 College Grove Way, Suite 109               San Diego              CA      92115
         1600 Azusa Drive, Space 300                     City of Industry       CA      91748
         1 Horton Plaza, Space 25                        San Diego              CA      92101
         3633 Avocado Blvd.                              La Mesa                CA      91941
         2180 Lincoln Ave , Bldg 4                       Altadena               CA      91001
         3600 West Orangewood                            Orange                 CA      92868
         1430 N Lemon St                                 Anaheim                CA      92801
         909-919 Garnet Avenue                           San Diego              CA      92109
         9875 S Maryland Pkwy                            Las Vegas              NV      89101
         1640 Camino Del Rio N, Ste 315                  San Diego              CA      92108
         1415-1417 Second St.                            Santa Monica           CA      90401
         13312 Imperial Hwy and Carmenita                Santa Fe Springs       CA      90670
         15301 Ventura Boulevard, Space U-3              Sherman Oaks           CA      91403
         320 Third Avenue                                Chula Vista            CA      91910
         26781 Rancho Pkwy.                              Lake Forest            CA      92630
         5035 W. Tropicana                               Las Vegas              NV      89103
         13395 Beach Blvd.                               La Mirada              CA      90638
         589 Anton Avenue                                Costa Mesa             CA      32626
         4480 E. Charleston                              Las Vegas              NV      89104
         4655 Frazee Rd                                  Oceanside              CA      92057
         1530 W. West Covina Parkway                     West Covina            CA      91790
         870 Amena Court                                 Chula Vista            CA      91910
         32451 Golden Lantern, Ste 1A                    Laguna Niguel          CA      92677
         6380 Sunset Blvd                                Los Angeles            CA      90028
         2595 Thousand Oaks Blvd                         Thousand Oaks          CA      91362
                                      -
         3965 5th Avenue, Suites 100 160                 San Diego              CA      92103
         9550 Miramar Road                               San Diego              CA      92126

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                                                                                                AW0168
                                                                                                    AWPLL000125
      400 La Terraza Blvd                           Escondido             CA   92026
      1601 Pacific Coast Highway                    Hermosa Beach         CA   90254
      453 Carmen Drive                              Camarillo             CA   93010
      2106 W. Craig Road, Suite # 2                 North Las Vegas       NV   89031
      7450 University Avenue                        La Mesa               CA   91041
      1660 Broadway, Suite 18-22                    Chula Vista           CA   91911
      3675 Midway Dr. , A1                          San Diego             CA   92110
      9906 Mission Gorge Rd                         Santee                CA   92071
      5858 Warner Ave                               Huntington Beach      CA   92649
      5885 Rancho Mission Rd                        San Diego             CA   92108
      4951 Katella Avenue                           Los Alamitos          CA   90720
      240 Brand Blvd                                Glendale              CA   91203
      455 Santa Fe Drive                            Encinitas             CA   92024
      4302 Gosford Road                             Bakersfield           CA   93313
      1335 West Avenue P                            Palmdale              CA   93551
      3699 Wilshire Blvd. 3rd floor #110            Los Angeles           CA   90010
      9911 W. Pico Blvd., #B- 16 & Floor A          Los Angeles           CA   90035
      1600 Adams Avenue                             Costa Mesa            CA   92626
      10125 Whitwood Drive                          Whittier              CA   90603
      25252 McIntyre                                Laguna Hills          CA   92653
      3521 E. Chapman                               Orange                CA   92669
      3633 Rosedale Highway                         Bakersfield           CA   93308
      2685 Pacific Coast Hwy                        Torrance              CA   90505
      8105 Sheridan Boulevard                       Westminster           CO   80003
      27131 Calle Arroyo #1701                      San Juan Capistrano   CA   92675
      8350 Van Nuys Blvd                            Panorama City         CA   91402
      15315 Culver Dr. #165                         Irvine                CA   92604
      2556 Wigwam Parkway                           Henderson             NV   89014
      100 Oceangate Ave suite P20                   Long Beach            CA   90802
      9561 Chapman Avenue                           Garden Grove          CA   92641
      23166 Los Alisos Blvd, #140                   Mission Viejo         CA   92691
      27141 Aliso Creek Rd, #100                    Aliso Viejo           CA   92656
      965 East Birch Street                         Brea                  CA   92821
      17170 Bernardo Center Dr.                     San Diego             CA   92128
      1500 Rosecrans Ave #100                       Manhattan Beach       CA   90266
      685 West Foothill Boulevard                   Upland                CA   91786
      2893 North Green Valley Pkwy                  Henderson             NV   89014
      7680 Girard Ave, Ste. 200                     La Jolla              CA   92037
      16200 Bear Valley , Suite # L-1               Victorville           CA   92392
      18645 Via Princessa                           Santa Clarita         CA   91351
      715 E. Huntington Dr.                         Monrovia              CA   91016
      22331 El Paseo                                Santa Margarita       CA   92688
      465 North Halstead St. #102                   Pasadena              CA   91107
      975 Lomas Santa Fe Drive , Suite A-C          Solana Beach          CA   92075
      1352 Madera Rd.                               Simi Valley           CA   93065
      525 Colorado Boulevard                        Pasadena              CA   91101
      4200 Chino Hills Parkway                      Chino Hills           CA   91709
      Val Vista Drive & Elliot Road                 Gilbert               AZ   85234
      2929 31st Street                              Santa Monica          CA   90405
      8612 Santa Monica Blvd                        West Hollywood        CA   90069
      555 West 19th ST.                             Costa Mesa            CA   92627
      3030 Bellflower Blvd.                         Long Beach            CA   90808
      18007 Von Karman Avenue                       Irvine                CA   92612
      10025 Carmel Mountain Road                    San Diego             CA   92129
      945 Dominguez Avenue                          Carson                CA   90746
      300 South Festival Lane                       Anaheim Hills         CA   92808
      8697 Irvine Center Drive                      Irvine                CA   92618


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                                                                                       AW0169
                                                                                         AWPLL000126
      11787 Foothill Boulevard                        Rancho Cucamonga   CA   91730
      275 Teller Street, #100                         Corona             CA   92879
      10616 Research Blvd.                            Austin             TX   78759
      2145 Baseline Road                              Tempe              AZ   85283
      3233 E. Camel Back Road                         Phoenix            AZ   85018
      13220 N. Scottsdale Road                        Scottsdale         AZ   85254
      7300 West Greens Road                           Houston            TX   77064
      14111 Southwest Parkway                         Sugarland          TX   77478
      10707 Westheimer Rd .                           Houston            TX   77042
      601 S. Rainbow Blvd.                            Las Vegas          NV   89145
      3600 Emporium Circle                            Mesquite           TX   75150
      4600 West Park Blvd.                            Plano              TX   75093
      1375 East Campbell Rd                           Richardson         TX   75081
      1131 W. Arbrook Blvd.                           Arlington          TX   76015
      2100 Plaza Parkway                              Bedford            TX   76021
      9800 West Atlantic Blvd.                        Coral Springs      FL   33071
      700 Pine Island Rd                              Plantation         FL   33324
      5001 Overton Ridge Blvd.                        Fort Worth         TX   76132
      400 N. Brand Blvd., Ste. 120                    Glendale           CA   91203
      Spring Gate Ln & Town Ctr Drive                 Las Vegas          NV   89134
      2920 Aborn Square Road                          San Jose           CA   95121
      771 Jackson Street                              Hayward            CA   94544
      35630 Fremont Boulevard                         Fremont            CA   94536
      567 Floresta Boulevard                          San Leandro        CA   94578
      3951 Alemany Boulevard                          San Francisco      CA   94132
      3435 S. Inca Street                             Englewood          CO   80110
      7635 West 88th Avenue                           Arvada             CO   80005
      720 S. Colorado Boulevard                       Denver             CO   80246
      360 South Teller Street                         Lakewood           CO   80226
      10001 Grant Street                              Thornton           CO   80229
      1450 South Abilene Street                       Aurora             CO   80012
      99 U S. Highway 22                              Springfield        NJ   07081
      140 Central Avenue                              Clark              NJ   07066
      189 US Highway 46                               Saddle Brook       NJ   07663
      918 Bergen Avenue                               Jersey City        NJ   07306
      15926 Jamaica Avenue                            Jamaica            NY   11432
      945 King Highway                                Brooklyn           NY   11223
      8002 Kew Gardens Road                           Kew Gardens        NY   11415
      2503 Grand Concourse                            Bronx              NY   10468
      1921 86th Street                                Brooklyn           NY   11214
      298 West 231st Street                           Bronx              NY   10463
      1720 Sheepshead Bay Road                        Brooklyn           NY   11235
      1675 Sunrise Hwy                                Bay Shore          NY   11706
      589 Tuckahoe Road                               Yonkers            NY   10710
      11528 Gulf Freeway                              Houston            TX   77070
      15542 Highway 529 (Spencer Road)                Houston            TX   77095
      5721 Westheimer Road                            Houston            TX   77057
      7622 Campbell Rd                                Dallas             TX   75248
      1550 S. Mason Road                              Katy               TX   77450
      724 W. Main St , Suite 190/ Valley Square       Lewisville         TX   75067
      3650 Austin Bluff Parkway , #197                Colorado Springs   CO   80918
      12039 W. Alameda Parkway , #Z-3                 Lakewood           CO   80228
      6044 South Kipling Parkway                      Littleton          CO   80127
      11420 1-10 East Freeway                         Jacinto City       TX   77029
      6425 San Felipe                                 Houston            TX   77057
      10365 South 1300 East                           Sandy City         UT   84094
      4650 W 120th Ave.                               Broomfield         CO   80020


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                                                                                      AW0170
                                                                                        AWPLL000127
      5100 Beltline Rd, #600                      Addison            TX     75240
      1121 East Ashton Avenue                     Salt Lake City     UT     84106
      2407 West Airport Freeway                   Irving             TX     75062
      1892 Southgate Ctr                          Colorado Springs   CO     80906
      18541 Kuykendahl Road                       Houston            TX     77379
      7068 FM 1960 East                           Humble             TX     77346
      11798 E Oswego St                           Englewood          CO     80112
      4120 E. Alameda                             Denver             CO     80246
      7400 E. Hampden Ave.                        Denver             CO     80231
      130 West Parkwood                           Friendswood        TX     77546
      333 Dad Clark Dr.                           Highlands Ranch    CO     80126
      21614 Tomball Parkways                      Houston            TX     77070
      700 N. Harwood                              Dallas             TX     75201
      1800 Lake Woodland Drive                    Woodlands          TX     77380
      11100 Central Expressway                    Dallas             TX     75243
      8650 Endicott Ln                            Houston            TX     77096
      3706 E. Mockingbird Lane                    Dallas             TX     75206
      1000 E. 41 st St . , #850                   Austin             TX     78751
      1208-SN IH-35                               Round Rock         TX     78681
      3301 E. Bell Road                           Phoenix            AZ     85032
      13802 N Hwy 183                             Austin             TX     78750
      2401 Rio Grande Blvd                        Euless             TX     76039
      4112 FM 762                                 Rosenberg          TX     77471
      Bingle Shopping Center                      Houston            TX     77055
      Warren Parkway & Preston Road               Frisco             TX     75034
      188 106th Ave NE, 5th Floor                 Bellevue           WA     98004
      5919 Lakewood Town Ctr Blvd SW #K           Lakewood           WA     98499
      20202 Ballinger Way, NE, Space A- 10        Seattle            WA     98155
      2130 South 314th Street                     Federal Way        WA     98003
      2500 SW Barton                              Seattle            WA     98126
      800 S.E. Tech Center Drive                  Vancouver          WA     98683
      1827 Yale Avenue                            Seattle            WA     98101
      1407 SW Fourth Avenue                       Portland           OR     97201
      11100 SW Murray Schools PI.                 Beaverton          OR     97007
      18930 29th Avenue West                      West Lynwood       WA     98036
      9900 SE Washington , Space E-1              Portland           OR     97216
      4546 SE McLoughlin Blvd                     Portland           OR     97202
      915 Auburn Way                              Auburn             WA     98002
      5766 South 1900 West                        Taylorsville       Utah   84129
      9th Street Marketplace                      Murray City        Utah   84121
      45 Montgomery Street                        San Francisco      CA     94104
      3813 Center View Drive                      West Jordan        UT     84084
      512 S Chambers RD                           Aurora             CO     80017
      6839 South Vine Street                      Centennial         WA     80122
      5712 E Lake Sammamish Pkwy SE 200           Issaquah           WA     98209
      18006 120th Ave                             Bothel             WA     98011
      17200 Brookhurst St                         Fountain Valley    CA     92708
      2520 Somersville Road                       Antioch            CA     94509
      1050 Broadway St                            Redwood City       CA     94063
      555 Oceana Blvd .                           Pacifica           CA     94044
      2480 Whipple Road                           Hayward            CA     94544
      La Cienega & Slauson Ave .                  Los Angeles        CA     90056
      17942 SW McEwan Road                        Tualatin           OR     97224
      7320 170th Ave NE                           Redmond            WA     98052
      4500 Auto Mall Parkway                      Fremont            CA     94538
      2200 Hilltop Mall Road                      Richmond           CA     94806
      1000 Kamehameha Highway                     Pearl City         HI     96782


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                                                                                    AW0171
                                                                                      AWPLL000128
      6222 Santa Teresa Blvd                       San Jose         CA   95119
      7905 Walgerga Road                           Antelope         CA   95843
      304 Bayfair                                  San Leandro      CA   94578
      1200 Van Ness Ave                            San Francisco    CA   94109
      520 S. El Camino Real                        San Mateo        CA   94401
      1825-A Hillsdale Ave                         San Jose         CA   95124
      375A North Capitol Ave                       San Jose         CA   95133
      150 E. Fremont Ave                           Sunnyvale        CA   94087
      373 Gelled Blvd                              Daly City        CA   94015
      1001 Larkspur Landing Cr.                    Larkspur         CA   94939
      3550 Industrial Dr.                          Santa Rosa       CA   95401
      Sunvalley, Store # E-118C & Store #E-203     Concord          CA   94520
      4500 Norris Canyon Road                      San Ramon        CA   94538
      550 Showers Dr. , #7D, 4D, 3D, 8D            Mountain View    CA   94040
      3839 E. Castro Valley                        Castro Valley    CA   94552
      4300 Sonoma Blvd #408                        Vallejo          CA   94589
      2033 N. Main Street                          Walnut Creek     CA   94596
      1201 Soquel Ave                              Santa Cruz       CA   95062
      303 Second Street                            San Francisco    CA   94107
      350 Bay Street                               San Francisco    CA   94133
      100 California Street                        San Francisco    CA   94111
      Auburn Boulevard and Van Maren Lane          Citrus Heights   CA   95621
      9574 Micron Ave                              Sacramento       CA   95827
      2050 Webster Street                          Oakland          CA   94612
      850 Tennent Station                          Morgan Hill      CA   95037
      1090 Nodh Main Street                        Manteca          CA   95336
      24727 Amador St.                             Hayward          CA   94544
      1595 Sky Mountain Dr.                        Reno             NV   89503
      1850 Ocean Avenue                            San Francisco    CA   94112
      1680 Kapiolani Blvd.                         Honolulu         HI   96814
      39300 Paseo Padre Parkway                    Fremont          CA   94538
      1531 ParkmoreAve                             San Jose         CA   95128
      1645 Bryant Street                           San Francisco    CA   94103
      5234 Newpark Mall Road                       Newark           CA   94560
      2145 Market Street                           San Francisco    CA   94114
      95221 Kipapa Drive                           Mililani         HI   96789
      6155 Neil Road                               Reno             NV   89511
      8785 Center Parkway                          Sacramento       CA   95823
      4100 S. Parker Road                          Aurora           CO   80014
      1000 Bishop Building , Suite 101             Honolulu         HI   96813
      3137 West Beniamin Holt Drive                Stockton         CA   95219
      150 Hana Highway, #108                       Kahului, Maui    HI   96732
      45- 480 Kanoehe Bay Drive , C-21             Kaneohe          HI   96744
      7600 Greenhaven Drive. Suite 15              Sacramento       CA   95831
      4145 SW Watson Ave.                          Beavedon         OR   97005
      1210 NW Johnson                              Podland          OR   97209
      Fulton & Hurley, Sacramento                  Sacramento       CA   95825
      Rarnpad Way and Academy Blvd                 Denver           CO   80230
      441 Lancaster Drive NE                       Salem            OR   97301
      6095 SE Tulatin Valley HWY                   Hillsboro        OR   97123
      6 Petaluma Blvd., Nodh                       Petaluma         CA   94954
      2072 Addison Street                          Berkeley         CA   94704
      336 N. Sunrise Blvd.                         Roseville        CA   95661
      7120 Kalanianaole Hwy                        Honolulu         HI   96825
      1211 E. Arquez                               Sunnyvale        CA   94086
      1650 Industrial Road                         San Carlos       CA   94070
      1020 7th Street                              Sacramento       CA   95814


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                                                                                 AW0172
                                                                                   AWPLL000129
      301 Jacklin Road                            Milpitas               CA   95035
      200 Harker Place                            Annapolis              MD   21401
      260 East Route 4                            Paramus                NJ   7652
      2982 Grand Avenue                           Coconut Grove          FL   33133
      8333 Pines Boulevard                        Pembroke Pines         FL   33024
      8400 Mills Drive                            Miami                  FL   33183
      6846 Forest Hilld Blvd                      Greenacres             FL   33413
      20851 Dixie Drive Highway                   Miami                  FL   33189
      11645 Red Road                              Miramar                FL   33025
      1775 North Congress Ave                     Boynton Beach          FL   33426
      9919 West Oakland Park Blvd                 Sunrise                FL   33351
      15 West Crystal Lake Drive                  Orlando                FL   32806
      4270 Aloma Avenue , Suite 164               Winter Park            FL   32792
      850 W Osceola Parkway                       Kissimmee              FL   34741
      150 Triangle Plaza                          Ramsey                 NJ   7446
      150 Sylvan Avenue                           Englewood Cliffs       NJ   07632
      133 Route 23                                Wayne                  NJ   07470
      405 East Interstate 30                      Rockwall               TX   75087
      5901 Golden Triangle                        Keller                 TX   76548
      459 State Route 17                          Hasbrouck              NJ   07604
      400 East Fordham RD                         Bronx                  NY   10010
      229 East FM 544                             Plano                  TX   75094
      NWC FM 518 & Miller Ranch Rd                Pearland               TX   77584
      1401 Town Center                            Pflugerville           TX   78681
      2599 Dunstan Rd                             Houston                TX   77005
      5270 West Grand Parkway                     Richmond               TX   77406
      159000 E Brianwood Circle                   Aurora                 CO   80013
      2650 Belleview Ave                          Littleton              CO   80120
      213 North Highway 67                        Cedar Hill             TX   75104
      2208 E Harmony Road                         Ft Collins             CO   80528
      2900 Iris Ave                               Boulder                CO   80528
      1719 Spring Green Blvd                      Katy                   TX   77494
      Western Oaks Retail Ctr                     Austin                 TX   78745
      213 North Highway 67                        Cedar Hill             TX   75104
      6601 Northeast Loop 820                     North Richland Hills   TX   76180
      SWC Parmer Lane and I-35                    Austin                 TX   78727
      25632 Northwest Freeway                     Cypress                TX   77429
      NEC Woodlands Pkwy & Kukendahl              The Woodlands          TX   77382
      Marketplace & Olympus Blvd                  Irving                 TX   75063
      Old Denton Road                             Ft . Worth             TX   76137
      5946 Fairmont Parkway                       Pasadena               TX   77505
      4425 FM 1960 West                           Houston                TX   77014
      1101 N Walnut Creek Dr                      Mansfield              TX   76063
      2765 Gulf Freeway                           League City            TX   77573
      2700 E Eldorado Parkway                     Little Elm             TX   75068
      3501Garth Road                              Baytown                TX   77521
      321 Louisiana Street                        Houston                TX   77006
      12553 Westheimer                            Houston                TX   77077
      5208 S State Hwy 360                        Grand Prairie          TX   75050
      3800 24th Street                            San Francisco          CA   94114
      1775 Solano Ave                             Berkeley               CA   94704
      136 Crosby                                  New York               NY   10010
      Town Square                                 New York               NY   10010
      153 East 53rd Street                        New York               NY   10022
      5205 Fashion Drive                          Nanuet                 NY   10954
      750 West Sunrise Hwy, Ste 100 Green         Valley Stream          NY   11581
      5114 Arden Way                              Carmichael             CA   95608


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                                                                                      AW0173
                                                                                        AWPLL000130
      3950 Alameda Avenue                          Oakland            CA   94601
      1519 Gateway Blvd                            Fairfield          CA   94533
      979 Broadway                                 Millbrae           CA   94030
      6061 Florin RD                               Sacramento         CA   95823
      2280 Sunrise Blvd                            Gold River         CA   95670
      Bel Air Village Phase II                     Elk Grove          CA   95624
      1006 Riley St                                Folsom             CA   95630
      2306 Almaden RD Suite 140                    San Jose           CA   95125
      1610 Crane CT                                San Jose           CA   95112
      351Rheem BLVD                                Morage             CA   94556
      93 Bovert RD                                 San Mateo          CA   94402
      2535 California St                           Mountain View      CA   94040
      6345 Commerce Blvd.                          Rohnert Park       CA   95928
      9450 Ruby Lockhart Blvd                      Lanham             MD   20706
      1500 Cornerside Blvd                         Vienna             VA   22182
      1000 East Broad Street                       Falls Church       VA   22042
      12300 Price Club Plaza                       Fairfax            VA   22033
      4770 Willow Road                             Pleasanton         CA   94558
      110 Avenida La Pata                          San Clement        CA   92673
      6830 E County Line Rd.                       Highland Ranch     CO   80126
      1265 Waterhouse Ave                          Beverton           OR   97006
      7887 Center Avenue                           Huntington Beach   CA   92647
      1085 South Arizona Avenue                    Chandler           AZ   95248
      27520 Ynez Road                              Temecula           CA   92591
      8430 On the Mall                             Buena Park         CA   90620
      97 S Val Vista Drive                         Glendale           AZ   85308
      1919 N Power Rd                              Mesa               AZ   85207
      321 W. Katella Ave . , Ste 94                Anaheim            CA   92802
      SWC Rose St & Valley Pkwy                    Escondido          CA   92677
      21560 Valley Blvd                            City Of industry   CA   91789
      10046 N Metro Parkway                        Phoenix            AZ   85051
      27921 La Paz                                 Laguna Niguel      CA   92677
      517 Spectrum Center Dr.                      Irvine             CA   92618
      6731 Westminster Blvd                        Westminster        CA   92683
      19350 Nordhoff St Unit D                     Northridge         CA   91324
      500 N Atlantic Blvd Suite A-102-1            Monterey Park      CA   91754
      324 Sycamore Ave                             Vista              CA   92083
      11844 Wth Street                             Mesa               AZ   85051
      5651 Centennial Center Blvd                  Las Vegas          NV   89149
      18825 Bear Valley Rd                         Apple Valley       CA   92308
      4345 Imperial Ave                            San Diego          CA   92113
      230 E Via Rancho Parkway, Suite 210          Escondido          CA   92025
      8810 Apollo Way                              Downey             CA   90242
      1220 West Avenue K                           Lancaster          CA   93534
      198 West Main Street                         El Cajon           CA   92020
      4866 State Highway 121                       Lewisville         TX   75056
      5070 Richmond Ave                            Houston            TX   77056
      1903 Empire Ave ,                            Burbank            CA   91504
      13752 Jamboree Rd .                          Irvine             CA   92602
      2800 North Main Street                       Walnut Creek       CA   94597
      507 NE Northgate Way                         Seattle            WA   98125
      762 Sunnyvale Saratoga Road                  Sunnyvale          CA   94087
      4425 La Jolla Village Drive                  San Diego          CA   92122
      5300 Lankershim Blvd                         North Hollywood    CA   91601
      4821 Del Amo Blvd                            Lakewood           CA   90712
      1870 Harbor Blvd                             Costa Mesa         CA   92627
      7715 Balboa Avenue                           San Diego          CA   92111


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                                                                                   AW0174
                                                                                     AWPLL000131
      12354 Limonite Avenue                        Eastvale           CA   91752
      2501 El Camino Real                          Carlsbad           CA
      2650 Kittyhawk Road                          Livermore          CA   94551
      4848 Valley View Ave                         Yorba Linda        CA   92886
      12155 Central Ave                            Chino              CA   91710
      2800 North Main Street, Unit 3100            Santa Ana          CA   92705
      9790 Central Avenue                          Montclair          CA   91763
      4240 Redondo Beach                           Torrance           CA   90504
      2350 Tapo Street                             Simi Valley        CA   93063
      Fallbrook Mall Bldg 008                      West Hills         CA   91307
      505 South Flower St., Level B                Los Angeles        CA   90071
      First & Santa Clara                          Arcadia            CA   91006
      15310 Summit Ave                             Fontana            CA   92336
      Valley Center Dr/Gladstone                   Glendora           CA   91740
      Murrieta Hot Springs Rd                      Murrieta           CA   92563
      100 City Parkway                             Las Vegas          NV   89106
      110 Towne Center Dr                          Compton            CA   90220
      1422 Azuza Ave                               West Covina        CA   91791
      1651 Victoria Ave.                           Oxnard             CA   93035
      2580 S. Archibald ave                        Ontario            CA   91761
      42900 Jackson St                             Indio              CA   92203
      2102 North Tustin Street                     Orange             CA   92865
      17204 Slover Avenue                          Fontana            CA   92337
      12660 Day Street                             Moreno Valley      CA   92553
      27621 San Bernardino                         Redlands           CA   92374
      3409 Via Montebello                          Carlsbad           CA   92009
      400 Town Center Drive                        Oxnard             CA   93036
      6220 N Topanga Canyon Blvd Ste 2410          Woodland Hills     CA   91367
      2200 Eastridge Loop                          San Jose           CA   95122
      17970 Studebaker Rd Plaza 183                Cerritos           CA   90703
      9051 Atlanta Avenue                          Huntington Beach   CA   92646
      897 Harriman Place                           San Bernardino     CA   92408
      2770 South Colorado Blvd                     Denver             CO   80222
      4110 B NE 4th Street                         Renton             WA   98059
      8720 SE Sunnybrook Road                      Clackamas          OR   97015
      4204 NE Halsey Street                        Portland           OR   97213
      4600 West 38th                               Denver             CO   80212
      The Promenade at Capital Mall                Olympia            WA   98502
      2913 NE 72nd                                 Vancouver          WA   98661
      7720 N. Academy Blvd                         Colorado Springs   CO   80920
      13019 NE Fourth Plain Rd                     Vancouver          WA   98682
      12922 SE Kent KangleyRd                      Kent               WA   98030
      11014 19 th Ave SE                           Everett            WA   98208
      91- 5431 Kapolei Parkway , Suite 1700        Kapolei            HI   96707
      23750 Alessandro Blvd                        Moreno Valley      CA   92553
      641 S. Rancho Sante Fe Rd.                   San Marcos         CA   92078
      5045 River Road N                            Keizer             OR   97303
      400 NW Eastman Pkwy                          Gresham            OR   97030
      15575 SW Sequoia Pkwy , 100                  Tigard             OR   97224
      8235 SW Apple Way                            Portland           OR   97225
      1017 Bay Area Blvd.                          Houston            TX   77058
      301 N Nolan Drive                            Southlake          TX   76092
      2800 North Main St, Unit 3100                Santa Ana          CA   92705
      5745 New Abbey Lane                          Castle Rock        CO   80108
      1541 NE 181st Avenue                         Portland           OR   97230
      6000 Newpark Mall                            Newark             CA   94560
      18730 Amar Road                              Walnut             CA   91789


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                                                                                   AW0175
                                                                                     AWPLL000132
          465 W Arlington Street                         Gladstone   OR   97027
          130 E. Imperial Highway                        Fullerton   CA   92835
          1400 W Edinger Avenue                          Santa Ana   CA   92704
          111 South 38th Street                          Tacoma      WA   98418
          193 Chambers Bridge Rd                         Brick       NJ   08723




All other terms and conditions of this policy remain unchanged.




 By:
                    Joseph Cellura

 Title:             President , North American Casualty Division

 Date:              February 26 , 2020




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                                                                                  AW0176
                                                                                    AWPLL000133
Endorsement No:                      50
This endorsement, effective:         February 5 , 2020
                                     (at 12:01 A .M. standard time at the address of the Named Insured as
                                     shown in Item 1 . of the Declarations)
forms a part of Policy No:           0309- 1873
Issued to:                           24 Hour Holdings I Corp.
by:                                  Allied World National Assurance Company


                                  ADDITION OF SCHEDULED LOCATIONS

1     In consideration of an additional premium of $6,000 00, it is hereby agreed that each location set forth
      below is included in Item 5. of the Declarations as a scheduled location , subject to all of the terms and
      conditions of the policy.

      Item 5: Scheduled
          Locations:
                               Club #391 , 3050 North Josey Lane, Carrolton , TX, 75007
                               Club #614, 1327 Centennial Avenue , Piscataway , NJ, 08854
                               Club #781 , 14331 Penasquitos Drive, San Diego , CA , 92129
                               Club #670, 1000 Lake Plaza Drive, Spring, TX , 77389
                               Club #672, 1513 West 18th Street , Suite #14, Houston , TX , 77008
                               Club #389, 361 Sothwind Lane, Fairview , TX , 75069
                               Club #390, 3300 N Central Expressway, Suite A , Plano , TX , 75074
                               Club #460, 11445 Twenty Mile Road . Parker, CO, 80134
                               Club #661 , 3001 South 23rd Avenue , Greeley, CO, 80631
                               Club #267, 1970 NW 117 PI, Miami, FL, 33182
                               Club #734, 4000 Jericho Turnpike, East Northport , NY, 11731
                               Club #615, 75 US Highway 22, Springfield . NJ , 07081



All other terms and conditions of this policy remain unchanged.




By:
                     Joseph Cellura

Title :              President , North American Casualty Division

Date:                February 26 , 2020




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